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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.:9:18-cv-80176-BB/BR

              ----------------------------------------
              IRA KLEIMAN, as the personal             )
              representative of the Estate of David    )
              Kleiman, and W&K Info Defense            )
              Research, LLC                            )
                                  Plaintiffs,.         )
                                                       )
                      v.                               )
                                                       )
              CRAIG WRIGHT                             )
                                  Defendant.           )
              ----------------------------------------

                                    VIDEO-TAPED DEPOSITION OF

                                          DR. CRAIG WRIGHT

                                                  on

                                    Wednesday, March 18, 2020

                                         At the offices of:
                                            SCA Ontier
                                           Halton House
                                           20-23 Holborn
                                          London EC1N 3JD
                                          United Kingdom

              Taken by:
              AMY COLEY, Court Reporter
         'HIHQGDQW V2EMHFWLRQV
                   V2EMHFWLRQV

         3ODLQWLIIV 'HVLJQDWLRQV
         'HIHQGDQW
         ' I G W V&RXQWHU'HVLJQDWLRQV
                     &   W    ' L  WL
         5HGDFWHG
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         1                         A P P E A R A N C E S
         2
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              By: Andrés Rivero, Esq.
        17        Julio Paez, Esq.
        18
              Also present:
        19    Judge Reinhardt (via telephone)
              Oliver Cain, Esq. (SCA Ontier UK) (in person)
        20    Joe Woodward (SCA Ontier UK) (in person)
              Amy Coley (Court Reporter on behalf of Magna Legal
        21    Services)
              Linda Fleet (Videographer on behalf of Magna Legal
        22    Services)
        23
        24
        25
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         1                          THE VIDEOGRAPHER:        We are now on
         2    the record.         This is the continued deposition of
         3    Dr. Craig Wright.          Today is March 18th, 2020 and
         4    the time is 12.09 p.m.            This video deposition is
         5    taking place at the offices of SCA Ontier, Halton
         6    House, 20-23 Holborn, London EC1N 3JD, United
         7    Kingdom.         Will counsel and all parties present
         8    state their appearances and who they represent.
         9                          MR. FREEDMAN:       Velvel Freedman for
        10    the Plaintiff.
        11                          MR. BRENNER:       Andrew Brenner for
        12    the plaintiffs.
        13                          MR. RIVERO:      Andrés Rivero,
        14    together with Julio Paez, for Dr. Wright.
        15                          THE WITNESS: Dr. Craig Wright.
        16
        17                CROSS-EXAMINATION BY MR. FREEDMAN
        18                Q.        Good morning, Dr. Wright, or good
        19    afternoon for you ----
        20                          MR. CAIN: Here in London we have
        21    Oliver Cain and Joe Woodward of SCA Ontier,
        22    English counsel for Dr. Wright.
        23    BY MR. FREEDMAN:
        24                Q.        Good morning, Dr. Wright, or good
        25    afternoon for you.
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                                                                            Page 5
         1               A.        Good afternoon.        Good morning for
         2    you.

 CC-R    3               Q.        You understand that you are still
         4    under oath today?
         5               A.        I certainly do.
         6               Q.        You understand that the same ground
                                                                groun
         7    rules we set out yesterday still apply?
         8               A.        On Monday.
         9               Q.        Yes, sorry, on Monday.           They still
        10    apply, right?
        11               A.        That is correct.
        12               Q.        I am going to ask you to please pay
        13    attention to the question that is being asked and
        14    do your best to answer the question that is being
        15    asked.     I know you may think you know where I am
        16    going or what I am implying, but it is important
        17    that we have a clean record and you let me ask the
        18    follow-up questions as opposed to trying to
        19    anticipate it, okay?
        20               A.        I have been.
        21               Q.        Dr. Wright, do you have a Bitcoin
        22    trust in Panama?
        23               A.        What you are putting there is a
        24    Bitcoin ----
        25               Q.        Dr. Wright, I just asked if you
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                                                                            Page 6
         1    have a Bitcoin trust in Panama.               Please pay
         2    attention to the question being asked.                 Do you
         3    have a Bitcoin trust in Panama?
         4                         MR. RIVERO:       Let Dr. Wright answer
         5    the question.        Please answer the question.
         6               A.        I will answer the question as I was
         7    going to say.        If you want to interject we can
         8    keep going back and forwards here for hours.                    As
         9    I was saying, your question is do I have a Bitcoin
        10    trust in Panama.         A Bitcoin trust is something
        11    I cannot answer because I do not know what a
        12    Bitcoin trust is.         Can you please tell me what a
        13    Bitcoin trust is?
        14    BY MR. FREEDMAN:
        15               Q.        As you understand the word.             If you
        16    don't understand it then the answer is "I don't
        17    understand what a Bitcoin trust is".                 Do you not
        18    understand?
        19               A.        No, I understand the words.             Can
        20    you please let me -- if I start speaking and
        21    I have given two seconds or not even, it does not
        22    mean I am finished.          My mouth is still moving, so
        23    please let me actually finish.              I am giving you
        24    that courtesy.        If I am giving you that courtesy
        25    I expect the same.          Quite simply, you are asking
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                                                                            Page 7
         1    me do I know what a Bitcoin trust is.                 Are you
         2    saying a trust that holds Bitcoin?                Are you saying
         3    a technical thing?          What?    There is nothing that
         4    you will find in the dictionary saying a Bitcoin
         5    trust.     There is nothing technically by anyone
         6    that is a Bitcoin trust so, no, if I put two words
         7    randomly together and say "do you understand
         8    these", that does not mean that they have any
         9    meeting.
CC-R    10               Q.        Doctor, I am going to ask that you
                                                                  yo
        11    answer the exact question that is being asked.                    We
        12    have a limited amount of time, we have a lot of
        13    ground to cover.         For purposes of moving forward,
                                                              forward
        14    I am going to move to the next question.                  Did you
        15    ever tell Calvin Ayre that you had a Bitcoin trust
        16    in Panama?
        17                         MR. RIVERO:       Objection to the
        18    predicate.       Please answer the question.
        19               A.        I don't believe I told anyone I had
        20    a Bitcoin trust in Panama.
        21    BY MR. FREEDMAN:
        22               Q.        Did you ever tell Ira Kleiman or
        23    instruct anyone to tell Ira Kleiman that Dave has
        24    a right to the founder shares in Coin-Exch?
        25               A.        I had said to Ira Kleiman that when
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                                                                            Page 8
         1    I set up the Coin-Exch PTY Limited in Australia
         2    I had created, under the shareholder agreement, a
         3    set and a class of shares known as founder shares.
         4    Those shares had differential voting rights.                    The
         5    rights on those preferential shares were
         6    differentiated from normal common shares and, as
         7    I had told first Louis and then told Ira Kleiman,
         8    I had said that the estate belonging to David
         9    Kleiman had rights to those shares.                It was my
        10    understanding from Ira that he was the person in
        11    charge of the estate and as such, as the executor
        12    of the estate, he had rights to those shares.                    Not
        13    only did he have rights, he had those shares
        14    issued.
        15               Q.        Did you ever tell Ira Kleiman or
        16    instruct anyone to tell Ira Kleiman that Ira and
        17    his father owned 49.4% of the founder shares in
        18    Coin-Exch?
        19               A.        The estate owned 49.5, to my best
        20    knowledge, of the founder shares in that company.
        21               Q.        Dr. Wright, did you ever tell Ira
        22    Kleiman or instruct anyone to tell Ira Kleiman
        23    that the book value of Coin-Exch was around $5-7
        24    million?
        25               A.        No, I did not.        It is not Coin-Exch
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         1    ----
         2               Q.        Dr. Wright, you have answered the
         3    question.       Dr. Wright, did you ever tell Ira
         4    Kleiman or ----
         5               A.        Do you mind letting me finish the
         6    question?       I am giving you the courtesy of
         7    finishing a question and not interrupting.                   If you
         8    want we can go back and forwards on the same
         9    thing.
        10                         MR. RIVERO:       Mr. Freedman, do not
        11    interrupt Dr. Wright's answers.               If you wish to
        12    take it up with Judge Bloom at trial please do, or
        13    whatever you need to do, but do not interrupt this
        14    witness's answers.
        15                         MR. FREEDMAN:        Mr. Rivero --
        16    finish, please.
        17                         MR. RIVERO:       State the question and
        18    try to get an answer and keep moving.
        19                         MR. FREEDMAN:        Mr. Rivero, on the
        20    first day of this deposition it was very apparent
        21    to me that the answers Dr. Wright was giving were
        22    a lot longer-winded than were necessary to answer
        23    the question and we have a lot of ground to cover
        24    and I really need the answers to the questions
        25    I am asking.        I am hopeful that you can work with
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                                                                          Page 10
        1    your client to get him to answer the actual
        2    question and not filibuster, but if not I will
        3    potentially have to ask the court to get involved.
        4                         MR. RIVERO:      Mr. Freedman I not
        5    only deny the allegation, I deny the alligator.
        6    Ask your next question and let's move on.                  That is
        7    how depositions work.
        8    BY MR. FREEDMAN:
        9               Q.        Did you ever tell Ira Kleiman or
       10    instruct anyone to tell Ira Kleiman that Dave's
       11    estate had half of Dave's founder shares in
       12    Coin-Exch?
       13               A.        I will reiterate this and correct
       14    you.    You can keep saying Coin Exchange.               There is
       15    no company called Coin Exchange, there is
       16    Coin-Exch PTY Limited, Australia.               If you want me
       17    to answer truthfully, honestly and correctly, if
       18    you say Coin Exchange one more time my answer is
       19    no.    There is no Coin Exchange company.               If that
       20    is what your question is then, no, because Coin
       21    Exchange does not exist.
       22               Q.        Dr. Wright, when I say Coin
       23    Exchange I mean Coin-Exch PTY Limited.                 If I say
       24    Coin-Exch then I am referring to the company
       25    Coin-Exch PTY Limited.
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                                                                          Page 11
        1               A.        Then say it.
        2               Q.        Did you ever tell Ira Kleiman or
        3    instruct anyone to tell Ira Kleiman that as Dave's
        4    estate he had half of his founder shares in
        5    Coin-Exch?
        6               A.        No, I did not.       49.5 is not half.
        7               Q.        Dr. Wright, did you ever tell Ira
        8    Kleiman or instruct anyone to tell Ira Kleiman
        9    that Ira's Coin-Exch shares were not founder
       10    shares?
       11               A.        No.   The company ended up being
       12    part of a public company group.              All of the
       13    information was public information, lodged and
       14    recorded.        As a public company we were required,
       15    when filing, to actually have these audited and
       16    recorded.        As a public company there is no error
       17    between telling someone what they think they have
       18    or not.     This is the whole purpose of a public
       19    company.        If he wanted he could have had his
       20    lawyers check through all of the documents at any
       21    stage.
       22               Q.        Dr. Wright, did you ever tell Ira
       23    Kleiman or instruct anyone to tell Ira Kleiman
       24    that Ira, Louis and the estate had 40% of
       25    Coin-Exch?
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                                                                          Page 12
        1               A.        No, they did not have 40% of
        2    Coin-Exch.       The estate would be the owner.             The
        3    estate, I was led to believe because the amounts
        4    changed from Ira all the time and he kept trying
        5    to alter it so that he would not pay tax and would
        6    not report to the IRS.           But no, at no point was it
        7    ever told to the estate that they had 40%, that is
        8    not correct and they could have very simply
        9    checked the amounts, as issued, on the company
       10    documents.
       11               Q.        Dr. Wright, did you ever tell
       12    anyone or instruct anyone to tell Ira Kleiman that
       13    Ira, Louis or the estate had 7% of Coin-Exch?
       14               A.        Again, the number of shares were
       15    very simple to check.          This was a company that was
       16    all recorded and they were given shareholding
       17    certificates and other such material.                All they
       18    needed to do was calculate themselves.                 I am not
       19    very interested in percentages of shares, I don't
       20    work that way.        You have a number of shares.             You
       21    have certain voting rights.
       22               Q.        Dr. Wright, please just answer the
       23    question.       Did you ever tell anyone -- did you
       24    ever tell Ira Kleiman or instruct anyone to tell
       25    Ira Kleiman that Ira, Louis or the estate had 7%
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                                                                          Page 13
        1    of Coin-Exch?
        2                         MR. RIVERO:       Objection, asked and
        3    answered.       You can answer.
        4               A.        Would you like to have me repeat
        5    the same answer because that is the same answer.
        6    I am stating for the record that my previous
        7    answer remains the same.
        8                         MR. FREEDMAN: Dr. Wright, you did
        9    not answer -- Mr. Rivero, could you please ask
       10    your client to answer the question?                I have
       11    checked the real time.           He did not answer yes or
       12    no as to whether or he not he ever told anyone or
       13    instructed anyone to tell Ira Kleiman that Ira
       14    Louis or the estate had 7% of Coin-Exch?
       15               A.        I answered the question.           If your
       16    comprehension is not adequate to understand it,
       17    I apologise.       My question has been answered.
       18                         MR. RIVERO:       Dr. Wright, there is
       19    no pending question.          Mr. Freedman, please ask a
       20    question.
       21    BY MR. FREEDMAN:
       22               Q.        Dr. Wright, you told Ira, Louis or
       23    the estate that they had 7% of Coin-Exch, is that
       24    not right?
       25               A.        Your statement, attempting to lead
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                                                                          Page 14
        1    an answer, is incorrect.
        2               Q.        So you did not tell them that?
        3               A.        Once again, I will state your
        4    statement attempting to make a leading question
        5    and get an answer that way is not correct.
        6                         MR. RIVERO:      Dr. Wright go ahead --
        7    even though you have answered, answer the question
        8    again, just to keep things moving.
        9               A.        I did.    It is incorrect.         Incorrect
       10    is the negative.
       11    BY MR. FREEDMAN:
       12               Q.        It is unclear if you are telling me
       13    that my question is incorrect or that the answer
       14    to my question is incorrect.             Can you just clarify
       15    that for the record?
       16               A.        Your question is improper, which is
       17    not incorrect, and the answer is the negative.
       18               Q.        Dr. Wright, you told Stefan
       19    Matthews that Ira did not have founder shares in
       20    Coin-Exch; isn't that right?
       21               A.        No, that is not correct.
       22               Q.        Dr. Wright, you told Baker McKenzie
       23    that Ira did not have founder shares in Coin-Exch
       24    change; isn't that right?
       25               A.        No, I did not.       What I did was give
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                                                                          Page 15
        1    the share register over to each of the companies.
        2    That is a difference, and telling is not the same
        3    as handing.       The share register listed all of the
        4    founder shares.        Those founder shares were in the
        5    estate.
        6               Q.        Dr. Wright, you sent Ira Kleiman an
        7    analysis of the software that you or Coin-Exch
        8    owned; do you recall that?
        9               A.        No, I do not.
       10               Q.        Do you recall having someone send
       11    that analysis of software to Ira Kleiman?
       12               A.        I do not know which analysis you
       13    are talking about.
       14               Q.        Did you ever send Ira Kleiman a
       15    cost estimation for a W&K Information Defense or
       16    WKID software package?
       17               A.        No, I did not.
       18               Q.        Did you ever have someone send that
       19    to him?
       20               A.        That would be the same answer; no.
       21               Q.        Did you ever send Ira Kleiman a
       22    cost valuation for the WKID software package that
       23    valued it of a minimum of AUD 276,268,599?
       24               A.        Again, no.      At no point did I send
       25    that or authorise it because it was not -- he was
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                                                                          Page 16
        1    not a director or an officer of the company.                   At
        2    no point should he have actually gotten a copy.
        3    He is only a shareholder.
        4               Q.        Did your company Hotwire use the
        5    W&K software package?
        6               A.        No, we did not use the W&K software
        7    package.        We used the package that we had
        8    implemented that was meant to be updated by W&K
        9    but was never in fact was updated by W&K.                  As you
       10    will notice from the court order, we kept what we
       11    had.    Nothing was returned.           Mr. Kleiman -- David
       12    Kleiman that is -- committed suicide a number of
       13    days before he was due and required under the
       14    contract to return the software and other
       15    payments.
       16               Q.        Did your company Hotwire purchase
       17    the W&K software package?
       18               A.        No, we did not purchase the W&K
       19    software package.         We went through a court, sort
       20    of allocation of rights, where the original rights
       21    in our software cancelled all licenses in effect,
       22    allowing no claims or whatever else from W&K.                   W&K
       23    did not complete the task that they were given,
       24    they did not deliver the software, thus the only
       25    software we ended up using was the original
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        1    software that we had given to be updated that W&K
        2    were meant to enhance but did not.
        3               Q.        Dr. Wright, I did not ask you what
        4    you did, I just asked if you used it.                Please
        5    answer the question I am asking you.                Dr. Wright,
        6    isn't it true that Hotwire purchased or used the
        7    W&K software with the objective of establishing a
        8    worldwide Bitcoin banking system?
        9                         MR. RIVERO:      Object to the form.
       10               A.        I again repeat my last answer.               The
       11    answer that I gave you was an answer to your
       12    question and remains an answer to this question as
       13    well.
       14    BY MR. FREEDMAN:
       15               Q.        So the answer is yes, you did?
       16               A.        I did not answer in the positive on
       17    the other question, so no.            Please do not
       18    paraphrase what I said.           What you are doing right
       19    now is saying that I answered yes when I clearly
       20    said something in the negative.              I said I never
       21    received the software, in any form, from W&K.                     If
       22    I have not received the software from any entity
       23    then I have not purchased the software.                 If I had
       24    done a lawsuit and then closed a contract without
       25    receipt I have not received or purchased.                  I am
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        1    very sure that you understand the difference as
        2    you are a lawyer, but I did not purchase the
        3    software.       That is my position and that is what
        4    happened.
        5               Q.        So you did not purchase the W&K
        6    software package from W&K from about $55 million?
        7                         MR. RIVERO:      Objection.
        8               A.        No, I did not purchase the W&K
        9    software package because the W&K entity did not
       10    complete the software.
       11    BY MR. FREEDMAN:
       12               Q.        Did you tell the ATO that Coin-Exch
       13    purchased the W&K software package from W&K for
       14    about $55 million?
       15               A.        That is not what I told the ATO.
       16               Q.        Did you or Dave Kleiman create
       17    Coin-Exch to start building -- strike that.                   Did
       18    you and Dave Kleiman create Coin-Exch to start
       19    building an exchange platform?
       20               A.        No, I founded Coin-Exch.           I offered
       21    Mr. Kleiman -- David Kleiman -- shares.                 I was
       22    going to build that platform.             I capitalized that
       23    platform, I provided the software for that
       24    platform.       I purchased the MT4 trading software
       25    for that platform, I purchased the other rights to
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        1    other software for that platform.               Nothing from
        2    Mr. Kleiman was ever used in the development of
        3    that platform, no development of code was done by
        4    Mr. Kleiman for that platform.              So, very simply,
        5    even though I had no reason nor right or whatever
        6    else, other than personal obligations to a friend,
        7    I did not need to give a single share to the
        8    estate because nothing had been delivered, under
        9    the contract, from Mr. Kleiman.              Yet, with that
       10    complete knowledge that he was never going to
       11    deliver, with a court order stating that I did not
       12    need to deliver, or whatever else, I still gave
       13    his family what I had promised him.
       14               Q.        Did you tell the ATO that you and
       15    Kleiman created Bitcoin X to start building an
       16    exchange platform?
       17               A.        No.
       18                         MR. RIVERO:      Objection, asked and
       19    ask.
       20    BY MR. FREEDMAN:
       21               Q.        Did you and Dave Kleiman work on a
       22    number of patents together?
       23               A.        Mr. Kleiman has never worked on any
       24    patent in his life, to my knowledge.                He has not
       25    filed a patent, he has not written a patent, he
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        1    has not been involved in the research that has led
        2    to a patent, he has not filed a paper academically
        3    leading to a patent.          I have filed around -- at
        4    the moment I believe it is just over 1,000
        5    patents.        In the pipeline we have 1,600 papers and
        6    by the end of the current backlog of research we
        7    will have around 6,000 patents, placing me at
        8    approximately 500% of the total life work of
        9    Thomas Edison.
       10               Q.        I did not ask you where you placed
       11    in the total life work of Tom Edison.                I simply
       12    asked whether you and Dave Kleiman worked on a
       13    number of patents together.             That's yes or no
       14    question.        Please try to answer the question I'm
       15    asking you.
       16                         MR. RIVERO:      Objection.
       17    BY MR. FREEDMAN:
       18               Q.        Dr. Wright did you tell the ATO
       19    that you and Dave Kleiman worked on a number of
       20    patents together?
       21                         MR. RIVERO:      Objection to the
       22    speech and objection to the form of the question.
       23    Dr. Wright, you may answer the question.
       24               A.        I just answered that question.
       25    I do not really care if you like the fact that I
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                                                                          Page 21
        1    didn't use yes or no.          I answered the question.
        2    If your comprehension of that question is
        3    inadequate, too bad.
        4    BY MR. FREEDMAN:
        5               Q.        Maybe you misheard me.          This
        6    question is different than the prior one.                   I asked
        7    whether you told the ATO that you and Dave Kleiman
        8    worked on a number of patents together.
        9               A.        I did not.
       10               Q.        Dr. Wright, did Coin-Exch use the
       11    W&K software?
       12               A.        Again, I have many times told you
       13    this one already.         There is no W&K software.
       14    There is software that was owned by my company
       15    that was licensed to W&K for them to enhance, that
       16    was never returned.          We have the original version
       17    of the code.       If we have the original version of
       18    the code that we updated without any aid, help or
       19    anything else from W&K then we do not have the W&K
       20    software.
       21               Q.        Did Cloud Croft purchase or use the
       22    W&K software package?
       23               A.        No, it did not.
       24               Q.        Did Coin purchase or use the W&K
       25    software package?
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                                                                          Page 22
        1                         MR. RIVERO:      Object to the form.
        2               A.        No.
        3    BY MR. FREEDMAN:
        4               Q.        Have you ever been focused on
        5    designing a payment processing solution for the
        6    gambling and porn sectors based around a Bitcoin
        7    trading platform?
        8               A.        No, I have no interactions with the
        9    pornography industry at all.
       10               Q.        Did you ever prepare a presentation
       11    for Stefan Matthews that described an exit
       12    strategy for DeMorgan?
       13               A.        I had no interest in an exit
       14    strategy for DeMorgan.
       15               Q.        Were you ever involved in preparing
       16    such a presentation to Stefan Matthews?
       17               A.        Again, I did not provide any exit
       18    strategy.       My exit strategy is when I turn 120
       19    I will be still working and I will drop dead on
       20    the job; that is my exit strategy.
       21               Q.        Did you ever tell potential
       22    DeMorgan investors that you planned to list the
       23    group and go to IPO?
       24               A.        I had been seeking to list DeMorgan
       25    and go to IPO.
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                                                                          Page 23
        1               Q.        Did you ever tell Ira Kleiman about
        2    a potential IPO of DeMorgan?
        3               A.        I had informed Ira that I was going
        4    as a public company, in time, to list DeMorgan.
        5               Q.        Did you ever tell Ira Kleiman about
        6    the potential IPO of Coin-Exch?
        7               A.        No.    Coin-Exch was owned by
        8    DeMorgan.
R
        9               Q.        In 2015 did you tell Calvin Ayre
                                                              Ayr e
       10    you did not want to have challenges to any IP
       11    later on when things start to get big?
       12               A.        Yes.    I talked to the person who
                                                                 wh o
       13    was my mentor and discussed the sort of
       14    difficulties, and one of those was if people were
                                                          w ere
       15    doing something like Facebook and people who had
                                                          h ad
       16    no real sort of say in the development of a
       17    product pop up saying "We are greedy, we want
       18    money".
       19               Q.        Did you tell Calvin Ayre that you
       20    wanted to remove any ownership from former
       21    directors before that they know what it could
       22    become, so they could not challenge anything
       23    later?
       24               A.        At no point did I say any such
       25    thing.
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                                                                           Page 24
        1               Q.        Dr. Wright, in 2015 were you in
        2    discussions with Calvin Ayre about a business
        3    deal?
        4               A.        You will have to be a little more
        5    specific.       What do you mean by "a business deal"
        6    and what do you mean "in discussions" about it?
        7    Do you mean was I talking to Calvin about
        8    investing, was I talking about setting up a new
        9    company, was I talking about Cal investing in
       10    something, was I talking about buying shares and
       11    telling him about it?          Please be a little bit
       12    specific.
       13               Q.        All the above.       Were you in
       14    discussions with Calvin Ayre about any of the
       15    above?
       16               A.        About any of the above?           Yes.
       17    I talked to him about purchasing shares in a
       18    number of international banks because I thought it
       19    would be good.        I also talked about a possible
       20    short on Deutsche Bank.           I thought Deutsche Bank
       21    was overvalued and I thought that would be a good
       22    investment and I recommended that his family
       23    company should also do something like that.
       24               Q.        Dr. Wright, I did not ask you about
       25    what those discussions were about, just whether
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                                                                          Page 25
        1    you had them.        Please pay attention to what I am
        2    asking you.
        3               A.        I answered in the positive by doing
        4    that.
        5               Q.        Dr. Wright, in 2015 were you in
        6    discussions with Calvin Ayre about buying your
        7    Australian businesses?
        8               A.        No.
        9               Q.        Were you in discussions with Calvin
       10    Ayre about buying intellectual property that
       11    belonged to you or your Australian companies?
       12               A.        No.
       13               Q.        Did you ever mention any such
       14    discussions to Ira Kleiman?
       15               A.        No.   Ira had no rights to know of
       16    any such discussions.          We did not discuss who any
       17    potential investors were or who the investors
       18    actually ended up as.
       19               Q.        Did you ever mention Calvin Ayre to
       20    Ira Kleiman?
       21               A.        No, because Ira and -- there was no
       22    investment from Calvin so why would I introduce
       23    someone who is not investing to, well, someone who
       24    is just greedy?
       25               Q.        Dr. Wright, was Cafe Holdings doing
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                                                                          Page 26
        1    business witness the Sterling Group, Calvin Ayre's
        2    venture capital company?
        3               A.        No.

R       4               Q.        In 2015 were you in discussions
        5    with Sterling Group about a business deal?
        6               A.        That is a very fluffy question once
        7    again, but I will actually help you.                Sterling
        8    Group brokers deals, so it depends on how you want
        9    to define that.        Once again you are making a --
       10    you're casting a very wide net.              As a broker we
       11    talked to them about finding potential investors.
       12               Q.        Did you ever mention these
       13    discussions to Ira Kleiman?
       14               A.        No, we did not.        He had no right to
       15    know.
       16               Q.        In 2015 were you in discussions
       17    with Stefan Matthews about a business deal?
       18               A.        Matthews was the principal of
       19    Sterling.
       20               Q.        Dr. Wright, did you ever mention
       21    those discussions to Ira Kleiman?
       22               A.        No.   Once again, I would not
       23    discuss that with a shareholder.               The company
       24    DeMorgan Limited was a public company in
       25    Australia.      There are requirements for trading,
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                                                                          Page 27
        1    insider trading, whatever else, on all these
        2    things because the shares could have been sold in
        3    DeMorgan.       Even to, sort of, the limited subset of
        4    people that we were talking to, telling Ira about
        5    potential investors or others would be a breach of
        6    corporate regulation, so no.
        7               Q.        Dr. Wright, did your companies
        8    enter into an agreement in late 2015 or early 2016
        9    to assign all of their intellectual property and
       10    technology to nCrypt Holdings in exchange for $1.5
       11    million?
       12               A.        No.
       13               Q.        Did that deal -- did you enter into
       14    any deal with nCrypt Holdings at that time?
       15               A.        Yes.
       16               Q.        Did that deal include any
       17    intellectual property belonging to Coin-Exch?
       18               A.        At that time I was resigned as
       19    director of the company, so you would have to go
       20    over the final deal with the company directors,
       21    which I was not and thus I am not at liberty to.
       22               Q.        Dr. Wright, I am not asking whether
       23    you are at liberty to, I am just asking whether
       24    you know.       Do you know if that deal included any
       25    intellectual property or technology belonging to
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                                                                          Page 28
        1    Coin-Exch?
        2               A.        Again, I am not the director and
        3    I am not the person who put it together.                 I worked
        4    as the chief scientist to help list what we were
        5    working on at the time and to help the lawyers, in
        6    discussions, formulate documents.               I was not the
        7    director and I did not act as one.
        8               Q.        So is your answer that you do not
        9    know the answer to the question?
       10               A.        My answer ----
       11                         MR. RIVERO:      Dr. Wright, let's do
       12    this.     I think the question is actually properly
       13    limited.        He is just asking whether or you know or
       14    not.    Let's answer that and then it sounds like
       15    there may be a confidentiality issue if you do
       16    know.     Answer, first, whether you know or not and
       17    we will take it up after that.
       18               A.        I do know.
       19    BY MR. FREEDMAN:
       20               Q.        Dr. Wright, did that deal include
       21    any intellectual property or technology belonging
       22    to Coin-Exch?
       23               A.        Again, I know that were
       24    discussions.        I was not the person doing all of
       25    those discussions.
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                                                                          Page 29
        1                         MR. FREEDMAN: Mr. Rivero, if you
        2    could please have a discussion with your client.
        3    He needs to answer the question.
        4                         MR. RIVERO: I actually think he has
        5    answered now.        Ask the next question.          I am not
        6    sure what you are putting.
        7    BY MR. FREEDMAN:
        8               Q.        Did the deal with nCrypt Holdings
        9    include any intellectual property or technology
       10    belonging to Coin-Exch?
       11               A.        I reiterate, that was not my deal.
       12    I was not a director of the company.                If you want
       13    you may talk to the directors of that company.
       14    The directors of that company will have all of
       15    those notes.       I had resigned before that deal took
       16    place.
       17                         MR. FREEDMAN: Your Honour, are you
       18    on the line with us?          Judge Reinhardt?
       19                         JUDGE REINHARDT:        Yes, I am here.
       20                         MR. FREEDMAN:       I do not know if you
       21    have access to the online transcript, your Honour,
       22    but I have asked Dr. Wright multiple times whether
       23    or not the deal with nCrypt Holdings has included
       24    any intellectual property or technology belonging
       25    to Coin-Exch and he has repeatedly told me that I
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        1    need to asked the directors that question although
        2    he has confirmed that he knows the answer.
        3               A.        That is not correct.
        4                         JUDGE REINHARDT: I have been
        5    listening so I am aware of the questioning and the
        6    answers and the back and forth that has been going
        7    on.    I'll simply instruct Dr. Wright as follows;
        8    if you know the answer you are to answer the
        9    question.       If you do not know the answer simply
       10    say you do not know the answer, but it is not a
       11    proper answer to the question to say "I know it
       12    but you need to ask somebody else anyway".                  I am
       13    not saying that is the answer Dr. Wright is
       14    giving, but if that is the answer Mr. Freedman is
       15    hearing I would agree that's not a proper answer.
       16    If the correct answer is simply "I don't know" or
       17    "I cannot answer that because I don't know" then
       18    Dr. Wright should say so clearly.               That would be
       19    my ruling.
       20                         THE WITNESS: Your Honour, what I am
       21    saying is I know there were discussions, I know
       22    the directors had board meetings that I was not
       23    party to.       I know I had subsequent conversations
       24    with my wife, who was still a director and she
       25    discussed what she should do.
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                                                                          Page 31
        1    BY MR. FREEDMAN:
A-CC    2               Q.        Dr. Wright, I just need to know if
        3    the final deal that was signed in late 2015 or
        4    early 2016 included any intellectual property or
        5    technology belonging to Coin-Exch.               The answer is
        6    either, "Yes, it did", "No, it didn't" or "I don't
        7    know whether it did or did not".               Let me ask one
        8    more time very clearly so we have a clear record;
                                                       record ;
        9    did the deal with nCrypt Holdings, in late 2015 or
       10    early 2016, include any intellectual property or
       11    technology belonging to Coin-Exch?
       12               A.        My understanding, as far as I know,
       13    in the deal, is that there was no intellectual
       14    property, only licences that were able to be
       15    assigned from third parties, belonging to
       16    Coin-Exch at all that could have been assigned.
       17    My understanding is that the intellectual property
       18    was third party software rights and software
       19    belonging to third parties.             I believe that was
       20    assigned.       I do not have the contracts, nor have
       21    I fully read them.
       22               Q.        Dr. Wright, did that deal with
       23    nCrypt Holdings include any intellectual property
       24    or technology belonging to Cloud Croft?
       25               A.        The answer on that one will be the
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                                                                          Page 32
        1    same.
        2               Q.        Would the answer be the same for
        3    Coin?
        4               A.        For Coin, yes.
        5               Q.        Did that deal include W&K software?
        6               A.        Again, there is no W&K software.
        7    My understanding is that Mr. Kleiman did not do
        8    any work on W&K software.            Subsequent to 2013,
        9    after his death, which I did not realise at the
       10    time, if Mr. Kleiman -- the current Ira -- wants
       11    to have all out, is that any monies that I had
       12    given David Kleiman to basically build software
       13    ended up basically going into Silk Road and other
       14    sources to supply a drug habit that Mr. Kleiman
       15    hid from certain people but not everyone.                  So zero
       16    software was developed in W&K, but if you want to
       17    destroy David Kleiman's reputation and drag him
       18    through this then that is your choice.
       19               Q.        Did you ever tell the Australian
       20    Tax Office that Dave Kleiman developed software
       21    for you and W&K?
       22               A.        I told them that he was engaged to
       23    write software and that he did not deliver any.
       24               Q.        Dr. Wright, you entered into an
       25    agreement to assign all of your or your company's
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                                                                          Page 33
        1    intellectual property to nCrypt Holdings, did you
        2    not?
        3               A.        Not to nCrypt Holdings, no.
        4               Q.        Who did you assign it to?
        5               A.        I don't remember the name of the
        6    company.
        7               Q.        That deal included software and
        8    code used in the creation of a Bitcoin system as
        9    developed under a project for the development of a
       10    Bitcoin SDK and exchange conducted on behalf of
       11    W&K Info Defense Research LLC, did it not?
       12               A.        No, W&K did not ever produce any
       13    exchanges and, in fact, the only work that was
       14    ever produced, which was by myself, in W&K was the
       15    four BAA projects.         These each were not ever
       16    completed because Mr. Kleiman (David) did not ever
       17    file the required registrations with the
       18    Department of Homeland Security.               So,
       19    unfortunately, the only work that ever happened
       20    was my producing academic documents and software
       21    that was then released freely.
       22               Q.        Dr. Wright, that deal also included
       23    software and code used by US Military, Department
       24    of Homeland Security and other associated parties
       25    as developed under a project conducted on before
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                                                                          Page 34
        1    W&K Info Defense Research LLC, did it not?
        2               A.        Any of the work that I did on the
        3    SCADA software or other controlled software that I
        4    published between 2011 and 2013 for W&K was never
        5    funded correctly because Mr. Kleiman never
        6    completed the administrative task that he was
        7    given.     The software, if used, was used freely
        8    because I open sourced it.
        9               Q.        Dr. Wright, that deal included
       10    software and code used by the US Military,
       11    Department of Homeland Security and other
       12    associated parties, as developed under a project
       13    conducted on behalf of W&K Info Defense Research
       14    LLC, did it not?
       15               A.        You just asked me the same question
       16    and the same answer applies.
       17               Q.        I would like an answer.           Not what
       18    you did, not what you funded, just an answer to
       19    the question.        Did the deal include that software
       20    and code?
       21               A.        Sorry, which deal?
       22               Q.        Did the deal you entered into to
       23    assign all of your intellectual property and your
       24    company's intellectual property include software
       25    and code used by the US Military, Department of
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                                                                          Page 35
        1    Homeland Security and other associated parties as
        2    developed under a project conducted on behalf of
        3    W&K Info Defense Research LLC?
        4               A.        Once again, I will very simply
        5    break this down for you.            The software that I
        6    produced, that was never funded because
        7    Mr. Kleiman did not complete the administrative
        8    tasks, thus never completing any registration or
        9    any other editions that was associated with the
       10    four BAA projects with the Department of Homeland
       11    Security, was all given freely.              It was open
       12    sourced, so there was no assignment at all because
       13    there is no value.         If anyone wants to use it they
       14    can.    That means you, that means someone in
       15    Uzbekistan, it does not matter.              It is completely
       16    free.     It is under an MIT licence and it has not
       17    been updated since 2012.
       18               Q.        So you did assign it as part of
       19    that deal.
       20                         MR. RIVERO:      Objection.       Asked and
       21    answered.
       22               A.        I just answered and I did not say
       23    yes, but you are implying that my answer was a
       24    yes.
       25    BY MR. FREEDMAN:
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                                                                          Page 36
        1               Q.        So you did not assign it?
        2               A.        Once again, you cannot assign
        3    something that does not exist.              You keep having a
        4    problem with that.
        5               Q.        So your answer is that it never
        6    existed?
        7               A.        My answer is because Dave never
        8    finished anything, because he never took anything
        9    and did anything and probably never even started
       10    working on anything, that no, I doubt it ever
       11    existed.        The only things that ever existed were
       12    my academic work, which I released openly.
       13               Q.        Dr. Wright, as part of these
       14    agreements with nCrypt and nCrypt Holdings you
       15    received 37% of issued and outstanding voting
       16    common stock in nCrypt Holdings, did you not?
       17               A.        No.
       18               Q.        Dr. Wright, as part of these
       19    agreements with nCrypt or nCrypt Holdings you also
       20    received a $1 million initial rights payment, did
       21    you not?
       22               A.        No.
       23                         MR. RIVERO:      Objection.       One
       24    moment.     I am going to object to this line of
       25    questioning unless you can connect it to the
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                                                                          Page 37
        1    merits ----
        2                         MR. FREEDMAN:       The merits are that
        3    the plaintiffs contend this deal is part of a plan
        4    to strip the W&K intellectual property out and
        5    actually was how the W&K intellectual property
        6    came out and ended up being monetised by
        7    Dr. Wright.       It's directly relevant to our
        8    intellectual property claims.
        9                         MR. RIVERO:      Mr. Freedman, I will
       10    ask you to let me finish my objection.                 How the
       11    percentage of Dr. Wright's ownership in nCrypt
       12    relates even to the theory you just stated, which
       13    does not relate to this case, would not advance
       14    even that theory, which is not the theory of this
       15    case, so I object to the question.               I am going to
       16    reserve and see where this goes, but I don't think
       17    this is relevant.         Dr. Wright, I will permit an
       18    answer here but I think -- go ahead and answer
       19    that question, but I think this is way beyond what
       20    this case is about.
       21               A.        Can you ask the question again,
       22    please?
       23    BY MR. FREEDMAN:
       24               Q.        The transcript shows that you
       25    answered the last question so we can move on to
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                                                                          Page 38
        1    the next question.         Dr. Wright, as part of these
        2    agreements with nCrypt or nCrypt Holdings you
        3    received a five year $2.5 million contract to
        4    serve as chief scientist for nCrypt and nChain,
        5    didn't you?
        6                         MR. RIVERO:      Your Honour, I believe
        7    this cannot relate to this sphere of the case.
        8    Judge, I don't see how Dr. Wright's contractual
        9    relationship with an entity well after the events
       10    here -- Mr. Kleiman died in April 2013 -- could
       11    relate even to a willing or a theory of coverup of
       12    the possible alleged fraud and I ask a ruling that
       13    this is irrelevant.
       14                         JUDGE REINHARDT:        This is just for
       15    discovery purposes only.            I'm not ruling as to any
       16    such evidence would be admissible at a trial but
       17    I will allow the question and this line of
       18    questioning so I overrule your objection.
       19    BY MR. FREEDMAN:
       20               Q.        Dr. Wright, as part of these
       21    agreements with nCrypt and nCrypt Holding you also
       22    received a five year $2.5 million contract to
       23    serve as chief scientist for nCrypt and nChain,
       24    didn't you?
       25               A.        No.
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                                                                          Page 39
        1               Q.        As part of these agreements with
        2    nCrypt and nCrypt Holdings DeMorgan received a two
        3    year $4.5 million services contract, did it not?
        4               A.        It was going to but it has not, no.
        5               Q.        Dr. Wright, as part of these
        6    agreement between you and your companies and
        7    nCrypt and nCrypt Holdings, did anyone identify
        8    any red flags for the intellectual property that
        9    was being assigned?
       10               A.        Again, I was not involved, I was
       11    not a director, so I am not able to answer that.
       12               Q.        You don't know whether or anyone
       13    identified any red flags for the intellectual
       14    property that was being assigned?
       15                         MR. RIVERO:      Object to the form and
       16    note that the objection to the prior question was
       17    not captured because of the crosstalk.
       18               A.        I can say that I have had
       19    discussions with my wife.            Do I go into
       20    discussions with my wife that I have had about her
       21    interaction with this?           I believe that my wife
       22    talking to me is privileged.             Do you want me to
       23    answer that, Andreas?
       24                         MR. RIVERO:      No, Dr. Wright.         If
       25    you cannot answer the question without describing
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                                                                          Page 40
        1    conversations with your wife, you should not.
        2                         MR. FREEDMAN:       Your Honour, this
        3    relates specifically to the companies that this
        4    court has already held no privilege exists.
        5    Discussions between Ms. Watts and Craig that
        6    relate to the businesses we would submit are not
        7    privileged if they relate to the business
        8    undertakings of companies that both Ms. Watts and
        9    Dr. Wright were working for.
       10               A.        That is not correct.          I am talking
       11    about things after I resigned.
       12                         MR. RIVERO:      Dr. Wright, please.
       13    This is not a question of testimony.                Your Honour,
       14    I am not sure I understand that position.                  If
       15    there were no companies then the conversation is
       16    simply a husband and wife conversation and that is
       17    plainly privileged under our law.               I have asserted
       18    a privilege as to conversations between Dr. Wright
       19    and his wife.
       20                         JUDGE REINHARDT:        My prior ruling
       21    relating to the conversations between Dr. Wright
       22    and Ms. Watts was based on my finding that those
       23    conversations were not intended to remain
       24    confidential, which is the baseline question.                   The
       25    fact that they arise in a business context is
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                                                                          Page 41
        1    evidence that they were not intended to remain
        2    confidential.        Mr. Freedman, if you want to try
        3    and lay a more specific predicate to the question
        4    I will then be able to better rule on this, but at
        5    least at this point I am not going to overall the
        6    privilege claim.           It is Mr. Rivero's burden and
        7    Dr. Wright's burden to sustain the privilege, but
        8    I think I need a better factual basis, so if you
        9    can ask some additional predicate questions I will
       10    be able to rule at that time.
       11    BY MR. FREEDMAN:
       12               Q.        Dr. Wright, was Ms. Watts
       13    consulting you for business advice when she asked
       14    you about -- when you had these discussions with
       15    her?
       16               A.        No.
       17               Q.        Did these questions relate to
       18    businesses that you were a former director in?
       19               A.        Yes.
       20               Q.        Did these business decisions of the
       21    companies have an effect on your own economic
       22    situation?
       23               A.        No, I don't believe that the
       24    conversations did.
       25               Q.        Did you and your -- prior to you
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                                                                          Page 42
        1    resigning did you and your wife have discussions
        2    about these businesses regularly?
        3               A.        We had private discussions as
        4    husband and wife and we also had business
        5    meetings.       Both were separate.
        6               Q.        Did you regularly have business
        7    meetings about these companies before your
        8    resignation?
        9               A.        When we had business meetings we
       10    had meetings of directors, meetings of managers,
       11    whatever else.        When I was a director we would be
       12    calling director meetings, the minutes of all
       13    those meetings would be recorded and filed.                   When
       14    that occurred my wife was also a director so we
       15    would both discussion things in front of other
       16    people, including other directors.                After my
       17    resignation that was no longer the case.
       18                         MR. FREEDMAN:       I am not sure if
       19    that is enough of a predicate or not.                 I don't
       20    want to spend much more time on this particular
       21    line so I would ask the court for a ruling, even
       22    if it is against me, at this point.
       23                         JUDGE REINHARDT:        Sorry, can you
       24    just go back and refresh me; what was the
       25    underlying question for which privilege was
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                                                                          Page 43
        1    invoked?
        2                         MR. FREEDMAN:       I asked Dr. Wright
        3    whether any of the agreements between him and his
        4    companies and nCrypt Holdings -- as part of those
        5    agreements did anyone identify any red flags for
        6    the intellectual property being assigned.                  He said
        7    he had discussions with his wife but cannot go
        8    into details, I believe.
        9                         JUDGE REINHARDT:        Is that the
       10    question that you believe is on the table,
       11    Mr. Rivero?
       12                         MR. RIVERO:      Judge, I do believe
       13    there was a question which I objected to the form
       14    of anyway.      There was a question related to red
       15    flags.     You Honour, it is of course real-time.
       16    Briefly, my position is this is post Dr. Wright's
       17    resignation, it does not have to do with the
       18    ongoing business of the companies as to which you
       19    previously ruled and this is a discussion between
       20    husband and wife at a later time.               There is no
       21    predicate that there was regular communication on
       22    businesses at this point.            The businesses were, as
       23    I understand, done.          I don't think the rationale
       24    of the previous ruling applies and I ask that the
       25    court sustain the privilege objection.
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                                                                          Page 44
        1                         MR. FREEDMAN:       If I can just
        2    quickly respond to that, which I believe the court
        3    in its last order found that these companies were
        4    potentially alter-egos of Dr. Wright and Ms. Watts
        5    and the resignation of Dr. Wright, in our
        6    submission, would not constitute a true
        7    resignation from the company and he was still very
        8    much involved in the business transactions.
        9                         MR. RIVERO:      I think that would
       10    involve a much deeper enquiry than, if that ever
       11    happens.      I was not present at the hearing but to
       12    determine alter-ego, Judge, in my experience in 33
       13    years I have seen it done once.              I don't think
       14    that can be a basis either there has not been a
       15    factual predicate and that's a heavy burden for
       16    Mr. Freedman to establish in order to defeat this
       17    privilege.
       18                         JUDGE REINHARDT:        I am going to
       19    overrule the objection.           I think that the
       20    proponent of the privilege has the burden of
       21    establishing that it was intended for being
       22    confidential, at least on the record that is
       23    before me right now.          I am hard pressed to
       24    understand how that kind of a conversation between
       25    a corporate director and their spouse, related to
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                                                                          Page 45
        1    corporate business or corporate red flags, was
        2    intended to remain confidential so I will overrule
        3    the objection and direct Dr. Wright to answer the
        4    question.
        5    BY MR. FREEDMAN:
        6               Q.        As part of the agreements between
        7    you and your companies and nCrypt or nCrypt
        8    Holdings, did your wife mention to you that they
        9    were red flags for the intellectual property that
       10    was being assigned?
       11               A.        If you have asked me that way then
       12    no, because basically what you've just said is my
       13    dealings with the companies.             I was not a director
       14    at that stage, I had stood down.               I had agreed to
       15    talk to my wife solely on the purpose of basically
       16    end of day things and sometimes bedtime talk and
       17    whatever else.        I was not involved at all.
       18    People, including lawyers such as Baker &
       19    McKenzie, were very careful to ensure that there
       20    was no way that could be held, that I was
       21    personally able to direct anything.                I made sure
       22    I stood down and all the rest, so the only
       23    conversations I had were not to do with the
       24    ongoing running of my companies in any way ever.
       25               Q.        Did your wife ever identify red
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                                                                           Page 46
        1    flags to any intellectual property that was being
        2    assigned?
        3                         MR. RIVERO:      I repeat the previous
        4    objection to form as to this question.
        5    Dr. Wright, answer if you can.
        6               A.        That is not what my wife had talked
        7    to me about, no.
        8    BY MR. FREEDMAN:
        9               Q.        Dr. Wright, did Baker & McKenzie
       10    identify red flags for the intellectual property
       11    that was being assigned?
       12                         MR. RIVERO:      Objection.       Your
       13    Honour, I am not familiar with the privilege
       14    rulings on this point so if Mr. Freedman is going
       15    to raise that I want to make sure I am aware of
       16    your rulings on questions of advice by Baker &
       17    McKenzie.
       18                         MR. FREEDMAN:       The documents that
       19    identify red flags by Baker & McKenzie are part of
       20    the court's finding that no privilege exists.
       21                         JUDGE REINHARDT:        Just help me out;
       22    Baker & McKenzie was representing who at what
       23    time?     Help me out there.
       24                         MR. FREEDMAN:       I believe it was
       25    DeMorgan.
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                                                                          Page 47
        1                         THE WITNESS:       No, Baker & McKenzie
        2    represented myself personally.
        3                         MR. FREEDMAN:       I believe Baker &
        4    McKenzie represented DeMorgan.              I am not sure we
        5    have 100% on that, but it would be shocking if
        6    Baker & McKenzie represented Dr. Wright personally
        7    since they did extensive write-ups on the
        8    intellectual property and the red flags associated
        9    with them, which he has just said he had nothing
       10    to do with.
       11                         JUDGE REINHARDT:        I'll overrule the
       12    objection and direct him to answer the question.
       13    Again, all my rulings, for purposes of the
       14    deposition, are simply discovery rulings, I'm not
       15    ruling on admissibility at trial, so I will direct
       16    Dr. Wright to answer the question.
       17    BY MR. FREEDMAN:
       18               Q.        Did Baker & McKenzie identify red
       19    flags for the intellectual property that was being
       20    assigned?
       21               A.        I don't know.
       22               Q.        As part of the agreements between
       23    you and your companies and nCrypt or nCrypt
       24    Holdings did anyone identify potential competing
       25    plains to the intellectual property that was being
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                                                                          Page 48
        1    assigned?
        2               A.        I don't know.
        3               Q.        When these agreements between you
        4    and you companies and nCrypt or nCrypt Holdings
        5    were executed did you acknowledge that W&K Info
        6    Defense Research LLC may also own some
        7    intellectual property rights in connection with
        8    the IP purportedly being assigned?
        9               A.        There are two points here.            One,
       10    these are not my companies.             My shareholding in
       11    any of these was minimal, my directorship had been
       12    resigned so they are not my companies.                 You can
       13    keep saying and whatever else, and if you want to
       14    say they are my companies my answer is going to be
       15    no because they are not my companies.                So, if you
       16    want to ask me about my companies; very simple,
       17    no.
       18               Q.        Dr. Wright, when these agreements
       19    between your former companies and nCrypt or nCrypt
       20    Holdings were executed did you acknowledge that
       21    W&K Info Defense Research LLC may also own some
       22    intellectual property rights in connection with
       23    the IP purportedly being assigned?
       24                         MR. RIVERO:      Object to the form.
       25               A.        My answer once again is the same;
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                                                                          Page 49
        1    they were not my companies, they were not my
        2    former companies.           If you want to keep saying that
        3    they are my companies and being erroneous in all
        4    this then my answer will keep being no.                 If you
        5    keep saying "my companies" then my answer is just
        6    going to be no.
        7    BY MR. FREEDMAN:
        8               Q.        Dr. Wright how would you like me to
        9    refer to the group of companies that you
       10    previously founded in Australia, so we can use the
       11    same terminology?
       12               A.        You can say the companies
       13    I founded, you can say the group of companies ----
       14               Q.        That is great.       I will use "the
       15    companies you founded".           Dr. Wright, when these
       16    agreements between the companies you founded and
       17    nCrypt and nCrypt Holdings were executed did you
       18    acknowledge that W&K Info Defense Research LLC
       19    also owned some intellectual property rights in
       20    connection with the IP purportedly being assigned?
       21               A.        Did I?
       22               Q.        Yes.
       23               A.        No.
       24               Q.        Dr. Wright, was the W&K software
       25    package some of the most important intellectual
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        1    property being transferred in the nCrypt and
        2    nChain deal?
        3               A.        That is actually funny.           No, not
        4    even close.       There was not an actual package, so a
        5    deal to transfer nothing is -- no.
        6               Q.        Dr. Wright, didn't the liquidation
        7    of Hotwire put at risk software intellectual
        8    property held by Hotwire?
        9               A.        Yes.
       10    BY MR. FREEDMAN:
       11               Q.        Did the liquidation potentially put
       12    at risk software intellectual property of
       13    Coin-Exch?
       14               A.        There was not actually a
       15    liquidation at that point so you want to say
       16    administration, which was a voluntary
       17    administration.        It was not a liquidation, so if
       18    you want to say liquidation I am going to have to
       19    say no.
       20               Q.        The liquidation of Hotwire did not
       21    potentially put at risk the software intellectual
       22    property of Coin-Exch?
       23               A.        Being that there was not a
       24    liquidation, then no.          If something did not occur
       25    then it cannot put anything at risk.
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                                                                          Page 51
        1               Q.        Could the W&K IP source code
        2    potentially expose Satoshi Nakamoto and Core
        3    Blockchain intellectual property?
        4                         MR. RIVERO:      Object to the form.
        5               A.        Seeing as W&K was formed in 2011,
        6    after I had moved on from coding Bitcoin, and that
        7    anything I did with W&K was utterly unrelated to
        8    anything in Bitcoin, no.
        9    BY MR. FREEDMAN:
       10               Q.        Did Stefan Matthews tell you that
       11    it could?
       12               A.        No.

  R    13               Q.        Did nCrypt or nChain
                                                nC hain maintain a
       14    patents application master registry
                                        regi stry in an Excel
                                                        Exce l
       15    document?
       16               A.        I believe so.
       17               Q.        Did the patents application master
       18    registry -- sorry.         The patents application master
       19    registry tracked progress on patent applications,
       20    right?
       21               A.        It was not my document.
       22               Q.        I did not ask you if it was your
       23    document, I just asked if the patents application
       24    master registry tracked progress on patent
       25    applications.
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                                                                          Page 52
        1               A.        There was a person called Alan
        2    Pederson, who ran a spreadsheet.               I don't know
        3    what he tracked.         I know he was a very good
        4    project manager so I can make assumptions and
        5    I can give you guessing and I will say I am
        6    guessing that he probably did this as a good
        7    project manager.
        8               Q.        So you don't know whether it
        9    tracked that progress?
       10               A.        I am not doing someone else's job,
       11    no.
       12               Q.        Do you know anything at all about
       13    that patents application master registry?
       14               A.        I create patents, other people do
       15    things with them.
       16               Q.        Do you whether 30 of the patent
       17    applications on that registry were ideas sourced
       18    from Coin-Exch?
       19               A.        No, there were no -- anything
       20    sourced from Coin-Exch on that.
       21               Q.        Do you know whether any of the
       22    patent applications were sourced from Cloud Croft?
       23               A.        Every single organisation,
       24    including Cloud Croft, started creating patents
       25    only in the second half of 2015.               So even when the
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        1    company in Australia was still going, if there was
        2    something that was assigned to a particular
        3    company it would be from say August 2015 on.
        4    I did not start working on any patents or IP
        5    before August 2015.
        6               Q.        So the patents application --
        7    strike that.       So the patents application master
        8    registry did not include any ideas sourced from
        9    Cloud Croft?
       10               A.        Once again you are asking me about
       11    a document that some third party maintained, that
       12    I was not involved in the maintenance of, sitting
       13    here, expanding my knowledge into the minds of
       14    other people that you expect me to know what
       15    existed on other people's work product.
       16               Q.        Were patent applications ideas
       17    sourced from Cloud Croft?
       18               A.        Again, nothing was ever sourced
       19    from Cloud Croft.         Everything was made whole cloth
       20    out of my ideas, my mind.            Every single patent
       21    came because I sat down and I designed things.
       22               Q.        Were patent applications sourced
       23    from Coin?
       24               A.        Same.
       25               Q.        Sorry, I did not get that.
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                                                                           Page 54
         1               A.        The same.
H-R      2               Q.        Dr. Wright, you signed a power of
         3    attorney to nChain with regard to intellectual
         4    property in August 2016, did you not?
         5               A.        I don't know.
         6               Q.        I am going to put on the screen for
         7    you what has been produced in this litigation as
         8    Defense 01074241.         Do you see that?
         9           (Exhibit Defense 01074241 referred to)
        10               A.        Yes, I do.
        11               Q.        Do you see it is entitled "power of
        12    attorney"?
        13               A.        I do.
        14               Q.        Do you see that the power of
        15    attorney was made on August 22, 2016 by Craig
        16    Steven Wright?
        17               A.        No, I see that there is a document
        18    there noting my name on that date.
        19               Q.        Dr. Wright, I am going to scroll
        20    down to the last page of this document.                 Do you
        21    see where it says "signed as a deed by Craig
        22    Steven Wright"?
        23               A.        I do.
        24               Q.        Is that your signature?
        25               A.        That could be, yes.
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                                                                            Page 55
H-R       1               Q.        Do you remember signing this
          2    document?
          3               A.        Can I have a look at the full
          4    document please?
          5               Q.        Absolutely.
          6               A.        Can you zoom in at all?
          7               Q.        Yes.
          8               A.        Yes, this is a standard employment
          9    document that was given to everyone employed by
         10    nChain or nCrypt.
         11               Q.        So you did execute this document,
         12    Dr. Wright?
         13               A.        Yes.    Every employee of nCrypt does
         14    something similar, or now nChain.
         15               Q.        It authorises nCrypt Limited to act
         16    in your name and on your behalf in relation to any
         17    intellectual property devised by you and owned by
         18    or assigned to nCrypt?
         19               A.        Yes, this is a standard
         20    intellectual property agreement between employees
         21    and their employer.
         22               Q.        To represent you in and with
         23    respect to all matters related to the intellectual
         24    property?
         25               A.        As I said, if you have any
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H-R      1    knowledge of patenting process then you will
         2    understand this is a very standard, typical
         3    clause.
         4               Q.        nCrypt has the right to represent
         5    you in matters of conflicts or disputes relating
         6    to intellectual property matters, is that right?
         7               A.        It has what this document says.
         8               Q.        They have the right to take any
         9    steps and do anything in their absolute discretion
        10    that they consider desirable in connection with
        11    the intellectual property; isn't that right?
        12               A.        Do you want me to act as a lawyer
        13    and try and determine what you think -- what
        14    I think this particular document means?                 You are
        15    asking me to analyse the legal aspects of a
        16    standard power of attorney document.
        17               Q.        Dr. Wright, does nChain have a lot
        18    at stake in this litigation?
        19               A.        No.
        20                         MR. RIVERO:      Object to the form.
        21               Q.        Does nChain have ability to control
        22    this litigation with respect to the intellectual
        23    property?
        24                         MR. RIVERO: Form.
        25               A.        No.   nChain is not involved in any
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        1    way in this litigation.           I know that the people
        2    funding Mr. Kleiman at the moment, including
        3    Tether and Kraken, seek to shut me down because
        4    their whole existence in their Ponzi requires that
        5    I be seen as a fraud, but quite simply nChain has
        6    no, and I mean no -- I will reiterate that no --
        7    involvement in this case whatsoever.                No funding,
        8    no anything.
        9    BY MR. FREEDMAN:
       10               Q.        Dr. Wright, who is paying for your
       11    legal Defense in this case?
       12               A.        My legal Defense is paid to my
       13    lawyers through myself.
       14               Q.        Dr. Wright, you pay your lawyers
       15    directly for this representation?
       16                         MR. RIVERO:      Object to the form.
       17    BY MR. FREEDMAN:
       18               Q.        You can answer.
       19                         MR. RIVERO:      Your Honour, I object
       20    on relevance grounds here, and also on questions
       21    of confidentiality.          It is no way relevant to
       22    litigation how we are paid as counsel to
       23    Dr. Wright and the question how we are paid is a
       24    matter of confidentiality as well, Judge.                  I am
       25    not asserting privilege because I think the case
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        1    law is different, but there is no reason that that
        2    strong confidentiality protection should be
        3    overcome, even in a discovery setting, when there
        4    is absolutely no relevance to the questions in
        5    this case, which are whether there was a
        6    partnership between Dr. Wright and Dave Kleiman,
        7    Judge.     It was seven years ago.           How we are paid
        8    could have no bearing on that whatsoever,
        9    certainly not enough relevance to overcome the
       10    confidentiality in our relationship with our
       11    client.
       12                         JUDGE REINHARDT:        Mr. Freedman,
       13    what is the relevance of this question?
       14                         MR. FREEDMAN:       There are two, your
       15    Honour.     First of all, in Dr. Wright's last
       16    response he said that nChain is not funding the
       17    litigation so he has opened the door to this line
       18    of questioning.        But more importantly, based on
       19    this power of attorney document that we've just
       20    presented we believe that nChain is actually in
       21    control of this litigation, making decisions in
       22    the litigation and its principal is funding this
       23    litigation, and this goes to whether they are a
       24    real party and interest.
       25                         JUDGE REINHARDT:        I will sustain
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                                                                           Page 59
        1    the objection.        No one objected when he answered
        2    the question of who was paying and no one objected
        3    when he answered the question of whether nChain
        4    was controlling the litigation.              Whether and how
        5    and through what means and how frequently he pays
        6    his lawyers I would find is not relevant or is
        7    otherwise unduly prejudicial and not proportional
        8    to the needs of the case and so I would sustain
        9    that objection.
       10                         MR. FREEDMAN: I have one more
       11    question.       I'm not sure whether it is incorporated
       12    by the order so I'm going to pause and if you tell
       13    me that it is not appropriate we will move right
       14    on.    The final question is ----
       15                         JUDGE REINHARDT:        Mr. Freedman, ask
       16    your question.        If Mr. Rivero objects I will be
       17    happy to rule on the objection.
       18    BY MR. FREEDMAN:
       19               Q.        Dr. Wright, is Calvin Ayre funding
       20    this litigation?
       21                         MR. RIVERO:      Objection.       Same
       22    objection as before.
       23                         JUDGE REINHARDT:        I will allow him
       24    to answer that.        It is a yes or no question as to
       25    whether Mr. Ayre is funding the litigation.
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        1               A.        No, he is not.
        2    BY MR. FREEDMAN:
        3               Q.        Thank you.      Dr. Wright, has Calvin
        4    Ayre or any of his agents been involved in the
        5    collection of collecting and producing documents
        6    in this case?
        7                         MR. RIVERO:      Your Honour, this
        8    again -- first of all, I can say for the record
        9    that the answer is no, but that is from counsel.
       10    How this could possibly be relevant to this case,
       11    Judge, is beyond me.          This case does not have to
       12    do with who gathered -- in this instance, unless
       13    there is some allegation that there is some
       14    specific issue about a production, I don't see how
       15    this could be related to the case.
       16                         MR. FREEDMAN:       Your Honour, in this
       17    litigation it is our position that Dr. Wright has
       18    produced a lot of forged documents and we need to
       19    know how the documents were collected.                 That is a
       20    big issue in this case.           There are documents that
       21    have recently come to light that we need to
       22    understand the collection process and I will get
       23    to those questions.          This is a preliminary to
       24    that.     We believe that Mr. Ayre has a strong
       25    interest in the outcome of this litigation and if
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                                                                          Page 61
        1    he participated we need to dig deeper into that.
        2    If the answer is no, the question will go on on
        3    that line.
        4                         MR. RIVERO:      Your Honour, first of
        5    all, if that is actually the basis, which I doubt
        6    very much is relevant in and of itself, but if
        7    that were the basis you would not jump, without
        8    any predicate, to the very last question in that
        9    series.     So if the question is about the
       10    collection of the documents you would start by
       11    asking who collected the documents, rather than
       12    asking whether Calvin Ayre or others were involved
       13    in the collection of the documents.                This is so
       14    plainly irrelevant I don't know why the plaintiff
       15    is focusing on this matter.             This is not related
       16    to this case.
       17                         JUDGE REINHARDT:        Anything further
       18    Mr. Freedman?
       19                         MR. FREEDMAN:       No, your Honour.
       20                         JUDGE REINHARDT:        I seem to recall
       21    from the other day Dr. Wright was asked questions
       22    about his knowledge of how the documents in this
       23    case that have been produced or collected and
       24    I believe his testimony was that he did not have
       25    any personal knowledge, that it had all been done
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                                                                          Page 62
        1    by his lawyers.        If that is not a correct
        2    recollection that is probably the way to start, is
        3    to simply ask him -- I agree with Mr. Rivero, I
        4    think the better way to get at this Mr. Freedman
        5    is to ask him what personal knowledge he has of
        6    the collection process, separate and apart from
        7    privileged conservations he may have had with his
        8    attorneys, and then go from there and we will see
        9    where it takes us.         I sustain the objection at
       10    this time to this question.
       11    BY MR. FREEDMAN:
       12               Q.        Dr. Wright, at any point in 2015
       13    did you mention to Ira anything about nCrypt?
       14               A.        No.
       15               Q.        At any point in 2015 did you tell
       16    Ira about a plan to sell Coin-Exch intellectual
       17    property and technology to Sterling Group, nCrypt
       18    or nChain?
       19               A.        No.
       20               Q.        At any point in 2015 did you tell
       21    Ira about a plan to sell the W&K IP software
       22    package to Sterling Group, nCrypt or nChain?
       23               A.        One, you cannot sell a software
       24    package that does not exist.             That would be fraud.
       25    I am very certain that Ira would believe that he
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                                                                          Page 63
        1    could sell that to other people, but unfortunately
        2    if something does not exist you cannot sell it.
        3    I don't engage in the touting or sale of products
        4    that don't exist.
        5               Q.        Other than confidential discussions
        6    between you and your wife did you ever discuss
        7    with Ms. Watts how to force Ira to sell his shares
        8    in Coin-Exch?
        9               A.        I did not discuss how to have Ira
       10
       1 0   sell shares in Coin-Exch with my wife,
       11
       1 1   confidential or not.          I did not discuss how to
       12
       1 2   force him to sell at all.            Basically, he was given
       13
       1 3   shares and his thing was trying to ensure that the
       14
       1 4   IRS would never know about them.
       15               Q.        Did you ever discuss that Stefan
       16    Matthews how to force Ira to sell his shares in
       17    Coin-Exch?
       18               A.        Exactly the same answer.           I did not
       19    really care whether Mr. Kleiman sold shares, kept
       20    shares, whatever else, as long as he let the
       21    business keep going without interfering by calling
       22    up tax office officials and making up and
       23    fabricating documents to them, as he did.
       24               Q.        Did you ever send Ira e-mails
       25    drafted by Stefan Matthews?
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                                                                          Page 64
        1               A.        No, I cannot draft e-mails as
        2    Stefan Matthews.
        3               Q.        Did ever tell Ira there is no new
        4    development being done in Coin-Exch?
        5               A.        No.
        6               Q.        Did you ever tell Ira that you
        7    would keep him updated on any material changes
        8    with respect to Coin-Exch?
        9               A.        I said I would inform him as with
       10    any other shareholder.           I did that right until the
       11    period I resigned as a director.               Once I am no
       12    longer in charge of anything then I don't have any
       13    legal rights to either request anything more
       14    than any other shareholder or to update any other
       15    shareholders on that information.               While I was a
       16    director of the company I informed him with the
       17    same process of every single other shareholder.
       18    He was not informed any earlier, although he did
       19    say he believes because of his involvement with
       20    his brother that he requires information earlier,
       21    but I informed him that would not be legal.
       22               Q.        Did Ms. Watts ever tell you not to
       23    respond to e-mails from Ira Kleiman?
       24               A.        I don't know.       I don't remember.
       25               Q.        Dr. Wright, did Stefan Matthews
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                                                                          Page 65
        1    ever tell you that if you get a note in any form
        2    from Ira's lawyer you would consider a response,
        3    but until then Ira can take a flying leap?
        4               A.        That sounds like something Stefan
        5    Matthews would say, but at that point I was not
        6    involved as a director so I don't recall.                  I would
        7    not have said anything to Ira.
        8               Q.        Dr. Wright, did you ever check with
        9    Baker & McKenzie before responding to messages
       10    from Ira to ensure that you protected the --
       11    strike that.       Did you ever check with Baker &
       12    McKenzie, before responding to messages from Ira,
       13    to ensure that you protected DeMorgan or nChain's
       14    IP position?
       15                         MR. RIVERO:      Dr. Wright, please at
       16    this point answer the question without going into
       17    conversations.        If you will take it step-by-step,
       18    please.
       19               A.        Baker & McKenzie were my personal
       20    lawyers and are still used, in part, as personal
       21    lawyers for my wife and my myself.               After August
       22    2015 I was not a director of any of the Australian
       23    companies that I founded and I was not
       24    represented, in a corporate sense, by Baker &
       25    McKenzie.       I was personally represented by Baker &
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                                                                             Page 66
           1    McKenzie.       I had made requests to Baker & McKenzie
           2    concerning do I just ignore this guy now that I am
           3    not a director and I had discussions on a personal
           4    basis with my lawyers ----
           5                         MR. RIVERO:      Dr. Wright, please
           6    don't go into those discussions.               Don't go into
           7    discussions with those counsel.
           8               A.        In that case, I cannot answer
           9    further.
          10    BY MR. FREEDMAN:
A-H-R     11               Q.        Dr. Wright, did you ever tell the
          12    Australian Tax Office that you did your best to
          13    hide the fact that you had been running Bitcoin
          14    since 2009?
          15               A.        Not exactly that terminology.             That
          16    was transcribed incorrectly.
          17               Q.        What was it that you had said --
          18    you know what, strike that question.                You
          19    acknowledge there is a transcript that represents
          20    you have said that then, is that accurate?
          21                         MR. RIVERO:      Objection to the form.
          22               A.        I acknowledge that there is a fake
          23    transcript that has been leaked by Gizmodo and
          24    that we had contacted the Australian Tax Office
          25    and complained about the inaccuracies in a
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                                                                                 Page 67
 H-R           1    document that they sought to use to prejudice us,
               2    that was then to be updated and that the updated
               3    document -- the real transcript -- has no such
               4    comment.
               5                         MR. RIVERO:      Just a moment.
               6    I reserve all rights with regard to any
               7    transcripts, including those improperly published.
               8    BY MR. FREEDMAN:

Auth-F-H-R     9               Q.        Understood.      Dr. Wright, I am
              10    putting on the screen what you produced in this
              11    litigation as Defense 51780.             Let me know if you
              12    see that up there.
              13               (Exhibit Defense 51780 referred to)
              14               A.        Yes.    I will once again state that
              15    I did not produce it.          My lawyers produced this.
              16    I had no part in giving it over.
              17                         MR. RIVERO:      You have only been
              18    asked to look at the document.              While you are
              19    looking at it I just want to state that we will be
              20    moving to exclude all use of all these
              21    transcripts.       I will just reserve objections,
              22    Mr. Freedman, if you will agree, without need to
              23    repeat the objection constantly.               We object to the
              24    use of the transcripts and we intend to move to
              25    exclude all of this.          I hope you will agree that I
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                                                                              Page 68
              1   don't have to repeat that.
              2   BY MR. FREEDMAN:
              3             Q.        You don't have to repeat.           That I
              4   understand your objection.           It's preserved as to
              5   any of use of the transcripts.             Do you recognise
              6   this document?
              7             A.        I have seen this document on
              8   Gizmodo, yes.
              9             Q.        I am going to ask you to go to page
             10   27.   I am going to bring you there.              Is this a
             11   good -- can you read this?
             12             A.        I can.
             13             Q.        27, here we are.        Do you see on
             14   line 14 it starts with the word "Wright"?
             15             A.        I don't see a line 14.          I see a
             16   "Wright" under 10.
             17             Q.        You are right, that is line 12.
             18   This line here, I take it this is line 10, this is
             19   line 11 and this is line 12.            That is the way
             20   I was going to refer to the document.               I think we
             21   are on the same page now.           Can you read that --
             22   sorry, I apologise.          I will take one step back.

Auth-F-H-R   23   This purports to be a transcript of a meeting, and
             24   I am going to bring you back to page 1 so you can
             25   see the document.        This purports to be a
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                                                                               Page 69
Auth-F-H-R    1   transcript of proceedings of a meeting with the
              2   Australian Tax Office or an interview with the
              3   Australian Tax Office between Des McMaster, Marina
                                                              Marin a
              4   Dolevski, Hoa Doa from the ATO and yourself Craig
              5   Wright, John Chesher who is your CFO, and Andrew
              6   Sommer who is your lawyer.            Is that accurate of
              7   what it purports to be?
              8                        MR. RIVERO:      Objection.
              9              A.        That is what it purports to be.
             10   BY MR. FREEDMAN:

Auth-F-H-R   11              Q.        I am going to bring you back down
                                                                    dow n
             12   where we were a moment ago and back to line 12.
             13   Can you read for me the full quote attributed to
                                                                to
             14   Wright at line 12:
             15              A.        Yes, I will read the erroneous
             16   document starting at "Wright".              "I did my best to
             17   try and hide the fact that I had been running
             18   Bitcoin since 2009 but I think it's getting most,
                                                              m os t,
             19   most -- by the end of this I think half the world
                                                              w or ld
             20   is going to bloody know".
             21              Q.        Did you say that in sum or
             22   substance to the ATO on this date, on February
             23   18th, 2014?
             24                        MR. RIVERO:      Objection.
             25              A.        As I stated, this is a horribly
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                                                                          Page 70
        1    erroneous document that was said to be corrected.
        2    Basically, I would estimate that one word out of
        3    100 was correct in this document.
        4    BY MR. FREEDMAN:
        5               Q.        Dr. Wright, did you say that quote
        6    in sum or substance to the Australian Tax Office?
        7                         MR. RIVERO:      Object to the form.
        8               A.        No, I did not.
        9    BY MR. FREEDMAN:
       10               Q.        Did you begin mining Bitcoin in
       11    2009?
       12               A.        I did.
       13               Q.        Did there come a time you stopped?
       14               A.        Yes.
       15               Q.        When did you stop?
       16               A.        August in 2010.
       17               Q.        Have you ever said that you stopped
       18    mining in 2012?
       19               A.        No, that is not actually correct.
       20    What I had stated was that I started mining with
       21    my son to teach him again at a later period.
       22               Q.        Dr. Wright, I am going to put on
       23    the screen -- I'm not sure what exhibit number we
       24    are on, it is tough to keep track of it, but it
       25    appears to be a -- we'll have to go back and
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                                                                          Page 71
        1    exhibit everything in order.             It appears to be a
        2    snapshot we collected of a Facebook profile Craig
        3    S. Wright.      Do you see that?
        4               A.        Yes, I see someone else's Facebook
        5    profile as it is now.
        6                         MR. RIVERO:      I'm objecting to the
        7    use of this document, for completeness and other
        8    reasons.
        9    BY MR. FREEDMAN:
       10               Q.        Do you recognise --
       11                         MR. RIVERO:      Mr. Freedman, for good
       12    order could you just identify what we are looking
       13    at since it does not have a Bates or exhibit
       14    number or anything else, just so we can make a
       15    record of what you are referring to.
       16    BY MR. FREEDMAN:
       17               Q.        I did say it purports to be a
       18    Facebook profile and Dr. Wright says it belongs to
       19    someone else.        Dr. Wright do you recognise this
       20    post?
       21                         MR. RIVERO:      I need to make a
       22    record also.       This is a document that says -- in
       23    its first line it has what appears -- on the left
       24    I see a small snapshot that may be Dr. Wright.                    It
       25    says Craig S. Wright.          Then it's timeline 2014,
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                                                                          Page 72
          1   December.      Then it has some photographs underneath
          2   and has four entries starting with Bobby Joe and
          3   ending with Edwin Archer.           No Bates number, no
          4   exhibit number.
          5   BY MR. FREEDMAN:

H         6             Q.        We are going to identify this
          7   document is Tag 1, which is its file name, so we
          8   can mark exhibits later.           Do you recognise this
          9   Facebook post?
         10                  (Exhibit Tag 1 referred to)
         11             A.        No, I don't.
         12             Q.        Can you read for the record the
         13   Facebook post attributed to Craig S. Wright?
         14                       MR. RIVERO:      Object to the form.
 H       15             A.        Yes, I see that post.          One of the,
                                                                        th e,
         16   I believe, 1500 existing Craig S. Wright's out
         17   there, with my picture, has:            "Basically,
         18   I stopped mining in 2012.           I will leave that for
                                                                    fo r
         19   others now".
         20   BY MR. FREEDMAN:

     H   21             Q.        Have you ever said you stopped
         22   mining in 2011?
         23                  (Exhibit Tag 2 referred to)
         24             A.        No.
         25                       MR. RIVERO:      I am trying to find
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                                                                          Page 73
        1    the tag.
        2                         MR. FREEDMAN:       The entire document
        3    is displayed on the screen.             There is nothing more
        4    to it.     If you look on the screen, you can
        5    research the file.
        6                         MR. RIVERO:      I found it.       Just give
        7    me one second.        Thank you.
        8    BY MR. FREEDMAN:

  H     9               Q.        Do you recognise this as a tweet
       10    from your @proffaustus account?
       11               A.        Yes, that is a tweet from my
       12    @proffaustus.
       13               Q.        Can you read for the record the
       14    first paragraph of that tweet?
       15               A.        "Neither of us mined after 2011".
       16               Q.        Is this a tweet you wrote,
       17    Dr. Wright?
       18               A.        Yes, I did not mine after 2011.
       19    1st January 2011 I was not mining.
       20               Q.        I just asked if you wrote it,
       21    nothing else.        Please answer the question that is
       22    being asked of you.
       23                         MR. RIVERO: I ----
       24                         MR. FREEDMAN: Mr. Rivero, you will
       25    have time to redirect your witness as you want.
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                                                                           Page 74
          1   The question was did you write it, not if it's
          2   true.     I would appreciate it, Mr. Rivero, if you
          3   would let me ask the questions unimpeded.
          4                        MR. RIVERO:      Mr. Freedman, lower
          5   your tone.       I move to strike all your comments.
          6   Your question has been properly asked.
          7   BY MR. FREEDMAN:
          8              Q.        Did you ever invest in a basic
          9   system, prior to 2014, to make mining more
         10   profitable?
         11              A.        Yes.
         12              Q.        Dr. Wright, did you mine Bitcoin as
         13   Satoshi in 2009 and 2010?
         14              A.        I did not mine as Satoshi at any
         15   point in history.
         16              Q.        Have you ever said that you mined
         17   Bitcoin as Satoshi in 2009 and 2010?
         18              A.        No, I mined owning a company.
Auth-H   19              Q.        Dr. Wright, I am going to put on
         20   the screen what is identified for this purposes of
         21   this deposition at tag 3.            Let me know when that
         22   is up.
         23                   (Exhibit Tag 3 referred to)
         24              A.        Uh-huh.
         25              Q.        Do you recognise this as a post
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                                                                          Page 75
 H
        1    from your Slack group?
        2               A.        Yes, I do.
        3               Q.        Dr. Wright can you for the record
        4    please read the last paragraph of this post?
        5               A.         "My life goal is to increase the
        6    value of Bitcoin I mined as Satoshi in 2009/2010
        7    to be as great as possible.             This will take
        8    decades.        I am bot a beneficiary and I set up so
        9    that the 225K will be used for a purpose ----
       10               Q.        I think you misread that.           Can you
       11    go back for the records.            I think you said 225K.
       12               A.        Sorry.    "825K will be used for a
       13    purpose ----
       14               Q.        Just so we have a clean record I am
       15    going to ask you to start from the beginning of
       16    the quote.        Please read for the record the portion
       17    of your post that starts from "my life goal"?
       18               A.        Yes, I can take the out of context
       19    thing and read that again.            "My life goal is to
       20    increase the value of Bitcoin I mined as Satoshi
       21    in 2009/2010 to be as great as possible.                 This
       22    will take decades.         I am bot a beneficiary and
       23    I set it up so that the 825K will be used for a
       24    purpose, not one Bitcoin that is to be spent on
       25    me".
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                                                                          Page 76
        1               Q.        It is true that you mined Bitcoin
        2    as Satoshi in 2009/2010, is it not?
        3                         MR. RIVERO:      Object to the form.
        4               A.        I have written many things that are
        5    not accurate, but that does not mean when I am
        6    under oath I will not detail them in full.                  So,
        7    yes, I did not go into trying to explain to people
        8    commonly that I set up a company in 2009 called
        9    Information Defense, that was registered in
       10    January 2009, that I went through a process with
       11    the Australian industry organisation, tried to
       12    have those companies registered in Australia, set
       13    up shareholdings and staff and, between different
       14    facilities I ran, operated and managed staff to
       15    run those machines for me.              As a simple
       16    explanation of all of the above, that is what
       17    I said without being under oath.               If I am under
       18    oath then no I will not say I mined as Satoshi
       19    because, well, then I have to be fully truthful
       20    and just simplifying things for the average person
       21    generally seems to work.
       22    BY MR. FREEDMAN:
       23               Q.        Dr. Wright, you are saying that
       24    your comment on this Slack forum was imprecise?
       25               A.        It is extremely imprecise.            It is a
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                                                                          Page 77
        1    Slack forum where you don't get to sit there
        2    negotiating back and forwards or going into
        3    details.        Trying to explain to people from a
        4    variety of different countries, who may not even
        5    speak English as a first language, who are
        6    developers, the legal aspects of "Yes.                 Well,
        7    I started a company.          The corporate ownership of
        8    that company then had rights that were transferred
        9    across international boundaries under a warrant.
       10    The warrant was then executed, the companies did
       11    an assignment right in 2010.             We closed those
       12    down, merging the other things in", and trying to
       13    explain that just complicates the matters of
       14    trying to get a simple message across so, yes.
       15               Q.        Thanks, Dr. Wright.         In May 2013
       16    was the value of your Bitcoin wallet approximately
       17    around AUD 100 million?
       18               A.        Which Bitcoin wallet?
       19               Q.        Any Bitcoin wallet?
       20               A.        Of mine, no.
       21               Q.        Did you ever tell anyone that the
       22    value of your Bitcoin wallet was approximately AUD
       23    100 million?
       24               A.        If I did I would have been
       25    referring to a corporate wallet, as in sometimes
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                                                                          Page 78
        1    I use the royal "we" etc.
        2               Q.        Was the value of your corporate
        3    Bitcoin wallet around approximately AUD 100
        4    million in May of 2013?
        5               A.        That is possible.         In 2011, between
        6    March and July, I had used money that I earned
        7    from a number of gaming contracts and other such
        8    things to purchase Bitcoin to be used without
        9    linking to my origin invention of Bitcoin from a
       10    number of exchanges, including Liberty Reserve,
       11    W&K, MIR I believe, mostly the sort of very small
       12    dodgy places because there was nothing else other
       13    than small dodgy places in Bitcoin land.                 Those
       14    had been transferred into the companies.                 The
       15    Bitcoin that I discussed at the time was the
       16    purchased Bitcoin.         The records for all those
       17    purchases and all the transfers into the company
       18    will demonstrate they are not mined Bitcoin, if
       19    that is what you are trying to get at.                 So, yes,
       20    I had communicated about the corporate value,
       21    especially when communicating to different people
       22    about investment etc.
       23               Q.        Did you ever pay MJF Mining any
       24    Bitcoin?
       25               A.        I paid a combination of Bitcoin
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                                                                          Page 79
        1    directly to them and as a direct assignment with
        2    them as an agent.
        3               Q.        On 30 August 2013 did you pay MJF
        4    Mining the sum of 245,103.89 Bitcoin?
        5               A.        I don't remember the date.            There
        6    was an assignment done.           I did not pay personally,
        7    if that is what you are asking.
        8               Q.        Is that the correct amount that was
        9    paid?
       10               A.        I would have to look at the
       11    accounts.       I am not the accountant.
       12               Q.        Is it approximately what you recall
       13    paying them?
       14               A.        It would be somewhere in that
       15    order.
       16               Q.        On 15th September 2013 did you
       17    transfer 135,100.10 Bitcoins to MJF Mining?
       18               A.        Again, I was not and have not been
       19    the accountant or bookkeeper, or anything like
       20    that, for the companies.            I don't remember the
       21    exact dates on these particular things, they had
       22    no particular interest for me to remember the
       23    date.     If there is something in my life that is
       24    emotionally scarring or whatever else I will
       25    remember a date.         This was not, so I didn't.
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        1               Q.        But did you transfer something
        2    around that order?
        3               A.        Again, you are saying did I.             I had
        4    people working and acting for me, so if your
        5    question is did I instruct people to transfer
        6    Bitcoin, the answer is yes.             If you are saying did
        7    I personally do it, the answer would be no.
        8               Q.        Did you instruct people to transfer
        9    around that amount of Bitcoin to MJF Mining?
       10               A.        I don't know the exact amount.
       11    That is quite possible.
       12               Q.        Did both of these transfers occur
       13    after Dave died?
       14               A.        Yes, I believe.        What date did you
       15    say?
       16               Q.        August and September 2013.
       17               A.        Then, yes, definitely.
       18               Q.        Dr. Wright, did Dave Kleiman
       19    authorise the payment of these Bitcoin?
       20               A.        Dave Kleiman was dead.          It is
       21    difficult for a dead person to authorise anything.
       22               Q.        So he did not?
       23               A.        I cannot preclude that he could
       24    have authorised it beyond the grave.                I am
       25    Christian, I was a pastor.            I believe that after
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        1    death we continue so I cannot say that he did not,
        2    if you want to use the correct word of
        3    "authorise", its meaning.            I feel that I did the
        4    right thing but he did not tell me at any point
        5    about authorising any of these transactions
        6    because at no point was Dave Kleiman ever involved
        7    with any of those companies, nor a party to do --
        8    anything to do with them.
        9               Q.        Did Dave Kleiman have anything to
       10    do with the deal you struck with Mark Ferrier and
       11    MJF Mining Services?
       12               A.        The deal that I ended up going
       13    through sort of happened after Dave Kleiman died.
       14               Q.        That was not what I asked.            I just
       15    asked if Dave Kleiman had anything to do with that
       16    deal?
       17               A.        Are you asking whether beyond the
       18    grave somehow he managed to have a seance with
       19    someone?        I don't believe in seances.
       20               Q.        So the answer is no.
       21               A.        Unless you believe in them, I don't
       22    believe he can.
       23               Q.        So unless Dave Kleiman communicated
       24    beyond the grave he did not have anything to do
       25    with these deals; is that an accurate statement?
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                                                                          Page 82
        1               A.        Yes.
        2               Q.        Did MJF Mining Services ever
        3    acknowledge receipt of private keys to you?
        4               A.        They announced they had received
        5    it.    It was not directly to MJF Mining, it was
        6    through accounts function as agent, so I am not
        7    sure what was received to them directly and what
        8    was given to other parties.
        9               Q.        Did MJF Mining -- strike that.             Was
       10    MJF Mining Services associated with Mark Ferrier?
       11               A.        Yes, unfortunately.
       12               Q.        Did Mark Ferrier send you Core
       13    Banking software?
       14               A.        No, Mark Ferrier did not send me
       15    Core Banking software.
       16               Q.        Did Mark Ferrier arrange for you to
       17    receive Core Banking software?
       18               A.        Yes, Mark Ferrier acted as an agent
       19    for other parties who gave me source code to
       20    Islamic banking software.
       21               Q.        Did you pay for that software?
       22               A.        Yes, I paid for that software.
       23               Q.        What form of remuneration did you
       24    provide for that software?
       25               A.        I made an exchange with a group, a
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        1    Saudi group, to exchange a large amount of Bitcoin
        2    for copies of software.
        3               Q.        Did you buy anything else from
        4    Mr. Ferrier, MJF Mining or any other company as
        5    part of that transaction?
        6               A.        I attempted to buy something else.
        7               Q.        What is the total remuneration that
        8    you paid for these things?
        9               A.        The Core Banking software or the
       10    things that were not delivered?
       11               Q.        Why don't you break it down.
       12    First, for the Core Banking software.
       13               A.        I don't know.       It will be in the
       14    company accounts.         More than that, I have no idea.
       15               Q.        What about for the other things
       16    that you purchased?
       17               A.        I know it was in the tens of
       18    millions of dollars.          There were transfers of gold
       19    that never occurred.          Mark Ferrier was meant to be
       20    mining a mine for Pain, an Australian listed
       21    mining company.        Unfortunately, it turns out
       22    Mr. Ferrier duped a lot of people and never
       23    appeared in the contract with Pain.                I had no
       24    third party rights, so nothing occurred there.
       25    I don't remember the value.             There was a lawsuit.
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                                                                          Page 84
        1    Unfortunately, Mr. Ferrier fled overseas so I have
        2    not tracked how much that is actually worth.                   The
        3    other was SCADA software.            The SCADA software was
        4    from Siemens.        We were given a complete set of all
        5    Siemens software, all control software and all
        6    management software, including for power plants
        7    and other global operations.
        8               Q.        What is the total remuneration that
        9    you paid for all of these things?
       10               A.        I don't know.       You would have to
       11    look at the accounts.
       12               Q.        Did you and Dave arrange for the
       13    sail of 500,000 Bitcoin to have access to Core
       14    Banking software?
       15                         MR. RIVERO:      Object to the form.
       16               A.        As I said, Dave was dead.
       17    BY MR. FREEDMAN:
       18               Q.        Did you tell Ira that Dave arranged
       19    for the -- strike that.           Did you tell Ira that you
       20    and Dave arranged for the sale of 500,000 Bitcoins
       21    to have access to Core Banking software?
       22                         MR. RIVERO:      Object to the form.
       23               A.        It was not 500,000, off the top of
       24    my head, for Core Banking software.                I would need
       25    to look at the amounts.
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                                                                          Page 85
        1    MR. FREEDMAN:
        2               Q.        I just asked if you told Ira that
        3    you arranged for the sale of 500,000 BTC so that
        4    you could have access to Core Banking software,
        5    not whether the amount was correct.                Let me
        6    rephrase so you can hear clearly the question.
        7    Dr. Wright, did you tell Ira that you and Dave
        8    arranged for the sale of around 500,000 BTC so
        9    that you could have access to Core Banking
       10    software?
       11                         MR. RIVERO:      Object to the form.
       12    Dr. Wright, answer that question.
       13               A.        No, but I do know that Mr. Kleiman
       14    has created documents and sent them around saying
       15    that.
       16    BY MR. FREEDMAN:
       17               Q.        Dr. Wright, I am going to share
       18    with you what you have produced in this litigation
       19    as Defense 00119167.          Can you let me know when
       20    that is up on the screen?
       21            (Exhibit Defense 00119167 referred to)
       22               A.        That is up on the screen.
       23               Q.        Do you recognise this as a printout
       24    of an e-mail that purports to be from you to Ira
       25    Kleiman, with a cc to Andrew Sommer?
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                                                                          Page 86
        1               A.        No, I did not.       There are a number
        2    of problems with this.           Where I said that unless
        3    there is something emotionally scarring or
        4    whatever else I don't remember dates, this happens
        5    to be an emotionally scarring date.                On 23rd
        6    August, this was just before the Tuesday following
        7    where we told the staff, on this particular day
        8    for the entire day I had been in communications
        9    with McGrathNicol, the external auditors that we
       10    appointed over Hotwire, KPMG and other entities.
       11    Basically, we had decided to appoint external
       12    parties to manage Hotwire due to problems that we
       13    had, so we were renegotiating contracts.                 We were
       14    with lawyers and other parties.              The entire
       15    process of spending a day with everything there,
       16    going through and having to close -- well, not
       17    close but place not into liquidation, as you said,
       18    but into external administration the company and
       19    restructure was massively scarring, I would say,
       20    mentally for me.         I remember the day and
       21    unfortunately there was a day when I did not have
       22    any e-mails sent.         I did not send a single e-mail
       23    on 23rd April and there are public records that
       24    attest that I was in these meetings.
       25               Q.        Dr. Wright, is it your position
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                                                                          Page 87
        1    then that you did not send this e-mail?
        2               A.        It is my position that Mr. Kleiman
        3    has been making up documents and that he has
        4    worked with other people that I fired that have
        5    been doing things like signing my signature to
        6    raise money and that Mr. Kleiman has fabricated
        7    quite a lot and then said things that are taken
        8    from machines that I was no longer involved with
        9    that he would have known have been fabricated,
       10    yes.
       11               Q.        I want to break that down.            The
       12    first is, just so the records is clear, it is your
       13    testimony that this is not an e-mail you sent,
       14    correct?
       15               A.        My testimony with the Craig S.
       16    Wright A, whatever that says, is that Ira Kleiman
       17    has been defrauding everyone, and he can sue me
       18    for defamation on this one, because I think he is
       19    a con man.
       20               Q.        Dr. Wright, please just answer the
       21    question I am asking.          I really don't want to have
       22    to ask the court for more time.              I really want to
       23    finish this but if you don't answer the question
       24    it is going to take a lot longer.
       25               A.        I did answer the question.
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                                                                          Page 88
        1               Q.        Is it your testimony that this
        2    document ----
        3                         MR. RIVERO:      I ----
        4    BY MR. FREEDMAN:
        5               Q.        Mr. Rivero let me finish the
        6    question and then you will have opportunity to
        7    object.     Dr. Wright, it is your testimony that
        8    this e-mail was not sent by you?
        9                         MR. RIVERO:      Dr. Wright, let me
       10    speak.     Dr. Wright, please answer that question so
       11    we can proceed.
       12               A.        It is my testimony that this is a
       13    fraudulently fabricated document involving Ira and
       14    other people that I was not involved in the
       15    sending of.
       16    BY MR. FREEDMAN:
       17               Q.        Can you read for me the first two
       18    sentences of this e-mail that purports to be from
       19    you?
       20               A.        I can read the fabricated document,
       21    saying:     "I have sold all of the BTC that I plan
       22    to sell now.       In doing what we wanted to do, Dave
       23    and I arranged for the sale or around 500,000 BTC
       24    so that we could have access to Core Banking
       25    software.
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                                                                          Page 89
        1               Q.        Dr. Wright, you said that Ira
        2    Kleiman has fabricated this e-mail -- strike that.
        3    Do you believe Ira Kleiman has fabricated this
        4    e-mail?
        5                         MR. RIVERO:      Objection.       Asked and
        6    answered.
        7               A.        I believe that Ira Kleiman worked
        8    with other people who were fired from my
        9    organisation to fabricate this and many other
       10    documents.      I believe that he knew that the
       11    document dates that were changed in 2014 would
       12    have been changed, that the reason -- that the
       13    administration I told you about where people are
       14    talking about e-mail headers and things like that
       15    changing on that date and being forensically
       16    differed, that was because we had gone through an
       17    administration and had to rebuild all the servers
       18    and import e-mails to a new domain being that
       19    Hotwire was not our domain anymore because it was
       20    under external administration and we had to set up
       21    a new exchange server.           I believe that the only
       22    reason all of those documents purporting to be my
       23    forged documents that can be demonstrated to be
       24    involved with the administration and the changes
       25    of re-scanning are all because Mr. Kleiman and
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        1    other people that used to work for me worked
        2    basically to take money.            That he is a con man, a
        3    fraud and he is making up things for this court in
        4    order to steal or attempt to steal funds.                  That is
        5    my testimony.
        6               Q.        What evidence do you have ----
        7                         MR. CAIN:      We need to take a break
        8    quite shortly because the SD card for the video
        9    machine is going to run out.
       10                         MR. FREEDMAN:       How much time do we
       11    have?
       12                         MR. CAIN:      Five minutes.
       13    BY MR. FREEDMAN:
       14               Q.        Perfect.     Dr. Wright, what evidence
       15    do you have that Ira Kleiman fabricated this
       16    e-mail?
       17               A.        I have things that I have discussed
       18    with my solicitors, I have the fact that I was not
       19    available or sending e-mails on that day, I have
       20    the evidence that my machines were compromised,
       21    I have the evidence that the machines were shut
       22    down and rebuilt, I have the public records to do
       23    with the administration of the companies, I have
       24    testimony of other people, I have forensic
       25    analysis of some of the signatures proving that it
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                                                                          Page 91
        1    was not me who signed them but other people,
        2    I have other documents.           Unfortunately what
        3    I don't have, because your side has not put any of
        4    the required evidence in, are original documents
        5    from Mr. Kleiman that he was required under
        6    discovery to provide.
        7               Q.        Dr. Wright, what evidence do you
        8    have that specifically links Ira Kleiman to these
        9    documents?
       10                         MR. RIVERO:      Hold on.      Objection.
       11    Asked and answered.          Dr. Wright, just be careful
       12    not to go into any discussions with counsel
       13    anywhere, including us, including London.                  Go
       14    ahead and answer.
       15               A.        I cannot answer that without going
       16    into discussions with counsel as counsel were the
       17    people running and managing all the forensic
       18    personnel.
       19                         MR. FREEDMAN: Why don't we take
       20    that break now, you can switch up your SD card and
       21    we'll flag this and come back to it.
       22               (Recess at 1.58 p.m. to 2.29 p.m.)
       23    BY MR. FREEDMAN:
 R     24               Q.        Dr. Wright, would it be accurate to
       25    say you filed a police report because you paid
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                                                                          Page 92
 R      1    Mark Ferrier or companies associated with him for
        2    something he never delivered?
        3               A.        I filed a police report acting for
        4    corporations.        The corporation, in capacity, had a
        5    police report filed where I acted as the corporate
        6    representative.
        7               Q.        Because those corporations paid
        8    Mark Ferrier for something that he never
        9    delivered?
       10               A.        His organisation would have had to
       11    deliver but, yes, Mark Ferrier was a con man.
       12               Q.        The witness statement we reviewed
       13    yesterday was submitted to the New South Wales
       14    police as part of that report?
       15               A.        No, that was a draft document that
       16    you had that was being produced by my solicitors
       17    at the time, so what you had in the draft was
       18    documents going back and forwards as my solicitors
       19    were, basically, instructing me.
       20               Q.        Did you ever send those reports in
       21    any form, from drafts or file, to the New South
       22    Wales police?
       23               A.        The final version of the report was
       24    filed in person with the police.
       25               Q.        Did you file any drafts of the
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                                                                          Page 93
        1    report with the police?
        2               A.        The drafts I don't believe would
        3    have been filed with the police, no.
        4               Q.        Did you send any of the drafts to
        5    the police?
        6               A.        I don't know.
        7               Q.        Would you have shared a draft with
        8    the police that you did not believe to be
        9    accurate?
       10               A.        I doubt it.
       11               Q.        Doctor, were you and Dave working
       12    on creating a completely open and malleable form
       13    of scriptable money?
       14                         MR. RIVERO:      Object to the form.
       15               A.        No, because what happened was
       16    I invited Dave to work with me.              Dave never worked
       17    with me.
       18    BY MR. FREEDMAN:
       19               Q.        Were you and Dave working on ways
       20    to program a distributed contract using Bitcoin to
       21    form agreements with people via the blockchain?
       22               A.        No, none of that work ever began.
       23    I invited Dave to be part of something like that
       24    where I would develop a solution.               Unfortunately,
       25    before any of that started Mr. Kleiman died.
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                                                                          Page 94
        1               Q.        Were you and Dave working on
        2    solving an issue where a transaction could be
        3    issued potentially even after a confirmation if
        4    the blockchain is reorganised?
        5               A.        I think the way you are putting
        6    that is a little bit off, but what I will say once
        7    again is I started working in 2014 on a solution
        8    that would enable transaction security.                 That was
        9    started in 2014, even though I had planned it and
       10    talked to other people as early as 2011 and 2012.
       11    No work was conducted until about February in 2014
       12    so therefore, being that Mr. Kleiman had died in
       13    2013, it was not possible for him to be working
       14    with me.
       15               Q.        Did you and Dave seek to create
       16    autonomous agents in the Bitcoin block?
       17               A.        No.     Mr. Kleiman has no ability to
       18    code there.       Mr. Kleiman was invited to run
       19    machines for me.           If he had not died I would have
       20    had him acting as a system engineer and running
       21    machines where I had run PSO's and other
       22    technology as I experimented with this technology.
       23                         MR. RIVERO:      I had an objection
       24    that was not picked up.           I had an objection to the
       25    last question.        Go ahead, Mr. Freedman.
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                                                                          Page 95
        1    BY MR. FREEDMAN:
        2               Q.        Was the Bitcoin exchange by which
        3    smart contracts would be connected an idea that
        4    you developed with Dave Kleiman?
        5               A.        No, no ideas that I discussed were
        6    developed when Mr. Kleiman was alive.
        7               Q.        Dr. Wright, I am going to share
        8    with you now what we have produced in this
        9    litigation as Kleiman 561744.             Do you see this
       10    e-mail on the screen?
       11              (Exhibit Kleiman 561744 referred to)
       12               A.        I see the e-mail on the screen.
       13               Q.        Is this an exchange of e-mails
       14    between you and Ira Kleiman?
       15               A.        No, because what you will notice is
       16    it says "sent from my HTC".             Since 2011 I have
       17    been using Samsung.          I have my records for my
       18    Samsung purchases, going right back to a Samsung
       19    3.    I have not used a HTC.          I believe the only
       20    person I know who used a HTC was Uyen and she was
       21    never authorised to send e-mails such as that from
       22    me.
       23               Q.        Is it your testimony that you did
       24    not send this e-mail?
       25               A.        I did not send that e-mail.            I did
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        1    not have a HTC phone, I have a Samsung phone and
        2    I did not set my Samsung phone to say "sent from
        3    my HTC".
        4               Q.        Dr. Wright, I am going to share
        5    with you now what has been marked as exhibit 8 to
        6    your deposition in April of 2019.               Do you recall
        7    that deposition?
        8               A.        Yes, I do.
        9                       (Exhibit 8 referred to)
       10               Q.        Do you recognise this e-mail as an
       11    exchange of e-mails between you and Ira Kleiman?
       12               A.        I recognise some of the parts.
       13    I had sent a bond villains e-mail.               What I did not
       14    recognise at the time was the "sent from my HTC",
       15    so although I had forwarded information to Ira
       16    I did not notice where, basically, part of this
       17    e-mail was wrong.
       18               Q.        Which part of this e-mail is right
       19    and which part is wrong?            Do you want me to go to
       20    the beginning of the chain so you can show that to
       21    me?
       22               A.        Yes.
       23               Q.        It looks like that is e-mail number
       24    one.    On February 20, 2014 at 12.54 a.m., Craig S.
       25    Wright wrote:        "Just some e-mails from Dave".             Is
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        1    this a real e-mail you sent?
        2               A.        I instructed e-mails to be sent, so
        3    that is quite possible.           You are saying that I
        4    sent.     If I instructed, then it is sent.
        5               Q.        Either you sent or you instructed
        6    this e-mail to be sent to Ira, is that accurate?
        7               A.        The one below, yes.
        8                         MR. RIVERO:      I am following on the
        9    screen so we can proceed, but in the Dropbox this
       10    exhibit I can only see the first page, just so you
       11    are aware.      Keep going, but I cannot follow on the
       12    screen.
       13                         MR. FREEDMAN:       Maybe if you
       14    download the document it might help.
       15                         MR. RIVERO:      Keep going.
       16    BY MR. FREEDMAN:
       17               Q.        Dr. Wright, the next e-mail in this
       18    chain appears to be from Ira on Saturday 1st March
       19    2014 at 12.53 p.m.          Do you recognise this as an
       20    e-mail you received from Ira Kleiman?
       21               A.        Yes, I do.
       22               Q.        Do you see here it says "GICSR
       23    Trust in Belize"?
       24               A.        Yes.
       25               Q.        Was Dave affiliated with the GICSR
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                                                                          Page 98
        1    Trust in Belize?
        2               A.        No.     What you will notice there is
        3    Ira stating that.           I did not say that Dave was
        4    associated with any trust in Belize called GICSR.
        5               Q.        The next e-mail appears to be on
        6    Friday 3, February 28th 2014, from Craig S.
        7    Wright.     Do you recognise that e-mail as an e-mail
        8    that you either sent or authorised to be sent?
        9               A.        Yes.
       10               Q.        Then the next e-mail is from Ira on
       11    sat March 4, 2014 at 9.23 a.m.              Do you recognise
       12    that as an e-mail you received from Ira?
       13               A.        No.
       14               Q.        The next e-mail is an e-mail from
       15    Ira to Craig on Sunday, March 2nd 2014 at 6.42.
       16    Do you recognise that as an e-mail that you
       17    received from Ira?
       18               A.        No.
       19               Q.        The next e-mail is an e-mail from
       20    Craig S. Wright to Ira on Saturday March 4, 2014
       21    at 3 o'clock p.m.; do you recognise that as an
       22    e-mail you sent or authorised to be sent to Ira?
       23               A.        No.     Again it is sent from my HTC,
       24    which is not my HTC.           It says "my HTC".
       25               Q.        Dr. Wright, do you recall that at
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        1    your last deposition I asked you to read Ira's
        2    e-mail from March 2, 2014?
        3               A.        Yes.
        4               Q.        Do you recall that?         Do you recall
        5    that I also asked the following -- you to read
        6    your response on March 4, 2014 at 3 o'clock p.m.,
        7    that says "around that minus what was needed for
        8    the company's use"?
        9               A.        You had asked me about these things
       10    at the time.       What I recollect was that the first
       11    e-mails I sent I had no recollection.                I did not
       12    think about the fact that there are other parts in
       13    here, "sent from my HTC".            So, effectively
       14    I looked at the first part of the e-mails there
       15    where I had actually communicated with Ira and
       16    I was not at that time believing that Ira could be
       17    involved in fraudulently altering documents for
       18    people.
       19               Q.        In April 2019 you believed this was
       20    a real e-mail from you to Ira.              You have
       21    subsequently come to realise it is not; is that
       22    accurate?
       23               A.        No, I had not thought about the
       24    first part of the e-mail.            I was thinking about
       25    the other part that I had sent.              There are e-mails
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                                                                         Page 100
         1    in this correspondence thread that are e-mails
         2    from me.
         3               Q.       Dr. Wright, at your last deposition
         4    I asked you the following question and you gave
         5    the following answer:          Question:      "Can you read
         6    above that?"       Your response:        "At March 1st, 2014
         7    at 3 p.m."      Answer:      "Mine.    Around that, minus
         8    what was needed for the company's use".                 Do you
         9    recall that?
       10                         MR. RIVERO:       Objection.
       11     Dr. Wright, please.          Objection.      Improper.
       12     Impeachment.       Go ahead, Dr. Wright.
       13                A.       Yes.
       14     BY MR. FREEDMAN:
       15                Q.       At your last deposition you used
       16     the word "mine" to refer to this e-mail, isn't
       17     that correct?
       18                         MR. RIVERO:       Objection.
       19                A.       The later part of the e-mail is
       20     mine.    What you are trying to say here is that I
       21     would recognise everything.            When I see a stream
       22     of e-mail communications that are supposedly mine
       23     and there is a small response, I didn't even think
       24     that someone would have compromised or otherwise
       25     altered machines.          I had not thought about that
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                                                                         Page 101
         1    until afterwards, until I thought about the HTC
         2    bit.     I have been using Samsung phones for a long
         3    time.     I rib my children and my wife about iPhone
         4    and I have been trying to convince them to use
         5    Samsung for a long, long time.             I did not actually
         6    pick up on that at first, I thought this must be
         7    something I sent.
         8               Q.       Dr. Wright, did Dave Kleiman have
         9    300,000 of the Bitcoin in the trust?
       10                A.       Dave never any had anything in the
       11     trust.     Dave never owned any property in any trust
       12     I have ever had.        The error you are making is in
       13     Bitcoin I purchased.          After 2011 I asked him to
       14     hold files.      Those files were not Bitcoin.              Keys
       15     are not the property in Bitcoin, contrary to what
       16     the people paying your client want people to
       17     believe so that government cannot stop them.                  The
       18     truth of the matter is, no, Mr. Kleiman has never
       19     had anything to do with any of my trusts, from an
       20     ownership or rights perspective, ever.                He never
       21     had anything to do with the companies that I set
       22     up overseas that were owned by those and he's
       23     never owned any Bitcoin that I've owned or
       24     purchased.
       25                Q.       Was there a trust set up to put
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                                                                         Page 102
         1    Bitcoin, that Dave was mining, into?
         2              A.        I have come to believe no now.
         3    I was told by Dave early on that he was doing a
         4    whole lot of things.          Dave Kleiman, between 2008
         5    and his death, had informed me that he was running
         6    machines.      Dave Kleiman had informed me that he
         7    was paying people.         I was worried at one stage
         8    because I'd found out that some of the money that
         9    I had given him ended up in Silk Road.                I was
       10     informed by Mr. Kleiman that, "Oh no, I am hiring
       11     people in Silk Road", and I was trusting and
       12     gullible enough to have believed him.                Since then
       13     I found out what actually happened, why he
       14     basically was about to be kicked out of his house,
       15     was all of that money that he had never went to
       16     running machines, he was incapable of running
       17     those machines, he exaggerated his position and
       18     effectively the cocaine and opiates and other
       19     things that he spent it on all basically went --
       20     instead of running computers, instead of
       21     developing code, instead of doing what he promised
       22     he was doing, went into drugs.
       23               Q.        Was there a trust in Panama set up
       24     as a funding mechanism for the research you and
       25     Dave were doing?
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                                                                         Page 103
         1              A.        Dave was not doing any research.
         2    Dave was not an academic.           Dave didn't even finish
         3    university.
         4              Q.        Did you ever tell the Australian
         5    Tax Office such a trust was set up?
         6                        MR. RIVERO:       Same objection as
         7    previously about reliance on such transcripts.                   Go
         8    ahead and answer.
         9    BY MR. FREEDMAN:
       10               Q.        We gave you a standing objection to
       11     that, so you don't have to do that.
       12                         MR. RIVERO:       I'm just establishing
       13     my record.      Please go ahead.
       14               A.        Again, those transcripts were not
       15     even remotely accurate.
       16     BY MR. FREEDMAN:
       17               Q.        I did not mention the transcripts.
       18     I just said did you tell the Australian Tax Office
       19     such a trust was set up?
       20               A.        No, I did not say that there was a
       21     trust with Dave.        The tax office knew about all of
       22     my trusts, going back until 1996.              Craig Wright
       23     R&D was originally mentioned in an Australian
       24     court case in 2003 and all of those things were
       25     set up with their reciprocal Australian domiciled
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                                                                         Page 104
         1    trust entity.       At no point was Dave Kleiman ever
         2    mentioned, whereas I listed all the beneficiaries,
         3    paid all the tax and recorded all the
         4    documentation for each of these entities, so there
         5    is not a Mr. Dave Kleiman as associated with any
         6    of them.
         7    BY MR. FREEDMAN:
         8               Q.       Did you ever mine Bitcoin into a
         9    Panama trust?
       10                A.       No, I did not mine Bitcoin into a
       11     Panama trust.
       12                Q.       Dr. Wright is this the same trust
       13     -- strike that question.           Dr. Wright, did you and
       14     Dave ever put assets into the same trust?
       15                A.       Dave has never had anything to do
       16     with any assets that I have owned, other than
       17     Coin-Exch.      The only company that Dave ever had
       18     shares for was Coin-Exch and that only occurred
       19     because I honoured a promise even though it turns
       20     out that the person I thought Dave was was
       21     different and that he never completed any task nor
       22     had anything that he promised to do.
       23     Unfortunately, Mr. Kleiman committed suicide four
       24     days before he would be required to put his
       25     Bitcoin that he promised he had into a company
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                                                                         Page 105
         1    I had founded, but he was never associated with
         2    any trust I was involved with.
         3                        My trusts are family trusts, they
         4    don't involve anyone outside of my family.                  They
         5    don't involve friends, they don't involve
         6    co-workers and they don't involve anything else.
         7    At no point have any of my trusts mined Bitcoin.
         8    My trusts hold shares in companies that mined
         9    Bitcoin.     I have simplified this for people
       10     because it becomes difficult at times and they
       11     roll their eyes at me when I explain it.
       12                         I have a trust and that trust owns
       13     shares.     The shares are in a company.             The company
       14     is owned not in the past by multiple people.
       15     Those company records are all filed.               The taxes
       16     are paid, the employees are paid.              Then those
       17     companies act.       When I say I am mining Bitcoin and
       18     I have a staff member, an employee who is under a
       19     contract working for me, then I am mining Bitcoin.
       20     When someone runs a machine under my direction,
       21     I am mining Bitcoin.          When I say I am mining
       22     Bitcoin I mean that the trust that I founded runs
       23     a company that employs people that do an employed
       24     role to mine Bitcoin into the company, making the
       25     shares more valuable.          By the shares being more
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                                                                         Page 106
         1    valuable, increase the value in my trust.
         2              Q.        Dr. Wright, was there ever a trust
         3    where the assets were sourced from you and Dave?
         4              A.        No, there were no assets that Dave
         5    ever owned in any of my trusts.              The error that
         6    people keep making is thinking that any keys or
         7    files are assets.         Bitcoin keys are not assets.
         8    Bitcoin keys don't even store Bitcoin.                That is a
         9    misrepresentation by a number of criminals who
       10     seek to have law enforcement believe that Bitcoin
       11     operates and is like account based, and not a UTXO
       12     based system.       If you actually recognise it, it is
       13     the equivalent of bags of rice; we're holding a
       14     number of tokens.         Each of those tokens is what
       15     makes up Bitcoin.         Each is individual, indivisible
       16     and can be moved between each of the bags, but the
       17     bags are not the keys.
       18                         MR. FREEDMAN:        Mr. Rivero, I would
       19     ask you to please ask your client to limit his
       20     answer to the question posed.             If you don't and he
       21     does not, we are going to end up back in the front
       22     of the court for more time for this deposition.
       23                         MR. RIVERO:       Please just ask your
       24     next question.
       25     BY MR. FREEDMAN:
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                                                                         Page 107
         1              Q.        Did you ever tell the Australian
         2    Tax Office that there was a trust where the assets
         3    were sourced from you and Dave?
         4              A.        No, that is not what I told the
         5    Australian Tax Office.          The Australian Tax Office
         6    kept trying to make up that story.               My comment to
         7    them was I have a trust, that trust has shares,
         8    those shares are the company that I set up in
         9    Australia that the tax office knew about.                 I said
       10     I wanted to work with Dave.            I wanted to set up a
       11     new company in 2011 after I'd started mining.
       12               Q.        Dr. Wright, did you have a trust
       13     that held Bitcoin which funded seven or eight
       14     entities that you controlled via a loan?
       15               A.        I did not control anyone via a
       16     loan.    You don't control things via loans.
       17               Q.        Let me rephrase the question.             Dr.
       18     Wright, did you have a trust that held Bitcoin
       19     which, via a loan, funded seven or eight entities
       20     that you controlled?
       21               A.        I had loans used as capitalisation
       22     of rights, and those loans were associated with a
       23     trust through a company.
       24               Q.        How did the Bitcoin get into that
       25     trust?
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                                                                         Page 108
         1              A.        The Bitcoin was in a company.
         2              Q.        Who gave you the loan?
         3              A.        No one gave me the loan.            I don't
         4    have a loan.
         5              Q.        Did you have a trust that held
         6    Bitcoin which funded entities that you controlled?
         7                        MR. RIVERO:       Objection.      Asked and
         8    answered.      Answer again, Dr. Wright.
         9              A.        I believe, and it might add a
       10     little bit of clarity for you here, when you see
       11     something -- Craig Wright R&D, Craig S. Wright ABN
       12     number etc., you are not saying Craig Wright you
       13     are seeing an organisation.            Any time that you see
       14     Craig Wright R&D or Craig Wright with an ABN
       15     number, an Australian Business Number, then any of
       16     those sorts of entities are not me personally.
       17     When I note them -- unfortunately, I have been
       18     banned from ever naming anything ever again
       19     because I have this habit of naming things the
       20     same thing or my name or whatever else, so there
       21     are many multiple entities -- companies and
       22     businesses -- called Craig Wright, Craig Wright
       23     R&D and whatever else, but none of those are
       24     listed in any contract as Craig Wright.                 They are
       25     Craig Wright ABN number, Craig Wright other
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                                                                         Page 109
         1    number.     When there is an individual contract --
         2    in person contract for myself, that will either
         3    have my tax file number or other identifying
         4    aspects.
         5                        MR. RIVERO:       Dr. Wright, although
         6    I think you have clarified the record, perhaps for
         7    the questioner that was not actually the question.
         8    Let's try to answer the question.
         9    BY MR. FREEDMAN:
       10                Q.       Dr. Wright, would it be accurate to
       11     say that Craig Wright R&D is really just a
       12     business name associated with you individually?
       13                         MR. RIVERO:       Object to the form.
       14                A.       No, that would not be right.
       15     BY MR. FREEDMAN:
       16                Q.       Have you ever said that to anyone?
       17                A.       In early periods of when I set that
       18     up in 1996 that was correct.
       19                Q.       Did you ever have a trust that held
       20     ----
       21                         MR. RIVERO:       Something happened to
       22     the audio.      I could not hear the question.              I do
       23     not think it is on the record.
       24                         MR. FREEDMAN:        Can you hear me now?
       25                         MR. RIVERO:       Yes.
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                                                                         Page 110
         1               A.        I have ----
         2                         MR. RIVERO:      There is no pending
         3    question, not a question that I could understand.
         4    BY MR. FREEDMAN:
         5               Q.        Did you have a trust that held
         6    Bitcoin?
         7               A.        I have never held a trust that
         8    holds Bitcoin.        I have founded a trust, which I am
         9    no longer a trustee of, that holds shares, and
       10     those shares are in companies that own Bitcoin.
       11                Q.        Did those companies ever fund other
       12     companies with that Bitcoin?
       13                A.        That becomes difficult to go into
       14     because now we are talking about multiple
       15     companies and whatever else.             If you are talking
       16     about Wright International Investments, then no.
       17     Wright International Investments holds Bitcoin
       18     that I mined between 2009 and August 2010.                  The
       19     rights to all of that Bitcoin reside in that
       20     company.        That company has never done anything
       21     with its Bitcoin; they have not moved, they have
       22     not transacted, they have not done anything.                  The
       23     only uses of any Bitcoin associated with Wrights
       24     International Investment were effectively donated
       25     to people like Hal Finney and Mike Hearn, back
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                                                                         Page 111
         1    when Bitcoin had zero value, effectively, and a
         2    couple of other transactions to try to get people
         3    to understand how Bitcoin worked.              So, they were
         4    zero value transactions that were never recorded.
         5                         The other company is Tulip Trading
         6    Limited.        Tulip Trading Limited is a company that
         7    holds Bitcoin I purchased in various times in
         8    2011, and those purchased Bitcoin have been used
         9    in the funding of companies.
       10                Q.        Did you actually transfer the
       11     Bitcoin to funds those companies -- strike that.
       12     Did Tulip Trading actually transfer the Bitcoin to
       13     fund those companies or did it assign rights to
       14     the Bitcoin to fund those companies?
       15                          MR. RIVERO:      Objection.      I object
       16     to the form of the question, based on the previous
       17     testimony.        I just want to say, in response to a
       18     prior comment, that I think this series of
       19     questions and answers shows the difference between
       20     evasive and lengthy answers and questions that
       21     misapprehend the stated facts, which in fact have
       22     been answered properly in the way that explains
       23     the situation.        Go ahead and answer if you can.
       24                          MR. FREEDMAN:       Hold on.     I am going
       25     to respond to that.         The record will reflect what
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                                                                         Page 112
         1    it reflects, Mr. Rivero.           So we have a clear
         2    record I am going to read back that question.
         3    Dr. Wright, did Tulip Trading actually transfer
         4    the Bitcoin to fund those companies or did it
         5    assign rights to the Bitcoin to fund those
         6    companies?
         7                        MR. RIVERO:       Same objection.
         8              A.        Both.
         9    BY MR. FREEDMAN:
       10               Q.        Was Panopticrypt ever the guarantor
       11     of a Seychelles trust?
       12               A.        No.
       13               Q.        Did you ever tell that to the
       14     Australian Tax Office?
       15               A.        No.
       16               Q.        Was Panopticrypt meant to be there
       17     for Dave?
       18               A.        No, Panopticrypt had nothing to do
       19     with Dave.      Panopticrypt was set up between myself
       20     and Ramona, as I had started living with my now
       21     wife and working with her.            I set up a company
       22     with her.      It never had any ownership or rights to
       23     do with any other person.           The complete company
       24     records reflect that.
       25               Q.        Dr. Wright, do you recall reaching
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                                                                         Page 113
         1    out in 2014 to Patrick Paige about Dave's
         2    involvement in Bitcoin?
         3                        MR. RIVERO:       Object to form.
         4              A.        I don't remember the exact date
         5    but, yes, I do.
         6    BY MR. FREEDMAN:
  H      7              Q.        Did Patrick ask you about a list of
                                                                   o
         8    Dave's accounts?
         9              A.        He was searching for various
       10     information.       I believe at one stage he had said
       11     "accounts", which is not technically correct.
       12     There are no accounts with Bitcoin unless you are
       13     talking about an exchange, and I have no knowledge
                                                       knowledg e
       14     of any involvement Dave might have had with
       15     exchanges.

   H   16               Q.        Do you recall, after he asked you
       17     about accounts, that you responded with a list of
       18     items?
       19               A.        Yes, I did.
       20               Q.        And one of those items was W&K?
       21               A.        I asked him to search for W&K
       22     because if there were corporate records then -- if
       23     Dave had maintained records correctly, as he is
       24     required to by law, then there should be records
       25     of any Bitcoin addresses Dave would have owned.
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                                                                         Page 114
 H       1              Q.        Dr. Wright, I am going to share
         2    with you what you produced in this litigation
         3    DEFAUS 112977.       Do you recognise this as a
         4    printout of e-mails between you and Patrick Paige?
         5             (Exhibit DEFAUS 112977 referred to)
         6              A.        I recognise this but I did not --
         7    this was produced by my lawyers from an Australian
         8    company capture so, no, I didn't produce it.
         9              Q.        Do you see here, on the bottom of
       10     the Bates label 11297 -- the top of 112978 the
       11     e-mail from Patrick Paige to Craig Wright on
       12     Monday 17the February 2014 at 1.01 a.m.?
       13               A.        Yes.
       14               Q.        Do you see Patrick asked you:
       15     "What about accounts and location DK had" etc,
       16     "DK" being Dave Kleiman.           "I thought you were
       17     going to put a list together".             Do you see that?
       18               A.        Yes.    I did not realise how little
       19     knowledge Patrick Paige had of Bitcoin.
       20     Unfortunately, I over-assume the amount of
       21     knowledge people have.          There are not accounts in
       22     Bitcoin, but I did not realise -- I keep thinking
       23     that people understand my invention.               They don't.
       24               Q.        Is this a real e-mail you received
       25     from Patrick Paige, Dr. Wright?
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                                                                         Page 115
 H       1              A.        That looks correct, yes.
         2              Q.        Then on February 16, 2014 at 3.41
         3    p.m. you responded; do you see that?
         4              A.        I did.
         5              Q.        Was that actually your response?
         6    Did you send that?
         7              A.        Yes, I sent such a response.
         8              Q.        You said:      "I do not have a lot to
         9    give you.      These may help:        W&K Info Defense LLC
       10     and then GICSR Trust".          Do you see that?
       11               A.        Yes.
       12               Q.        Was Dave a beneficiary of the GICSR
       13     Trust?
       14               A.        No, Dave was not involved with
       15     GICSR at all.       GICSR is an organisation set up to
       16     instruct and fund law enforcement globally.                  If
       17     you look at the original website etc, what was
       18     involved was a combination of NASA, Department of
       19     Homeland Security and the NSA.             Basically, my role
       20     in the Asia Pacific area was to teach and instruct
       21     governments and law enforcement, which I did.
       22     I had tried to teach them forensics and the
       23     interception of illegal money laundering
       24     activities.      The GICSR Trust noted there was
       25     because at one stage I had sent Bitcoin to Dave.
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                                                                         Page 116
         1    It is not that he was a beneficiary.               I have
         2    funded Dave in the past, I paid him money to do
         3    certain jobs if he had any records that he had
         4    kept, which I discovered later that he did not,
         5    then he would have been able to link that to the
         6    payments he was receiving from me to do work.
  H      7               Q.       Dr. Wright do you see above that at
                                                                   at
         8    the top of the page is an e-mail from Craig Wright
                                                          Wrigh t
         9    to Patrick Paige at 12:33:11 p.m.?
       10                A.       Yes, I do.
       11                Q.       Is that an actual e-mail you sent
       12     to Patrick Paige?
       13                A.       That looks correct, yes.
       14                Q.       Dr. Wright you resigned from GICSR
       15     -- strike that.        Dr. Wright you tendered your
       16     resignation to GICSR in February 2012, is that
       17     correct?
       18                A.       I don't remember when I did.             The
       19     organisation was moved over to a new organisation.
       20     The same people kept going so, basically, I kept
       21     funding the same activities that I was doing in
       22     the new organisation.
       23                Q.       Dr. Wright have you ever told the
       24     ATO, after Dave's death, that the matter of your
       25     funding was to remain of the upmost secrecy?
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                                                                         Page 117
         1                        MR. RIVERO:       Objection.      Same
         2    objection.
         3              A.        That is not what I told the ATO,
         4    no.
         5    BY MR. FREEDMAN:
         6              Q.        Have you ever told the ATO that the
         7    funding is in cash and Bitcoin?
         8              A.        That is not what I told the ATO,
         9    no.
 R     10               Q.        Were you ever part of a group that
       11     controlled 5% of the global Bitcoin market?
       12               A.        There is no group.         There are
       13     organisations that I am involved with that at one
       14     stage would have controlled that amount.

  H    15               Q.        Dr. Wright, I am going to share
       16     with you what you have produced in this litigation
       17     as Defense 46093.         Do you recognise this as the
       18     printout of an e-mail between you, Mark Italia at
       19     the ATO with a cc to Ms. Watts and other
       20     individuals?
       21               (Exhibit Defense 46093 referred to)
       22               A.        It looks familiar.
       23               Q.        Did you send this e-mail?
       24               A.        Again, it looks familiar.            I am not
       25     sure what the from is, so I cannot say.
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                                                                         Page 118

   H     1              Q.        Do you see, on the sixth line down
                                                                dow n
         2    from the top it says:          "Our funding comes as we
         3    are the group that controls 5% of the global
         4    Bitcoin market"?
         5              A.        Yes.
         6              Q.        Who is the group?
         7              A.        The group here was the companies
         8    that I was operating.          So at this point, if we are
         9    looking at October 2013, then it was Hotwire in
       10     Australia, Wright Family Trust in Australia,
       11     Panopticrypt in Australia, a number of other
       12     companies subsidiary to those, and overseas
       13     entities that were basically acting as the
       14     controlling entities for the Australian entities.
       15               Q.        Dr. Wright it is true you knew Dave
       16     had at least 300,000 Bitcoin, right?
       17                         MR. RIVERO:       Object to form.
       18               A.        No, that is not true.
       19     BY MR. FREEDMAN:
       20               Q.        Dr. Wright, did Dave Kleiman ever
       21     tell you that he had at least 300,000 Bitcoin?
       22               A.        Yes, Dave Kleiman told me that he
       23     had 300,000 Bitcoin.

  H    24               Q.
                         .        Dr. Wright, I am going to share
       25     with you what has been produced in this litigation
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                                                                          Page 119
  H      1    as Defense 41.        Do you recognise this as the
         2    printout of an e-mail chain between you and Dave
         3    Kleiman?
         4               (Exhibit Defense 41 referred to)
         5               A.        Unfortunately it is too small.
         6    I cannot recall it.
         7               Q.        Let me zoom in for you.
         8               A.        Thank you.
         9               Q.        How is that?
       10                A.        Yes, this is familiar.          Yes.
       11                Q.        I want to go down to the bottom of
       12     this e-mail chain.          Do you recognise the last
       13     e-mail on the page from Dave Kleiman to Craig
       14     Wright on 7th September 2012 as a real e-mail from
       15     Dave to you?
       16                A.        Yes.
       17                Q.        Is it signed with Dave's PGP key?
       18                A.        I cannot verify that, but I believe
       19     this e-mail was signed by his PGP key.                I cannot
       20     look at a PGP signature and, unfortunately, I am
       21     not a computer, I cannot validate it.

  H
       22                Q.        The last paragraph of this e-mail
       23     it says:        "It is confirmed that I have B" --
       24     I take it that was Bitcoin -- "320,832.1 and
       25     change"?
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                                                                         Page 120
   H     1               A.       I cannot assume that is Bitcoin.
         2    It could be Thai baht.
         3               Q.       Did you have any reason to suspect
         4    Dave Kleiman was involved in the currency from
         5    Thailand?
         6               A.       Now I would, yes.
         7               Q.       Why was he involved in Thailand?
         8               A.       Because Dave had a lot of
         9    interaction with people in Silk Road and the 2IC
       10     was involved in the Silk Road from Bangkok.
       11     Variety Jones was arrested and charged not that
       12     long ago when he tried to move some of the Silk
       13     Road money in Bangkok, and a lot of the operations
       14     to do with Silk Road happened to do with the drug
       15     things in Bangkok.
       16                Q.       Dr. Wright, I am going to go back
       17     up to the e-mail we have been looking at.                 Do you
       18     see the e-mail from Craig Wright to Dave Kleiman
       19     on 8th January 2013?
       20                A.       Yes.
       21                Q.       Did you send that e-mail to Dave
       22     Kleiman?
       23                A.       It looks familiar.
  H    24                Q.       Going to go up again.          Do you
                                                                    yo u this
       25     e-mail from Dave Kleiman to Craig Wright on
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                                                                         Page 121
  H      1    Tuesday January 8th, 2013 at 11.48 p.m.?
         2              A.        Gain, it looks familiar.
         3              Q.        That looks like a real e-mail that
         4    Dave Kleiman sent to you?
         5              A.        Yes, it looks familiar.
         6              Q.        The e-mail above that, from Craig
         7    to Dave on January 8th 2013 at 11.57, does that
         8    look like an e-mail you actually sent to Dave?
         9              A.        It could have been.
       10               Q.        On top of that there is an e-mail
       11     from Dave to Craig on January 15the, 2013; is that
       12     an e-mail you received from Dave?
       13               A.        It looks right.
       14               Q.        Then, on top of that, an e-mail
       15     from Craig to Craig on January 15th, 2013; is that
       16     an e-mail you sent to yourself?
       17               A.        I don't know.        I could have
       18     forwarded an e-mail to myself.
       19               Q.        Dave responds to the e-mail you
       20     sent to yourself on January 16th, 2013.                 Does that
       21     look like an e-mail that Dave sent to you?
       22                         MR. RIVERO:       Before you answer,
       23     Mr. Freedman let me note for the record I don't
       24     know what that is.         It appears like it could be a
       25     Post-it and I don't know if that is in the
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                                                                         Page 122
         1    original document, or it could have been something
         2    in a production process.           I will note that for the
         3    record.     Go ahead and answer, Dr. Wright.
         4               A.       I don't know, so I don't know if
         5    this is things tacked together on that or whether
         6    I bcc'd him or whatever else.             Yes, what I have
         7    discovered after that was I was dumb enough to
         8    believe that Mr. Kleiman did not use drugs and did
         9    not do a whole lot of things that he did in his
       10     life.     I had no idea that Dave was not hiring
       11     people off Silk Road.          I was too ignorant and
       12     I actually thought otherwise.
       13     BY MR. FREEDMAN:
  H    14                Q.       Dr. Wright, I was just asking if
       15     this is an e-mail between you -- that you received
                                                        receive d
       16     from Dave Kleiman.         I'm not asking about the
       17     contents at this time.
       18                A.       I cannot verify it by looking at
       19     it, other than it looks familiar.
       20                Q.       Thank you.      Dr. Wright, regardless
       21     of this e-mail, you previously testified that Dave
       22     told you he had over 300,000 Bitcoin, correct?
       23                A.       Dave had told me he had 300,000
       24     Bitcoin and I believed him at the time,
       25     unfortunately.
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                                                                         Page 123
         1              Q.        Were you aware that Dave kept his
         2    Bitcoin mining a secret?
         3              A.        Actually, I don't believe Dave ever
         4    Bitcoin mined.
         5              Q.        At the time did you believe that
         6    Dave Kleiman kept his Bitcoin money a secret?
         7              A.        I believe that Dave was running
         8    machines.      I don't believe he kept it secret.
         9              Q.        Did Dave tell you that he told
       10     anyone about his Bitcoin mining?
       11               A.        Dave hardly ever told me anything.
       12     It was mainly a one-way street where he listened
       13     to me and responded.

  S    14               Q.        So there was a possibility that
       15     Dave did -- strike that.           Just like Dave didn't
       16     tell you anything, it was possible that he did not
                                                             not
       17     tell anyone else about his Bitcoin mining; is that
                                                            th at
       18     accurate?
       19                         MR. RIVERO:       Object to form.
       20               A.        I don't know what Dave would have
       21     told other people.
       22     BY MR. FREEDMAN:
       23               Q.        Dr. Wright you knew Dave died in
       24
       2 4    April 2013, correct?
       25               A.        I know Dave committed suicide at
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                                                                         Page 124
         1    that time, yes.
         2               Q.       The first time you had anyone reach
         3    out to the Kleiman family was in February 2014,
         4    correct?
         5               A.       No.
         6               Q.       When was the first time you had
         7    somebody reach out to the Kleiman family?
         8               A.       I was trying to get hold and find
         9    where the Kleiman family were for quite some time
       10     before that.
       11                Q.       How much time?
       12                A.       From about May of the year before.
       13                Q.       So from May of 2013 you began
       14     trying to get in contact with the Kleiman family?
       15                A.       Yes.
       16                Q.       It took you ten months to finally
       17     contact the Kleiman family in February 2014; is
       18     that accurate?
       19                A.       The entire thing I was doing was
       20     not just searching for the Kleiman family.                  No, it
       21     was not me who found them.            I was given his
       22     address by someone who worked for me.
       23                Q.       Was there a trustee for a
       24     substantive trust that you were not allowed to get
       25     until 2015?
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                                                                         Page 125
         1                        MR. RIVERO:       Object to form.
         2              A.        2015?     Not that I know of.
         3    BY MR. FREEDMAN:
         4              Q.        Did you make Dave Kleiman create
         5    such a trust deed?
         6              A.        Dave Kleiman is not a lawyer and
         7    Dave Kleiman did not ever create a trust deed for
         8    me.
         9              Q.        Did you make Dave Kleiman
        10    effectuate -- strike that.            Did you ever tell the
        11    Australian Tax Office that you created such a
        12    trust deed?
        13              A.        No, I did not create such a trust
        14    deed.
  H-R   15              Q.        Dr. Wright, I am going to share
        16    with you what has been produced in this litigation
        17    as Defense 45457.         Let me know if you see that on
        18    the screen.
        19              (Exhibit Defense 45457 referred to)
        20              A.        If you could go in a little bit.
        21              Q.        Zoom in?
        22              A.        Yes, please.
        23              Q.        Okay.     Hold on.
        24              A.        Yes, I can see this.
        25              Q.        Do you recognise this as a printout
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                                                                         Page 126
 H-R     1    of an e-mail you sent to Mark Italia at the
         2    Australian Tax Office, with a cc to other
         3    individuals including Ms. Watts, your wife?
         4              A.        It looks like one that I instructed
         5    to be sent.
         6                        MR. RIVERO:       I object to everything
         7    to do with the ATO to the extent that I haven't
         8    previously stated.         Go ahead.
         9    BY MR. FREEDMAN:
 H-R   10               Q.        Dr. Wright, you will notice that
       11     there are two pages ending in Defense 45458 and
       12     there were attachments to this e-mail, as you can
       13     see here.      I am going to load up what was produced
       14     as one of the attachments to this e-mail, which is
       15     Defense 45461.       Can you see that on your screen?
       16             (Exhibit Defense 45461 referred to)
       17               A.        Yes.
       18               Q.        Do you recognise this declaration?
       19               A.        Yes, but it has some errors in it.
       20               Q.        What are the errors in this
       21     declaration?
       22               A.        The HTC phone used was not actually
       23     mine.
       24               Q.        What other errors are in it?
       25               A.        "Bitcoin wallet addresses" is not
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                                                                         Page 127
         1    correct, but I did not correct that.               It should
 H-R
         2    just be "Bitcoin address in a wallet" or
         3    something, but trying to explain that ----
         4              Q.        Okay.     Any other errors?
         5              A.        No.
         6              Q.        Is this an authentic document?
         7              A.        It relates to an authentic
         8    document, yes.
  H      9              Q.        I am not sure what means.            Is this
       10     an authentic document?
       11               A.        That is a scan of an authentic
       12     document.
       13               Q.        Are the statements in this document
                                                             documen t
       14     true, besides from the errors that you have
       15     corrected?
       16               A.        Besides from the errors, yes.
       17               Q.        So you came to Mr. D'Emilio's
       18     office on 11th October 2013, right?
       19               A.        Yes.
       20               Q.        You showed him a HTC mobile phone
       21     that was not yours, is that right?
       22               A.        Yes.
       23               Q.        You showed him the addresses listed
       24     in paragraph 3; is that correct?
       25               A.        I would have to look at the
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                                                                         Page 128
         1    addresses, but I am assuming that this is the
         2    correct one that he demonstrated.
         3              Q.        Did you review this before he
         4    signed it?
         5              A.        We reviewed it.        I missed a couple
         6    of points on there, as I just noted, but I cannot
         7    tell you from memory which Bitcoin addresses will
         8    or will not be correct.
         9              Q.         Did you control the Bitcoin in all
       10     the addresses you showed Mr. D'Emilio?
       11               A.        He tested number 3 and one of the
       12     other ones and demonstrated that I had full
       13     control over those two addresses.
       14               Q.        I am asking you, Dr. Wright, could
       15     you make transactions with those Bitcoin
       16     addresses?
       17               A.        I would have been able to make a
       18     transaction and send it to the network, not just
       19     sign a message for him.
       20               Q.        How did you obtain these Bitcoins
       21     -- strike that.        I will make that question a
       22     little more precise.          How did you obtain control
       23     over the -- strike that.           How did you obtain
       24     control over these Bitcoin addresses?
       25               A.        You don't actually control a
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                                                                         Page 129
         1    Bitcoin address.        You control private keys, if
         2    that is what you are asking.             The control ----
         3              Q.        That is a great correction.             Just
         4    so we have a clear record, let me just rephrase
         5    the question.       How did you obtain the private keys
         6    to these Bitcoin addresses?
         7              A.        They were purchased through a
         8    Russian exchange, I think it was W&KIR, for money
         9    through Liberty Reserve.
       10               Q.        And were these Bitcoin addresses
       11     that ended up in Tulip Trading?
       12               A.        Yes.
       13               Q.        Dr. Wright, before we leave this
       14     document, I want to ask whose HTC mobile did you
       15     take with you to Mr. D'Emilio's office?
       16               A.        That was one of the staff members.
       17     I am trying to remember the name.              It could have
       18     been Roberts.       I had set things up on ----
       19               Q.        It was an employee's phone, is that
       20     fair?
       21               A.        Yes.    We were creating a wallet
       22     with what we called Coin and we had a version of
       23     wallet software running.           Sorry, I cannot remember
       24     his last name at the moment.             It starts with U.
       25               Q.        Robert Urquhart?
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                                                                         Page 130
         1              A.        Yes, I think it was his.
         2              Q.        Why did you take a staff member's
         3    phone number and not use your own?
         4              A.        It wasn't a phone number.
         5              Q.        Why did you take a staff member's
         6    phone and not your own?
         7              A.        Because we were developing an app
         8    and it was basically a company phone that was
         9    being used for the development of -- well, C01N
       10     had a wallet.       The wallet was going to be similar
       11     to something like HandCash or Sent B we have now,
       12     where you have a simplified phone web-based
       13     application allowing you to spend and receive
       14     Bitcoin online.
       15               Q.        You recognise, Dr. Wright, at the
       16     time you signed this declaration there was a
       17     significant amount of Bitcoin in these addresses?
       18               A.        Yes, I do.
       19               Q.        You put access to that significant
       20     amount of capital on to an employee's cell phone?
       21               A.        This was actually by employees.              It
       22     was in the company so there was a company thing
       23     doing -- where I said we are developing an
       24     application we are testing an application, so yes.
       25     What you seem to think though is owning the
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                                                                         Page 131
         1    private key is the only part that makes you own
         2    Bitcoin, which is not correct at all.                You own
         3    Bitcoin because you have rights ----
         4               Q.       I did not ask you ----
         5               A.       Actually, you did.         You are asking
         6    me why I did that, that I did it and whatever
         7    else.
         8               Q.       Dr. Wright, I want to go back to
         9    the statement that these Bitcoin ended up in Tulip
       10     Trading.
       11                A.       Yes.
       12                Q.       At your previous depositions you
       13     have told us that you had a law firm in Panama
       14     called HighSecured that managed this Bitcoin for
       15     you; is that accurate?
       16                A.       At a later date, yes.
       17                Q.       You told us that HighSecured
       18     managed between 600-750,000 Bitcoin; is that
       19     accurate?
       20                         MR. RIVERO:       Object to form.
       21                A.       I would need to see the accounts,
       22     but somewhere around that amount at one stage,
       23     only at the beginning.
       24     BY MR. FREEDMAN:
       25                Q.       Then you said at your previous --
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                                                                         Page 132
         1    you testified previously that you ended up
         2    spending all but a little over 100,000 of that
         3    Bitcoin in your various companies; is that
         4    accurate?
         5              A.        That is correct.
         6                        MR. RIVERO:       Object to the form.
         7    BY MR. FREEDMAN:
         8              Q.        And that Ritzela De Gracia from
         9    HighSecured was the woman who was managing those
       10     Bitcoin for you at HighSecured; is that accurate?
       11               A.        That was the final person.            There
       12     were other people.         I don't have the other names
       13     in front of me.
       14               Q.        And that she has fled and with her
       15     taken the balance of Bitcoin -- the little over
       16     100,000 Bitcoin with her; is that accurate?
       17                         MR. RIVERO:       Object to form.
       18               A.        She has taken some Bitcoin with
       19     her, yes.
       20     BY MR. FREEDMAN:
       21               Q.        Did she take the full 100,000 or so
       22     or did you get some of that back?
       23               A.        No, I didn't get that back.
       24               Q.        So far as you know, she disappeared
       25     with access to a little over 100,000 of your
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                                                                         Page 133
         1    Bitcoin; is that accurate?
         2               A.        I don't know the exact amount.
         3               Q.        But somewhere in the ball park of
         4    100,000?
         5               A.        It's not my Bitcoin.
         6               Q.        Tulip Trading's Bitcoin; is that
         7    accurate?
         8               A.        It belongs to different
         9    assignments, different companies, whatever else,
       10     so you would have to look through all the
       11     assignments in the corporate records to which bit
       12     owns where.        Different companies, different groups
       13     owns different amounts and still hold different
       14     amounts.        I believe the Singaporean company still
       15     has rights to a certain amount, but I am not sure
       16     without going through accounts what the exact
       17     amounts that are owed, not owed etc.               This is the
       18     purchased Bitcoin, not the mined Bitcoin, none of
       19     which ----
       20                Q.        I understand.
       21                A.        I don't know -- without the
       22     accounts I don't know the exact amounts.
       23                Q.        I just want to understand; when you
       24     say you spent the 700, all but -- strike that.
       25     When you say you spent all but about 100,000 of
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                                                                         Page 134
         1    the Bitcoin, do you actually mean transferred it
         2    across the blockchain or do you mean it was
         3    assigned out into various companies?
         4                        MR. RIVERO:       Object to form.
         5               A.       No.    When external transfers were
         6    done they were done by people moving Bitcoins, so
         7    assignments could be done but on external
         8    allocation all of the amounts would move.
         9    BY MR. FREEDMAN:
       10                Q.       If any of the Bitcoin that you
       11     purchased in Tulip Trading are still in the
       12     original wallets, is it fair to assume that
       13     Ritzela De Gracia has control over them?
       14                         MR. RIVERO:       Object to form.
       15                A.       No.
       16     BY MR. FREEDMAN:
       17                Q.       So, for example, I want to direct
       18     your attention back to one of the wallets that
       19     were in statutory declaration that we looked at.
       20     To the extent that one of those wallets has
       21     Bitcoin still inside of them, do you have control
       22     over those Bitcoin or does Ritzela De Gracia have
       23     control over that Bitcoin?
       24                A.       I don't have control over any of
       25     those Bitcoin.
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                                                                         Page 135
         1                        MR. RIVERO:       Object to the form.
         2    BY MR. FREEDMAN:
         3               Q.       As far as you are aware, Ritzela De
         4    Gracia was the last person who had control over
         5    it; is that accurate?
         6                        MR. RIVERO:       Object to the form.
         7               A.       That's not what I just said.             Which
         8    ----
         9                        THE COURT REPORTER:          I need to ask
       10     the witness to wait for the objection.
       11     BY MR. FREEDMAN:
       12                Q.       Did you have HighSecured manage the
       13     expenditure of the Bitcoin you just mentioned?
       14     Let me ask that better.           I understand it is not
       15     exact, but you told us between 600-750,000
       16     Bitcoin, so for the purposes of this conversation
       17     I am going to say approximately 700,000, which is
       18     the midway point on that range; do you understand
       19     that?
       20                A.       Yes.    Until January of this year
       21     I had no access to any accounts associated with
       22     Tulip Trading, so any amounts or particular
       23     addresses or whatever else I have been guessing
       24     at.     Until that time I was not able to give you
       25     any accurate answer, as I said, just to guess at
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                                                                         Page 136
         1    what things were.
         2              Q.        Do you now have access to all of
         3    the Bitcoin addresses in Tulip Trading?
         4              A.        Yes.
         5              Q.        Have you recovered that Bitcoin
         6    from Ritzela De Gracia?
         7              A.        No.
         8              Q.        So she still made away with -- let
         9    me break that down then.           How much Bitcoin is left
       10     in Tulip Trading?
       11               A.        I don't know exactly.
       12               Q.        Do you have the private keys to the
       13     Bitcoin that is controlled by Tulip Trading?
       14               A.        No.
       15               Q.        Does your trustee have the private
       16     keys to the Bitcoin controlled by Tulip Trading?
       17                         MR. RIVERO:       Object to form.
       18               A.        No.
       19     BY MR. FREEDMAN:
       20               Q.        Does anyone you know have the
       21     private keys -- strike that.             Do you know of
       22     anyone who has the private keys to the Bitcoin
       23     held by Tulip Trading?
       24               A.        Yes.
       25               Q.        Who?
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                                                                         Page 137
         1              A.        I don't know.
         2              Q.        I just asked if you knew anyone who
         3    had the private keys.
         4              A.        No, you said knew of.          That is a
         5    distinction.
         6              Q.        Okay.     Who do you know of who has
         7    the private keys?
         8              A.        There was a theft and that has been
         9    traced, by a tracing company, through exchanges
       10     that are associated, separate to those keys.
       11     There is a set of court orders now to track that.
       12     It went from Float to Oaky Exchange.               The people
       13     did not realise that Oaky and Float are the same
       14     exchange with the same back end.              We are seeking
       15     court orders at the moment to get the names of the
       16     people involved in that theft.
       17               Q.        How much Bitcoin is that?
       18               A.        Approximately 100,000.
       19               Q.        Is that the same 100,000 that
       20     Ritzela De Gracia has?
       21               A.        No.
       22                         MR. RIVERO:       Object to the form.
       23     BY MR. FREEDMAN:
       24               Q.        When you spent the Bitcoin that was
       25     held in Tulip Trading, how did you give
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                                                                         Page 138
         1    HighSecured instructions on how to spend it?
         2                         MR. RIVERO:      Object to form.
         3               A.        I had discussions with a Panamanian
         4    lawyer.     They went to other people in exchanges
         5    and moved Bitcoin.
         6    BY MR. FREEDMAN:
         7               Q.        Those discussions, were they
         8    telephonic or were they via e-mail?
         9               A.        Generally verbal, so a variety of
       10     different verbal means.
       11                Q.        Did you ever communicate with the
       12     HighSecured people via e-mail or other written
       13     medium to give them instructions on how to ----
       14                A.        Yes.
       15                Q.        Sorry, I will finish the question.
       16     Did you ever correspond with the individuals of
       17     HighSecured, via written medium, to give them
       18     instructions on how to spend the Bitcoin?
       19                A.        Not really on how to spend the
       20     Bitcoin.        We, basically, instructed our lawyers to
       21     conduct an assignment and transact.               It is not how
       22     to spend the Bitcoin per se.             The company spends
       23     the Bitcoin, or the rights to, and other people
       24     enact what they are told.
       25                Q.        These lawyers are lawyers of
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                                                                         Page 139
         1    HighSecured, correct?
         2              A.        They are lawyers associated with
         3    HighSecured.
         4              Q.        Do you have any receipts reflecting
         5    the expenditure of this approximately 700,000
         6    Bitcoin, or 600,000 Bitcoin?
         7              A.        I don't, but the companies do.
         8              Q.        Was Dave involved in the
         9    acquisition of the 750 Bitcoin into Tulip Trading?
       10               A.        No, Dave was never involved with
       11     any of that.       The acquisition was made using a
       12     Liberty Reserve account that was linked to me.                   It
       13     turns out I think I am the only person in Liberty
       14     Reserve's history who ever completed AML.
 H     15               Q.        Dr. Wright, I am going to share
       16     with you now what has been produced in this
       17     litigation as Defense 51010.             Do you recognise
       18     this invoice?
       19              (Exhibit Defense 51010 referred to)
       20               A.        Yes, it looks like an invoice.
       21               Q.        Do you recognise it?
       22               A.        I don't memorize the invoices, no
       23     but it looks familiar, yes.
       24               Q.        You swore this as authentic in your
       25     May 13th declaration; do you recall that?
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                                                                         Page 140
         1              A.        I have no reason to believe it is
         2    not the correct invoice at the moment.                I have not
         3    noticed anything that is out of place, but
         4    I cannot see all the fine print, I cannot check
         5    anything more.       It look is like the invoice.
   H     6              Q.        It appears to be authentically what
         7    you received from HighSecured?
         8              A.        Yes.
         9              Q.        Can I assume that before you swore
       10     it was authentic to the court you did conduct that
       11     he detailed analysis?
       12               A.        No.    When we had a document on the
       13     system that looked like that then I am going to,
       14     unless I can see anything wrong, say it is right.
       15     But what I have noticed in this litigation is a
       16     lot of things have been changed in my company
       17     files in the past, so sitting there and trying to
       18     remember whether it was 32 supplied or 36, or the
       19     exact price rate at the time, or anything like
       20     this, I am not able to do.

   H   21               Q.        Is it accurate to say you received
       22     something that looked like this from HighSecured
       23     and you are not at the moment able to check every
       24     single detail; is that accurate?
       25               A.        Yes.
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                                                                         Page 141
  H      1              Q.        Dr. Wright I am going to now share
         2    with you what has been produced in this litigation
         3    as Defense 51013.          Do you recognise this invoice?
         4             (Exhibit Defense 51013 referred to)
         5              A.        Can you zoom in, please?
         6              Q.        Yes.
         7              A.        It looks right.        Again, I don't
         8    remember the exact details.
         9              Q.        I am not trying to trick you.             This
       10     is again a copy of an invoice you swore was
       11     authentic in your May 13th declaration.
       12               A.        Yes.     We did have such an
       13     agreement.      It looks right, is the best I can say.
       14               Q.        Dr. Wright, I am going to share
       15     with you now what you have produced in this
       16     litigation as Defense 1588028.             Let me know if you
       17     can read that?
       18             (Exhibit Defense 1588028 referred to)
       19               A.        Zoom in one more time, please.
       20               Q.        How is that?
       21               A.        That looks about right.
       22               Q.        Is this authentically an e-mail you
       23     received from HighSecured that went to Andrew
       24     Sommer or either May 3rd or March 3rd, I am not
       25     sure because I don't know which it is.                2015,
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                                                                               Page 142
H-Inc. Desig.    1   let's say -- strike that.          Does this authentically
                 2   look like an e-mail that you received from
                 3   HighSecured that you received on 5/3/2015 at about
                 4   2.16am, with a cc to your wife and addressed
                 5   directly to Andrew Sommer?
                 6                      MR. RIVERO:       Object to the form.
           H
                 7             A.       It looks like a communication that
                 8   was being held between HighSecured and Andrew, in
                 9   negotiation of an agreement that Andrew Sommer was
                10   creating.      Andrew Sommer was in our office at the
                11   time, so if you could scroll back up for me
                12   please.     Yes, this looks like one that was
                13   received while we were in a meeting in the offices
                14   in New South Wales.
                15   BY MR. FREEDMAN:
                16             Q.       In this e-mail it is signed down
                17   here by Ritzela De Gracia; do you see that?
                18             A.       I do.
                19             Q.       As you noted.        It discusses the
                20   fact that you have -- it confirms that you paid a
                21   2014 invoice on May 10th 2014; do you see that?
                22             A.       Yes.
                23                      MR. RIVERO:       Object to the form.
                24   BY MR. FREEDMAN:
                25             Q.       At the time you received this did
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                                                                         Page 143
         1    you believe it was authentically received from
         2    HighSecured?
         3              A.        Ramona, John Chesher, Andrew Sommer
         4    and myself were all in a board room in my New
         5    South Wales office when this was received and
         6    Andrew got a copy.          We were on the phone to some
         7    of the people in HighSecured at the time.
         8              Q.        So the answer is, yes, you believe
         9    you authentically received it from HighSecured?
       10               A.        I cannot say -- I have not seen
       11     anything to say that this is altered or anything
       12     else at the moment.
  H    13               Q.        At the time you received it --
       14     maybe I was not precise.           Let me clarify.        At the
       15     time you received it you believed this was
       16     authentically from HighSecured; is that a correct
       17     statement?
       18               A.        If that is the unaltered document.
       19     I helped Andrew install PGP earlier, so Andrew
       20     then validated that the PGP signature was correct.
       21     More than that, we are on the phone to people and
       22     I had no other reason to doubt it.
       23               Q.        Okay.     And you believed this was
       24     HighSecured or Ritzela's PGP to you, correct?
       25               A.        Correct.
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                                                                         Page 144
         1               Q.       Absent this being an altered
         2    document you still believe that it is; is that
         3    correct?
         4               A.       Yes.
 H-R     5               Q.       I am going to bring up on the
         6    screen now what has been produced in this
         7    litigation as Defense 1616105. Do you recognise
         8    this as a communication from Ritzela De Gracia at
         9    HighSecured to Andrew Sommer, with a cc to you and
       10     also it is addressed to Ms. Watts?
       11           (Exhibit Defense 1616105 referred to)
       12                A.       It looks correct.
       13                Q.       In it, Ritzela De Gracia identifies
       14     her PGP key; do you see that?
       15                A.       That is what it is doing, yes.
 H-R   16                Q.       At the time you believe this was an
       17     authentic e-mail from HighSecured?
       18                A.       Yes.
       19                Q.       And you still believe it is an
       20     authentic e-mail from HighSecured?
       21                A.       I have no reason not to, but
       22     I cannot validate that any more.              The American
       23     government arrested the principals of HighSecured
                                                    HighSecure d
       24     on money laundering and the other people
       25     disappeared, so no reason to -- well, no way of
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                                                                         Page 145
 H-R     1    actually being able to follow any of that up.
         2               Q.       Okay.     Dr. Wright, I am putting on
         3    the screen for you what has been produced as
         4    Defense 1591420, which again is an e-mail from
         5    Ritzela De Gracia from yourself and your wife Ms.
         6    Watts.     Do you recognise this as an authentic
         7    e-mail you received from Ritzela De Gracia?
         8             (Exhibit Defense 1591420 referred to)
         9               A.       Yes, it looks like further
       10     communications between them and my lawyers.
       11                Q.       In it, Ritzela De Gracia confirms
       12     that the Bit-message address listed in this e-mail
                                                          e-mai l
       13     starting, with BM-2cW belongs to HighSecured.
       14                A.       That is what they told us, yes.
       15                Q.       This e-mail is also signed with
       16     Ritzela De Gracia or HighSecured's PGP key;
       17     correct?
       18                A.       I cannot tell that without
       19     verifying the signature.           I cannot look at a
       20     signature block and it is correct.
       21                Q.       But at the time you did verify it?
       22                A.       I verified some of them.            I don't
       23     know if I verified this one but I definitely did
       24     ----
       25                Q.       Do you have any reason to believe
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                                                                         Page 146
         1    that this is not an authentic e-mail?
         2              A.        It was going to Andrew Sommer.
         3    Andrew Sommer was our solicitor at the time.
         4    Andrew had been taught how to validate PGP
         5    signatures.      I am assuming that Andrew or his firm
         6    did everything correctly.           No one came back and
         7    told me that there were any errors.
         8              Q.        Did you communicate with this
         9    Bit-message address with HighSecured?
       10               A.        I cannot remember if I communicated
       11     to that address with HighSecured.              I know Andrew
       12     Sommer did.
 H-R   13               Q.        You believe that that message
       14     address was associated with HighSecured?
       15               A.        It was definitely communicated from
       16     a person who worked at HighSecured.
       17               Q.        I am now putting on the screen
       18     Defense 1587950.        Do you recognise this also as an
       19     e-mail that you received from HighSecured?
       20           (Exhibit Defense 1587950 referred to)
       21               A.        It looks familiar.         Again, I cannot
       22     validate the actual content of everything or if it
       23     has not been changed.          We were in communication.
       24     Mr. Sommer and others were communicating with the
       25     Australian Tax Office.          We had set up
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                                                                         Page 147
  H-R    1    communications when HighSecured were still
         2    operating with the tax office, which did -- well,
         3    let's just say it did not gain any further trust
         4    between HighSecured, who wanted extra money.
         5              Q.        In fact, HighSecured put the
         6    Australian Tax Office on this e-mail; do you see
         7    that?
         8              A.        That is correct yes.          The tax
         9    office wanted evidence that we had been dealing
        10    with HighSecured and the only way we could do that
        11    is to actually have the HighSecured people talk to
        12    the tax office.        They even gave direct e-mail
        13    addresses and phone numbers, but I don't know what
        14    happened with the phone calls between the tax
        15    office and HighSecured.           I wasn't on those.
        16              Q.        It again acknowledges that this is
        17    a Bit-message address; do you see that?
        18              A.        Yes.
        19              Q.        And signed again with the PGP key.
        20    Did you believe and do you believe that this came
        21    from HighSecured?
        22              A.        I had not been told by Andrew
        23    Sommer that it did not match the signature, so
        24    I was never informed that it was not signed.
        25              Q.        If it in fact matches then you have
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                                                                         Page 148
         1    no reason to believe whatsoever that it did not
         2    come from HighSecured; is that accurate?
         3              A.        Yes.    No one at HighSecured told me
         4    that they had had keys compromised or anything
         5    like this.      It is not impossible but we had phone
         6    conversations with HighSecured, Andrew had other
         7    conversations with HighSecured, so I don't believe
         8    that anyone ever mentioned that they were
         9    compromised.

 H-R   10               Q.        I am going to bring up another
       11     e-mail, Defense 1588062 from again Ritzela De
       12     Gracia to Andrew Sommer, with cc to you.                 It says
       13     "Mr Please find our letter.            We have attached it,
       14     forwarded and sent it in many formats.                I am sure
       15     you will be able to interpret one.               If not Dr
       16     Wright has a use here as well.             Ritzela".      Do you
       17     see that?
       18             (Exhibit Defense 1588062 referred to)
       19               A.        Yes, I do.
       20               Q.        So if you take a look, the Bates
       21     label on this document ends in 01588064.                 I am
       22     going to bring up its attachment in a minute but,
       23     before I do that, do you have any -- sorry.                  Is
       24     this authentically an e-mail you believe you
       25     received from HighSecured?
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                                                                         Page 149
 H-R     1              A.        Nobody ever informed me that there
         2    was anything wrong with it.            The communications
         3    between Mr. Sommer and other parties, no one ever
         4    told me that it was not correct.
         5              Q.        You have no reason to believe that
         6    it is not HighSecured, correct?
         7              A.        I believe my lawyer would have told
         8    me there is a problem if there was a problem.
 H-R     9              Q.        I am going to bring up the
        10    attachment now to that letter.             This is from
        11    HighSecured.       They tell Mr. Sommer that they
        12    confirm, moving down to that paragraph ----
        13                        MR. RIVERO:       What is the number on
        14    the attachment.
        15                        MR. FREEDMAN:        1590093.
        16                        MR. RIVERO:       Thank you.
        17    BY MR. FREEDMAN:

  H-R   18              Q.        Do you see the paragraph here that
        19    starts with "we confirm"?
        20            (Exhibit Defense 1590093 referred to)
        21              A.        Which one?      There are multiple.
        22              Q.        Yes, there are a lot of them.             Let
        23    me direct you to this one:            "We confirm the
        24    payment from Dr. Wright".           Do you see that?
        25              A.        Yes.    "We confirm the payment from
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                                                                          Page 150
 H-R     1    Dr Wright via W&K through Mr. Kleiman of ,000,000
                                                       ,000,0 0 0
         2    USD for the provision of a SGI Ultra ICEX system
         3    known as C01N".
         4              Q.        Is that a typo Dr Wright?
         5              A.        It says zero dollars.
         6              Q.        It does not say zero, it says
         7    ,000,000.
         8              A.        Other ones don't say zeros like
         9    that, it just says USD 50 million.               It says zero.
       10                         MR. RIVERO:       Objection.      The
       11     document speaks for itself.
       12     BY MR. FREEDMAN:
       13               Q.        Did you actually pay -- is it your
       14     testimony that that is in fact what happened, that
       15     there was a zero dollar payment from yourself via
       16     W&K, through Mr. Kleiman, for this system known as
       17     C01N?
       18                         MR. RIVERO:       Object to the form.
       19               A.        That's not what the document says.
       20     It says that W&K paid nothing.             The provision of
       21     payment was done through my companies because
       22     Mr. Kleiman did not pay.
       23     BY MR. FREEDMAN:
       24               Q.        This is HighSecured saying that
       25     Mr. Kleiman did not pay anything, but nevertheless
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                                                                         Page 151
         1    the system is littered ----
         2                        MR. RIVERA:       Object to the form.
         3                        THE COURT REPORTER:          Can you repeat
         4    that?    You broke up a little bit.
         5    BY MR. FREEDMAN:
         6              Q.        Withdraw the question.           Dr. Wright,
         7    can you also take a look at this paragraph that is
         8    says "we lastly confirm".           Can you read that for
         9    the record?
       10               A.         "We lastly confirm that the ASIC
       11     system used by Mr. Kleiman to 'mine' Bitcoin was
       12     sold to a party other than Dr. Wright and
       13     unrelated to him without his knowledge in early
       14     2013".
       15               Q.        So Mr. Kleiman was using an ASIC
       16     system to mine Bitcoin?
       17               A.        As this document says, a party, not
       18     Dr. Wright and unrelated to him.              You are asking
       19     me to confirm that someone told the tax office
       20     that anything to do with Dave was sold without my
       21     knowledge.      I cannot confirm something that was
       22     sold without my knowledge.
       23               Q.        Do you have any knowledge of the
       24     ASIC system being referred to by HighSecured?
       25               A.        Just as you see there, it says
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                                                                         Page 152
         1    other "than Dr. Wright, unrelated to him, without
         2    his knowledge."        I have no knowledge of any ASIC
         3    system that Dave may have had.
         4               Q.        Was this e-mail also authentically
         5    received from HighSecured?            Do you believe it was
         6    authentically received from HighSecured?
         7               A.        Unless you have anything that shows
         8    that it was not.        No one has never told me that it
         9    was not.        The parties involved, including my
       10     lawyers, have never come back to me and said, "Hey
       11     Craig, someone forged an e-mail".              Everyone, right
       12     up until the end, has been telling me that this is
       13     correct, they have been put into the company
       14     accounts.        My lawyers have told me everything is
       15     there and they had filed them.             I believe my
       16     lawyers and I believe my accounts.
 H-R   17                Q.        I am going to bring up one more
       18     document.        This has been Bates label produced
       19     Defense 173776 but I took the liberty of getting
       20     the native because it is a lot easier to read.
       21     I am going to bring you down to the last page of
       22     this document.        It is a printout.        Unfortunately,
       23     it is not very clear to read do you see up here it
       24     say -- it appears to be a Bit-message printout to
       25     Craig Wright, from HighSecured, on 13th May 2013?
                                                          2 0 1 3?
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                                                                         Page 153
 H-R     1            (Exhibit Defense 173776 referred to)
         2              A.        That is what it says, yes.
         3              Q.        Do you have any reason to believe
         4    this
              t his is not an authentic Bit-message received from
         5    HighSecured?
              H ighSecured?      Given the form it is presented in,
         6    do
              d o you believe this is an authentic Bit-message
         7    received
              r eceived from HighSecured?
         8              A.        I do not have the original so
         9    I cannot validate anything.            For the moment I will
       10     assume,
              a ssume, unless I see anything that I can pull up,
       11     that
              t hat this is an unaltered document and thus true;
       12     is
              i s that acceptable?
       13               Q.        Yes.
       14               A.        I just cannot read it, sorry.
       15               Q.        Let me make it easy for us.             For
       16     the documents we have just reviewed, is it your
       17     testimony -- strike that.           Dr. Wright, did you
       18     create the invoices that we just reviewed from
       19     HighSecured?
       20               A.        No.    Those invoices were actually
       21     pulled up directly from HighSecured servers while
       22     the Australian Tax Office were in our office while
       23     our lawyers were there, while external accountants
       24     were there.
       25               Q.        Let me just re-ask the question on
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                                                                         Page 154
         1    a clear way.       Did you or did you instruct anyone
         2    to create the invoices that we reviewed today?
         3              A.        We had gone through purchasing and
         4    invoicing processes through the company accounts,
         5    so the accounts system in DeMorgan and the payment
         6    -- what do you call it?           There was a client
         7    interface on the Panamanian servers, so we did our
         8    orders on that.
         9              Q.        Dr. Wright, that was not my
       10     question.      My question was did you or did you
       11     direct anyone to create the invoices we looked at
       12     today?
       13               A.        If you are asking did I say the
       14     purchase was to go through, then yes I told my
       15     ----
       16               Q.        Let me clarify the question.
       17               A.        You said "or direct".
       18               Q.        Yes.     Did you or did you direct
       19     anyone to create the actual invoice we saw, the
       20     document we saw?          Did you direct or did you create
       21     the actual invoice we looked at?
       22               A.        No.     I don't create any documents
       23     to do with accounting.          I am not the accountant,
       24     I don't run any accounts.           I go to the accounting
       25     team and the other teams and I, basically,
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                                                                         Page 155
         1    instruct people if there is a large purchase that
         2    has gone through board sign off and I say "please
         3    do X".
         4               Q.       Dr. Wright, I do not think you are
         5    trying to be evasive here.            I am just trying to
         6    get a clean record.         Did you instruct somebody to
         7    create this invoice so it looked like it was from
         8    HighSecured when it was not really from
         9    HighSecured?
       10                A.       No.
       11                         MR. RIVERO:       Objection.      I don't
       12     want to interrupt Mr. Freedman's examination,                   but
       13     can you just answer whether you instructed anyone
       14     to fake this invoice.
       15                A.       No one is instructed to fake an
       16     invoice.
       17     BY MR. FREEDMAN:
       18                Q.       Did you instruct anyone or did you
       19     yourself fake the e-mail communications between
       20     the -- strike that.         Did you or did you instruct
       21     anyone to fake the e-mail communications we have
       22     reviewed that purport to come from HighSecured or
       23     Ritzela De Gracia?
       24                A.       No.    There was no point where
       25     anyone was instructed to make any fraudulent or
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                                                                         Page 156
         1    faked documents at any point.             During the sending
         2    of some of those e-mails I was sitting with
         3    counsel Andrew Sommer in Australia and with the
         4    accountants that ran this.            I did not even touch
         5    the computer, I was not there, but Ali Lodey --
         6    I don't know how to spell the last name -- the
         7    account and other people demonstrated access to
         8    the server directly from HighSecured to the ATO,
         9    where the information was downloaded.                I watched
       10     that happen.
       11               Q.        Were you ever pretending to be
       12     Ritzela De Gracia in these communications?
       13               A.        No.    At one point Ritzela De Gracia
       14     ----
       15               Q.        Please finish your answer, but
       16     I don't really need anything beyond yes or no.
       17     I wanted to get us through this.
       18               A.        That's fine.       I can end there.
       19                         MR. RIVERO:       Mr. Freedman, you
       20     cannot ----
       21                         MR. FREEDMAN:        I did say he can
       22     finish if he wants.         I know it is not a
       23     comfortable line of questioning, I am trying to
       24     get us through it.
       25                         MR. RIVERO:       He is answering your
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                                                                         Page 157
         1    questions.        Let him finish.      Go ahead, Doctor.
         2               A.        No.   I at one point I was on the
         3    phone with people from HighSecured and Andrew
         4    Sommer separately in the room.
         5    BY MR. FREEDMAN:
         6               Q.        Dr. Wright, were you pretending to
         7    be HighSecured in these communications?
         8               A.        No.   I was in the room with
         9    multiple people and Andrew Sommer, receiving
       10     e-mails that I was not sending because I was in a
       11     meeting.        So, no, that was never the case.
       12                Q.        Did you instruct anyone to
       13     masquerade as Ritzela or HighSecured for these
       14     communications?
       15                A.        No, at no point did I ever instruct
       16     anyone to do that.
       17                Q.        Did you ever control the
       18     Bit-message account we saw that was affiliated
       19     with HighSecured?
       20                A.        No, I did not.
       21                Q.        Dr. Wright, did you ever register
       22     www.highsecured.net?
       23                A.        No.
       24                Q.        Dr. Wright, did you ever have the
       25     private key to the Bit-message address affiliated
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                                                                         Page 158
         1    with HighSecured in these communications?
         2              A.        No.
         3              Q.        Have you ever used the private key
         4    to that Bit-message address to send e-mails or
         5    Bit-messages as if you were HighSecured or Ritzela
         6    De Gracia?
         7              A.        I cannot do that if I don't have
         8    the key, so no.
         9                        MR. FREEDMAN:        Dr. Wright, are you
       10     aware that in -- I think I am basically done with
       11     this line of questioning.           I have to use the rest
       12     room.    Can we take a three minute break?
       13                         MR. RIVERO:       Let's make it five or
       14     10 minutes.
       15                         MR. FREEDMAN:        I just need three
       16     and I know you guys to want to get out of there.
       17     But I'm happy to make it five so more people can
       18     have time.       Let's do five.
       19                    (Recess at 4 p.m. to 4.08 p.m.)
       20     BY MR. FREEDMAN:
       21               Q.        Dr. Wright, are you aware that in
       22     the document production to us you produced a file
       23     that contains the private key to the Bit-message
       24     account associated with HighSecured?
       25               A.        Again, I did not provide that to
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                                                                         Page 159
         1    you.    If you have that from one of the Australian
         2    machines then it had nothing to do with me.
         3               Q.       So you have no idea how that came
         4    to be in your possession?
         5               A.       Again, it is not in my possession.
         6    It might be in yours, but machines captured in
         7    Australia were nothing that I was ever on.
         8               Q.       Dr. Wright, do you recall filing
         9    lawsuits in New South Wales against W&K?
       10                A.       No.    As I said, Craig Wright R&D
       11     filed lawsuits against W&K.
       12                Q.       Were there any hearings held in
       13     that case?
       14                A.       We had a few meetings before the
       15     registrar Masters and things like this.                 I had to
       16     provide evidence, we discussed it etc.
       17                Q.       Were you truthful with the
       18     registrar at those hearings?
       19                A.       I presented everything that I was
       20     given, to the best of my knowledge.

   H   21                Q.       Dr. Wright, I am going to share
       22     with you now the transcript of a hearing before
       23     the New South Wales court, a registrar, on 30th
       24     October 2013.       Can you take a moment to
       25     familiarise yourself with this document?
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                                                                         Page 160
  H      1                       (Exhibit Z16 referred to)
         2                         MR. RIVERO:      Give us the number?
         3    BY MR. FREEDMAN:
         4               Q.        Z16.
         5               A.        I have seen that page, yes.
         6               Q.        It is pretty short.         Let's go ahead
                                                                        ahea
         7    and have you -- let's review it together.                 In the
         8    first instance do you see that this purports to be
                                                              b
         9    a transcript of the proceedings held before the
       10     registrar on Wednesday 30th October 2013?
       11                A.        I see that.
       12                Q.        It says:     "Plaintiff appeared in
       13     person".        Plaintiff is listed as Craig Steven
       14     Wright.     Is that accurate?
       15                A.        That is not accurate.         The actual
       16     filing was done as Craig Steven Wright ABN.                  That
       17     was actually listed, so this is not accurate on
       18     that.
       19                Q.        Okay.    Then it says "no appearance
       20     of or for the defendant".           Do you see that?
       21                A.        Yes, I do.
       22                Q.        Then you tell the registrar that
       23     you would like him to enter a consent judgment.
       24     Do you see that?
       25                A.        Yes.
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                                                                         Page 161
  H      1              Q.        So you say:       "Plaintiff Craig
         2    Wright claims that the 49 and 51 registrar".                  Can
         3    you read the rest of that quote for the record?
         4              A.         "I also note that the sole other
         5    director from the US of the defendant has filed
         6    interstate.      Basically, there has been a
         7    shareholder's meeting held in resolution to pass
         8    the matter has been obtained and the company will
         9    be wound down straight after the matter".
       10               Q.        The registrar says:          "What do you
       11     want done today, Mr. Wright?"             What do you respond
       12     back?
       13               A.        "Basically, just the orders that
       14     what we did by consent in the past and that they
       15     are approved".
       16               Q.        The registrar says that he has a
       17     copy of two filings.          You say that is correct.
       18     The registrar points out there is an
       19     acknowledgment of liquidated claim that has been
       20     filed; do you see that?
       21               A.        Yes.
       22               Q.        And then can you go ahead and read
       23     plaintiff starting at line -- I think it the 37 or
       24     38?
       25               A.        "I am the sole director for the
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                                                                         Page 162
   H     1    company now but I am not a US director and I'm not
         2    a resident so I cannot act and take over the
         3    company over there.         I have appointed another
         4    person.     I have 51% of the shares."
         5               Q.       Dr. Wright, did you have 51% of the
         6    shares in W&K?
         7               A.       No.
         8               Q.       Why did you tell the registrar you
         9    had 51% of the shares?
       10                A.       As I noted, this is not Craig
       11     Wright in person, which is erroneous.                If you
       12     looked at it, it was Craig Wright ABN acts as a
       13     trustee for trusts and companies, so where I said
       14     that I am not talking about Craig Wright that way.
       15     It is confusing because it is saying Craig Wright,
       16     not Craig Wright ABN number, on this transcript.
       17                Q.       Is it your testimony today that
       18     Craig Wright R&D held 51% of the shares of W&K?
       19                A.       No, that is not what I said as
       20     well.     The company that was in trust was owning
       21     the shares and I had that, so the other
       22     shareholder of W&K acted and had a shareholders
       23     meeting, not a director's meet.
       24                Q.       That is not what you told the
       25     registrar.      You said "I have 51% of the shares";
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                                                                         Page 163
         1    isn't that true?
         2              A.        I did not say I have 51% of the
         3    shares in W&K.
         4              Q.        The registrar then asked if you had
         5    any evidence -- strike that.             Did the trust hold
         6    51% of the shares of W&K?
         7              A.        Which trust?
         8              Q.        Why did you tell the registrar that
         9    you had 51% of the shares?
       10               A.        I did not say I had 51% of the
       11     shares in W&K.       That is not what I said.
       12               Q.        What did you say?
       13               A.        I was acting for other companies,
       14     as I've noted before.          That included control of
       15     Cloud Croft and the assignment of Lynn Wright.
       16     They were the majority shareholders.               The
       17     directorship I had -- director of the company was
       18     appointed director of Cloud Croft.               Cloud Croft
       19     then called a shareholders meeting, using the
       20     trust shares of Lynn Wright in trust and its own
       21     shares were that of Information Defense's that had
       22     been assigned.       The 51% then comes through that,
       23     so basically what I am saying is I am the sole
       24     director of the company now.             The company that
       25     owned W&K then has 51% of the shares.
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                                                                         Page 164
         1               Q.       Which company is that?
         2               A.       The company that was assigned the
         3    rights of Information Defense was Cloud Croft PTY
         4    Limited.
         5               Q.       So Cloud Croft PTY Limited had 51%
         6    of the shares in W&K; is that an accurate
         7    statement?
         8               A.       It controlled them.          It did not
         9    have them.
       10                Q.       It did not own them?
       11                A.       No, it did not own them.            It had
       12     rights to control them.
       13                Q.       Who owned them?
       14                A.       Lynn Wright, but she had an
       15     incapacity financially where we had put it into
       16     trust for her until she was able to act.
       17                Q.       Lynn Wright's ultimate beneficial
       18     interest was 51%; is that accurate?
       19                A.       No, the actual amount should have
       20     been 66.7%.
       21                Q.       Okay.     So the actual amount that
       22     you should have told the registrar was 66.7%; is
       23     that fair or accurate?
       24                A.       Yes, but as you will notice from
       25     the ellipses at the end of my thing, I would have
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                                                                         Page 165
         1    gone into further but the register interrupted, so
         2    "I have 51% of the shares ...".              Basically, I was
         3    going to try and explain more but the registrar
         4    interrupted me before I got any further.
         5              Q.        Were you going to tell the
         6    registrar that you had 100% of the shares?
         7              A.        No, at no point.
         8              Q.        Okay.
         9              A.        Only that I had at least 51% of the
       10     shares and I don't know exactly how many more.
       11               Q.        Dr. Wright who authorised Craig
       12     Wright R&D to sue W&K?
       13               A.        The authorisation was taken in
       14     conjunction.       I told Lynn Wright that I would be
       15     protecting her assets and I discussed it with my
       16     solicitors.
  H    17               Q.        The registrar actually noted that
       18     the -- strike that.         If you come down with me the
       19     registrar says "I think before ..." -- I'm at line
       20     11 on the page that says on the top 20014.                  "Mr.
       21     Wright, I think before I can enter these alleged
       22     consent judgments the court is going to need some
       23     evidence in relation to those matters.                How long
       24     do you need to be able to do that?"               You said:
       25     "What would you like?"          He responds:       "I think you
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                                                                         Page 166
 H        1   are going to have to give some detailed affidavit
          2   evidence with regard to it and also evidence in
          3   relation to who exactly has authority to act on
          4   behalf of this company and to sign these
          5   documents".      Do you see that?
          6             A.        Correct.
          7             Q.        He asked you about how much time
          8   you may need.       You said you could get something in
                                                                   in
          9   that afternoon, right?
         10             A.        That is correct.

  H      11             Q.        He actually gave you until the 5th
         12   November, so five days, and then to reappear in
         13   front of him on the 6th; is that accurate?
         14             A.        That is correct.
         15             Q.        Then, Dr. Wright, in between this
         16   actually went ahead and filed a detailed affidavit
                                                       affidav i t
         17   with the New South Wales court; is that correct?
         18             A.        I believe so.        I don't remember the
                                                                        the
         19   exact date on the filing.
         20             Q.        Let me show you the affidavit you
     H
         21   submitted.      Take a look here.         Does that look like
                                                                       li k e
         22   your affidavit?
         23             A.        That is the affidavit of myself,
         24   acting for Craig Wright R&D, ABN 97481146384, and
         25   us acting as the agent of that organisation.
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                                                                         Page 167

  H      1              Q.        This was filed with the court on
         2    November 4, 2013.         Do you see the stamp in the top
         3    right-hand corner?
         4              A.        Yes, I do.
         5              Q.        You swore or affirmed to all of the
         6    facts in this affidavit?
         7              A.        I am not sure whether I swore or
         8    affirmed.      I would have to look at the end.              I am
         9    happy to give an oath, but sometimes I affirm when
       10     other people ask for affirmations.               Yes, it is
       11     affirmed.
       12               Q.        Do you stand by the facts in this
       13     affidavit?
       14               A.        If the facts have changed it is
       15     because I have gained other knowledge afterwards.
CC-H   16               Q.        You previously
                                      previ      told the registrar
       17     you had 51% of W&K.
                               K.         You
                                            u said
                                              s    to me just a moment
       18     ago it should have been closer to 66%.                In this

   H   19     affidavit four or five days later you filed with
       20     the court can you look at paragraph 23 for me and
       21     read it for the record?
       22                         MR. RIVERO:       Object to the form of
       23     the question.
       24     BY MR. FREEDMAN:
       25               Q.        Let me break that down for you, to
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                                                                         Page 168
   H     1    address your counsel's objection.              You told the
         2    registrar that you owned 51% of it, correct?
         3              A.        No, I was in the midst of a
         4    sentence where I was cut off.             I had said I had
         5    51% and said no more.
         6              Q.        You were going to correct it to 66%
         7    and change; correct?
         8                        MR. RIVERO:       Object to the form.
         9              A.        No, I was not going to do that.
       10     BY MR. FREEDMAN:

   H   11               Q.        All right.      What did you say in
       12     this affidavit, Dr. Wright?
       13               A.        Which line do you want me to read?
       14               Q.        Please read paragraph 23 for the
       15     record.
       16               A.        "On 1st August 2013 ----
       17               Q.        Let me clarify that.          Just the last
       18     sentence of 23?
       19               A.        "The shareholding of W&K info
       20     Defense LLC was ...".
       21               Q.        Keep going?
       22               A.        "... 1; Craig S. Wright, 50%.             2;
       23     David A. Kleiman, 50%".
       24               Q.        That is good.        Thank you.      Why did
       25     you put in this affidavit that it was 50/50
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                                                                          Page 169
   H      1    between you and Dave Kleiman if you had just told
          2    the registrar you controlled over 51% of it?
          3              A.        Because if I have 50% plus and a
          4    debt then that is all I need to do.               I did not
          5    want to presuppose anything without records.
          6    I knew that the ownership between Lynn and her
          7    subsequent companies and other companies that had
          8    inherited from Information Defense was more than
          9    50%, but I did not think it was worth making an
         10    argument saying 51%/49%, or 60.666% or any other
         11    particular thing, except that it was enough to
         12    call a shareholders meeting and vote dissolution
         13    of the company.
         14                        MR. RIVERO:       I had an objection to
         15    that question.
         16    BY MR. FREEDMAN:

H- MIS   17              Q.        At the end of the day Dr. Wright
         18    you told the registrar 51% and you put in this
         19    document 50%; is that correct?
         20              A.        No, that is not
                                               n ot correct.

    H    21              Q.        Dr. Wright, I would like you to
         22    take a look again at the transcript that we were
         23    looking at earlier.         I want to go back to the
         24    October 30th transcript.           Do you see that in front
                                                                     fron
         25    of you?
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                                                                         Page 170
  H      1               A.       I see the transcript in front of
         2    me.
         3               Q.       I want to go back to where we left
         4    off.     You said you can get it that day, he said he
         5    would give you until the 6th.             I want to go
         6    specifically to line 21 where you say:                "I can
         7    give you affidavit evidence today".               Do you see
         8    that?
         9               A.       Yes.     I believe it was a woman not
       10     a man, so it was a she.
       11                Q.       We'll just refer to them as
       12     "registrar" then.          The registrar responds:          "What
       13     I might do, Mr. Wright, is stand them over for say
       14     a week.     Can you file your affidavit evidence by
       15     then?"     Do you see that?
       16                A.       I see that.
       17                Q.       Can you read what your response is,
       18     for the record?
       19                A.       "Yes, definitely.         We have actually
       20     taken control of the accounts and whatever else,
       21     which we have good stat decs for that, so
       22     effectively this is a formality because we have
       23     actually -- the company has control of all of the
       24     accounts now".
       25                Q.       You told the registrar that you had
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                                                                         Page 171
   H     1    taken control of all of W&K's accounts, did you
         2    not?
         3              A.        Yes.
         4              Q.        How did you take control of W&K's
         5    accounts?
         6              A.        Jamie Wilson was the accountant.
         7    He did all of the things for the accounts.                  What
         8    we did notice was a few e-mails back and forwards
         9    between Dave and Lynn, and a few other basically
       10     historical documents between Lynn and Dave, some
       11     e-mails and set-up information between Lynn and
       12     John Chesher.       Jamie took those and constructed
       13     what he could from the accounts.              What we had
       14     found was that Dave had not done anything; he had
       15     not filed with the IRS or done any of his state
       16     taxes.
       17               Q.        When you said "all of the accounts"
       18     did you include W&K's Bitcoin accounts?
       19               A.        There are no such thing as Bitcoin
       20     accounts.
       21               Q.        Dr. Wright, after this hearing you
       22     filed the affidavit we reviewed, right?
       23               A.        Yes.
       24               Q.        Then you came back in front of the
       25     registrar in November 6th; do you recall that?
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                                                                         Page 172
         1               A.        Yes.
         2               Q.        Let's take a look.        This is the
         3    transcript of the November 6th hearing?
         4               A.        Yes.
         5               Q.        In it the registrar calls Craig
         6    Wright and says "You have put in an affidavit?"
         7    You say:        "I have".   Do you see that?
         8               A.        Yes.
         9               Q.        He asked if you are going to be
       10     dealing with both matters at the same time and you
       11     say yes, right?
       12                A.        Yes.
       13                Q.        And he says:      "This is a matter
       14     where we've got some consent orders".                You say,
       15     "Yes".     Do you see that?
       16                A.        Yes, that is correct.
       17                Q.        Can you go ahead and read for me --
       18     the registrar says:         "The registrar wanted more
       19     information before ...", then it looks like you
       20     interject.        Can you go ahead and read your
       21     response at 36 in full for the record?
       22                A.        Yes, I will read ----
       23                Q.        Actually, let me clarify that,
       24     actually, so we get a clearer record.                Go ahead
       25     and read until the "Australian Tax Office".                  Read
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                                                                         Page 173
         1    your response until the "Australian Tax Office",
         2    for the record.
         3               A.        Yes, I will read as the plaintiff,
         4    which was Craig Wright R&D that I was agent for.
         5    "Yes, I'm not the sole shareholder of an American
         6    company.        I cannot act as director over there
         7    because of regulations.           I own all the shares over
         8    here and I want to bring everything back in.                  The
         9    ..." ----
       10                Q.        That is it.
       11                A.        I thought you wanted me to read
       12     that sentence as well.
       13                Q.        Sorry.    Bad communication there.
       14     Dr. Wright, you have now told the registrar that
       15     you are the sole shareholder and you own all the
       16     shares?
       17                A.        No.   I, as agent of Craig Wright,
       18     R&D ABN ...
       19                Q.        How did Craig Wright R&D get
       20     control over the remaining 50-40 something per
       21     cent of W&K in two days?
       22                          MR. RIVERO:      Object to the form.
       23                A.        Because there was a shareholders
       24     agreement that Lynn Wright had and the
       25     shareholders agreement basically called for if
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                                                                         Page 174
         1    anyone was to pass then there were rights to call
         2    shareholders meetings.          I don't have a copy of the
         3    shareholders agreement in front of me.                I am not
         4    sure if Lynn has given that to the lawyers or not,
         5    but the shareholders agreement would allow me to
         6    basically take over all the shares if there is no
         7    value and it has been closed.
         8    BY MR. FREEDMAN:
         9              Q.        Okay.     So is it your position,
       10     Dr. Wright, that Craig Wright R&D owns 100% of the
       11     shares in W&K?
       12                         MR. RIVERO:       Object to the form.
       13               A.        No, that is not what I said.
       14     BY MR. FREEDMAN:
       15               Q.        Does Dave Kleiman's estate own any
       16     of the shares or membership in W&K?
       17               A.        By rights he should not.            It should
       18     not have been reactivated either, but Uyen Nguyen
       19     did that.      The actual matter is that unless the
       20     amounts owed etc. are paid then Ira Kleiman should
       21     not own any of the shares.
       22               Q.        Dr. Wright, you have now said that
       23     W&K was 51% controlled by entities -- strike that.
       24     You've now said that W&K was owned by 51% of the
       25     -- strike that.        I am going to withdraw that.
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                                                                         Page 175
         1    Dr. Wright, what is the current shareholding of
         2    W&K?
         3               A.        I am not sure what the listed
         4    shareholding of W&K is.           I don't act as a trustee
         5    for Lynn Wright or any of the other companies
         6    anymore.        I have not kept up that position so
         7    I have not followed any changes.              What I do know
         8    is Lynn Wright has full control of her own shares
         9    and any associated with any of the other
       10     companies.        If Ira Kleiman has any rights, which
       11     is actually doubtful being that there is a
       12     shareholders agreement that I have now witnessed
       13     from Lynn again and looked at, then it would only
       14     be one-third.        He is, basically, attempting to say
       15     that other people involved in this company have no
       16     shares.
       17                Q.        So is it accurate to say you don't
       18     actually have any personal knowledge of the
       19     current shareholding of W&K?
       20                A.        I have spoken to Lynn Wright and
       21     I know that she is going to assert her rights and
       22     shares.     The court will have to decide that.               What
       23     I do know is Lynn Wright asserts one-third and
       24     asserts, through her corporate ownership, another
       25     third.
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                                                                         Page 176
         1              Q.        So two thirds?
         2              A.        Yes.
         3              Q.        Dr. Wright, I am going to share
         4    with you now a document I believe you just
         5    mentioned, which was produced in this litigation
         6    as Defense 1854321.           Tell me when you have that.
         7          (Exhibit Defense 1854321 referred to)
         8              A.        That is not a document I have just
         9    mentioned.
       10               Q.        Do you recognise this document?
       11               A.        Yes, I have seen this document.
       12               Q.        This purports to be a limited
       13     liability company agreement between the members of
       14     W&K Info Defense Research; do you see that?
       15               A.        Yes, I see that.
       16               Q.        Is this an authentic document?
       17               A.        Again, it is not my document so you
       18     are asking me about someone else's document and
       19     whether it is authentic.
       20               Q.        How is this not your document?
       21               A.        If I am not a shareholder, a member
       22     or whatever else, then how is it my document?                   I'm
       23     sorry, I don't see how ----
       24               Q.        How did you get this document?
       25               A.        This document is an operating
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                                                                         Page 177
         1    agreement that was saved by, what do you call it,
         2    accounts of W&K and then other companies,
         3    including Cloud Croft.
         4              Q.        Dr. Wright, how did you get your
         5    hands on this document?
         6                        MR. RIVERO:       Object to the form.
         7              A.        I don't have my hands on this
         8    document.
         9    BY MR. FREEDMAN:
       10               Q.        How did you get this document in
       11     your possession?
       12               A.        At present this document is not in
       13     my possession.
       14               Q.        Dr. Wright you are aware that your
       15     lawyers produced this document to us, are you not?
       16               A.        No, I am not.
       17               Q.        That is interesting because your
       18     lawyers told me that you are the one that found
       19     these documents on external media, like CDs or
       20     junk drives and you provided it in January 2020;
       21     is that not true?
       22                         MR. RIVERO:       Object to the form.
       23               A.        My lawyers were given external
       24     devices and equipment from Lynn and other such
       25     things.     I don't know what is on any of those
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                                                                         Page 178
         1    devices, nor do I know what Lynn has given.
         2    BY MR. FREEDMAN:
         3              Q.        Did Lynn give you those devices?
         4              A.        I have not checked anything, so
         5    I don't know ----
         6              Q.        That is not what I asked you.             I
         7    asked you if Lynn gave you those devices, not if
         8    you checked them.         I asked you did Lynn give you
         9    those devices.
       10               A.        I just made a statement.            I said
       11     Lynn gave me some things, different equipment
       12     etc., and Lynn gave me access to other files and
       13     I also had other files from company records.
       14     I did not check any of them so I cannot tell which
       15     this is from.
       16               Q.        When did you get these devices?
       17               A.        The ones from Lynn I got -- I can't
       18     remember exactly when.          Not that long ago.
       19               Q.        Was it January of 2020?
       20               A.        I don't remember.
       21               Q.        Was it December of 2019?
       22               A.        I don't remember.
       23               Q.        How did you know that you should
       24     provide these documents to your lawyers?
       25               A.        I just provide everything to my
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                                                                         Page 179
         1    lawyers.        The reason you have a whole lot of
         2    documents that are prejudicial to me is I don't
         3    check anything.        I just hand everything I have
         4    got, as I am legally required to do.               Not
         5    filtering it first, not checking whether there is
         6    something that looks like it might be altered or
         7    might suit your client.           My role, under law, is to
         8    take every document I get and hand it to my
         9    lawyers.        I was told by my solicitors, any CDs
       10     I have given to my lawyers, so anything that was
       11     not a music CD or DVD I basically piled up and
       12     gave to my lawyers.
       13                          MR. RIVERO:      Mr. Freedman, wait a
       14     moment.     Dr. Wright, I don't think you revealed
       15     anything privileged, but please be careful about
       16     discussing any communications with us or other
       17     counsel.
       18     BY MR. FREEDMAN:
       19                Q.        Dr. Wright, is it accurate to say
       20     that prior to today you have never seen this
       21     document?
       22                A.        No.
       23                Q.        When did you see this document?
       24                A.        I briefly saw this document in
       25     2011.
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                                                                         Page 180
         1               Q.       What was the context in which you
         2    saw this document in 2011?
         3               A.       Dave and Lynn Wright were setting
         4    up W&K.     I left Lynn Wright and Dave Kleiman to go
         5    through the administrative filings and other such
         6    things.     I have also had discussions, post that,
         7    with my lawyers and I don't know if I can say
         8    anything more about our discussions.
         9               Q.       I'm not asking about discussions
       10     with your lawyers.
       11                         MR. RIVERO:       Dr. Wright, I am
       12     instructing you don't go into conversations with
       13     us or with other lawyers.           You allude sometimes to
       14     conversations.       Don't go into such conversations.
       15                A.       Sorry.
       16     BY MR. FREEDMAN:
       17                Q.       To be clear, I am not asking you
       18     about conversations between you and your lawyers
       19     at Rivero Mestre.         Dr. Wright, did you sign this
       20     document?
       21                A.       I don't know.        I cannot see.
       22                Q.       Let me bring you down to the bottom
       23     of the document so you can see, because that is
       24     fair.     Does that help refresh your recollection,
       25     Dr Wright?      Have you signed this document?
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                                                                         Page 181
         1              A.        That is my signature, yes.
         2              Q.        Do you remember putting that
         3    signature on this document?
         4              A.        No, I don't.
         5              Q.        So it is possible this is just a
         6    forgery from a later date?
         7              A.        I do not think so.         I do not
         8    believe Lynn would ever forge a document and it
         9    looks like my signature.
       10               Q.        Is it your signature?
       11               A.        It is not an ink and pen thing so
       12     I cannot 100% say, but it looks like my signature.
       13               Q.        You saw this document in February
       14     of 2011, right?
       15               A.        Yes.
       16               Q.        You signed it in February 2011,
       17     most likely?
       18                         MR. RIVERO:       Object to the form.
       19               A.        It would have been around that time
       20     if I signed.       I didn't have much to do with the
       21     management after that of Information Defense.
       22     Information Defense, in March 2011, was then
       23     started to be -- it started to be assigned into
       24     Cloud Croft and then other companies.
       25     BY MR. FREEDMAN:
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                                                                         Page 182
         1              Q.        If you signed this document it was
         2    signed in approximately February 2011; is that
         3    fair?
         4              A.        Yes.
         5              Q.        If you did not sign this document
         6    in February 2011 then that is not your signature;
         7    is that fair?
         8                        MR. RIVERO:       Object to the form.
         9              A.        I would not have signed it after
       10     that period.
       11     BY MR. FREEDMAN:
       12               Q.        So if your signature got placed on
       13     the document after that period then someone else
       14     put it there; is that fair?            Is that accurate?
       15                         MR. RIVERO:       Object to the form.
       16               A.        I would have signed around that
       17     time if I signed this document.
       18     BY MR. FREEDMAN:
       19               Q.        That is not what I am asking Dr.
       20     Wright.     Did you sign this document after February
       21     2011?
       22               A.        I don't remember when I signed this
       23     document, so I cannot say that.
       24               Q.        So it is possible you signed this
       25     document after February of 2011?
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                                                                         Page 183
         1              A.        I don't remember when I signed this
         2    document.      I don't remember signing this document.
         3    I have seen this document, but I don't remember
         4    more.
         5                        MR. RIVERO:       I have to have a
         6    chance to object.         Dr. Wright, please pause for a
         7    moment.     It is not Mr. Freedman's fault.              You have
         8    to give me a chance, you have to give me a moment.
         9    I objected to the last question.
       10     BY MR. FREEDMAN:
       11               Q.        Dr. Wright, it is possible you
       12     signed this operating agreement in January 2020,
       13     isn't it?
       14               A.        No, it is not.
       15               Q.        Did you sign this operating
       16     agreement in January 2020?
       17               A.        No, I did not.
       18               Q.        Did you sign this operating
       19     agreement in December of 2019?
       20               A.        No, I did not.
       21               Q.        Did you sign this operating
       22     agreement in 2018?
       23               A.        No, I did not.
       24               Q.        Did you sign this operating
       25     agreement at any time from 2012 through the
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                                                                         Page 184
         1    present date?
         2              A.        I don't believe so.
         3              Q.        Did Dave Kleiman sign this
         4    document?
         5              A.        I didn't witness Dave Kleiman
         6    signing the document so I cannot make a comment.
         7              Q.        Why did Lynn Wright not sign the
         8    document?
         9              A.        If you do an exchange of documents
       10     then if Lynn Wright had this document then Lynn
       11     right would not be a signatory.              Generally, the
       12     way the document exchange works in Australia is
       13     the signatory signs a copy and is handed the other
       14     one, so generally what you end up with is an
       15     unsigned copy.       Even on my property that I've
       16     bought in Australia I have never had a copy even
       17     of my house deed that has my signature.                 In my
       18     deed for my house my copy does not have my
       19     signature, it has "Craig Wright" blank, and that
       20     is completely legal.
       21               Q.        Would you feel comfortable relying
       22     on this document, Dr. Wright?
       23               A.        For what?
       24               Q.        Would you feel comfortable having
       25     the court rely on this document?
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                                                                         Page 185
         1                        MR. RIVERO:       Object to the form.
         2              A.        For what?
         3    BY MR. FREEDMAN:
         4              Q.        For anything.
         5              A.        I would not say I would be
         6    comfortable in having a document for anything that
         7    I have not read and looked at and whatever else
         8    when I am not a shareholder or anything like this.
         9    So, no, being that in March of 2011 I was no
       10     longer a director of Information Defense would
       11     I sit there and want to rely on anything which --
       12     "anything" is infinitely large.              No, I would not
       13     sign, in front of 100 witnesses, my birth
       14     certificate saying that it was me with a photo and
       15     say "Yes, I will rely on this for anything".
       16               Q.        Would you have the court rely on
       17     this to establish the ownership of W&K?
       18               A.        I would ----
       19                         MR. RIVERO:       Object to the form.
       20               A.        I would ask Lynn Wright.            If I was
       21     going to rely on a document from a company that
       22     another person owns I would ask generally how you
       23     attest to documents; you get a person to attest to
       24     them.
       25     BY MR. FREEDMAN:
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                                                                         Page 186
         1              Q.        I am going to put up on the screen
         2    for you what has been produced in this litigation
         3    as Defense 01854320.          Do you see that document?
         4          (Exhibit Defense 01854320 referred to)
         5              A.        I see that document.
         6              Q.        This is the document to which the
         7    operating agreement -- this is e-mail, sorry, to
         8    which the operating agreement was attached.                  Do
         9    you see that it appears to be sent on 4/1/11 to
       10     Dave Kleiman with a cc to Craig Wright?
       11               A.        Yes.
       12                         MR. RIVERO:       Can we have the number
       13     again?
       14     BY MR. FREEDMAN:
       15               Q.        1854320.      Do you remember receiving
       16     this e-mail, Dr. Wright?
       17               A.        No, I don't.
       18               Q.        Was your e-mail address
       19     cwrigh20@postoffice.csu.edu.au ever hacked or
       20     compromised, to your knowledge?
       21               A.        I don't know.        I did not use it.
       22     It was my university account and I never -- I
       23     hardly ever logged in and checked that.                 I had
       24     earlier -- up until 2006 or '7 I used it back when
       25     I was working at BDO, but after that I hardly used
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                                                                         Page 187
         1    that e-mail address.
         2              Q.        How did Lynn Wright know to give
         3    you these documents in the recent past?
         4              A.        I spoke to her.
         5              Q.        You asked her for any documents?
         6              A.        Yes.
         7              Q.        She sent you media via the post?
         8              A.        She sent me some media and she sent
         9    me some other documents.           She sent some e-mails
       10     and I cannot remember what else she sent me.
       11               Q.        How did she get you the media?
       12               A.        I get boxes all the time.
       13               Q.        Did she ship them to you?
       14               A.        Quite possibly.        I never paid any
       15     attention to the boxes.           When I get things
       16     delivered they get delivered.
       17               Q.        Do you have a tracking number for
       18     that box?
       19               A.        No.
       20               Q.        Do you think Ms. Wright has a
       21     tracking number for that box?
       22               A.        My ex-wife is horrible at
       23     administration so I very much doubt it.                 Sorry,
       24     I don't want to sound mean, but she is.
       25               Q.        Do your attorneys have the tracking
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                                                                         Page 188
         1    information for these boxes?
         2              A.        I have no idea what my attorneys
         3    have on any of this.
         4              Q.        Dr. Wright, you are a forensic
         5    examiner of evidence, right?
         6              A.        Not any more, no.
         7              Q.        You were a forensic examiner of
         8    evidence, correct?
         9              A.        Yes.
       10               Q.        You understand, do you not, the
       11     importance of chain of custody, do you not?
       12               A.        In this case no, because the chain
       13     of custody would be going to Lynn Wright and
       14     getting the original.
       15               Q.        Are you aware that we asked Lynn
       16     Wright for all the documents relating to W&K and
       17     she told us she did not have any?
       18               A.        I don't know what Lynn Wright said.
       19               Q.        Dr. Wright, did you forge these
       20     documents?
       21               A.        No.
       22               Q.        Did you have somebody forge these
       23     documents?
       24               A.        No.
       25               Q.        Dr. Wright, have you tried to log
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                                                                         Page 189
         1    into Satoshi's Bitcointalk account to collect
         2    documents for this case?
         3               A.        There is no Satoshi's Bitcointalk
         4    account.        The Bitcointalk account was created in
         5    2011 after Satoshi left and stopped being involved
         6    with Bitcoin.        That is one of the things you seem
         7    not to understand.         Bitcoin.com/forums was the
         8    source of what became Bitcointalk.
         9               Q.        The Bitcoin.org account, have you
       10     tried to log into that to collect documents for
       11     this case?
       12                A.        There is no Bitcoin.org account to
       13     log into.        What do you mean by a Bitcoin.org
       14     account?        That is a domain.
       15                Q.        Satoshi's account on Bitcoin.org.
       16                A.        There is no Satoshi's account at
       17     Bitcoin.org.        The domain was first taken over by
       18     Theymos (Michael Marquardt).             That was then moved
       19     multiple times be between now and where it is.
       20     The domain, web server and other things have no
       21     relevance to the original.            There was no
       22     Bitcoin.org website sort of being used to store
       23     documents with companies.
       24                Q.        Sorry, I think I meant
       25     Bitcointalk.org.        Do you recall having a user name
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                                                                         Page 190
         1    Satoshi on Bitcointalk.org?
         2              A.        As I just stated, Bitcointalk.org
         3    was not the original forum.            The original forum
         4    was Bitcoin.org/forums.
         5              Q.        Dr. Wright, Satoshi opened an
         6    account on what eventually became Bitcointalk.org
         7    November 19, 2019 at 7.12.39 p.m.              Did you open
         8    that account?
         9              A.        No.    Bitcoin.org/forums was
       10     originally that and that was migrated to a new
       11     site, so you are confusing the two.               The old site
       12     that had all my posts was migrated to a new site.
       13               Q.        So the account that now resides on
       14     Bitcointalk.org and reflects the name Satoshi that
       15     was registered on November 19th 2009, you did not
       16     open that account?
       17               A.        Bitcointalk was not the original
       18     forum site.      Bitcointalk was formed to migrate the
       19     forum site.
       20               Q.        So Dave opened that account?
       21               A.        No, Dave did not open that account.
       22     Dave was not able to.          Dave was actually in
       23     hospital.      Dave was under operations and
       24     unconscious during some of the times when Satoshi
       25     was communicating, when I was communicating.                  Dave
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                                                                         Page 191
         1    was literally out.          He was not available, not able
         2    to talk because when you are under anaesthetic --
         3    not local -- when he was knocked out, under full
         4    complete surgery, it is not possible to sit there
         5    on your laptop and type messages.
         6              Q.        Have you tried to log into any of
         7    the accounts you opened as Satoshi, on any forum,
         8    to collect documents for this case?
         9              A.        No.
       10               Q.        Why not?
       11               A.        Because Bitcoin.org/forums no
       12     longer exists.       The original site, the original
       13     SourceForge repository, were all disabled.                    It was
       14     migrated in I believe 2013 at the latest, where
       15     Gavin Andreson and others stopped SourceForge,
       16     which I prefer, and started using Github.                 The
       17     website was migrated earlier than that.                 The
       18     original forums were altered and changed so that
       19     new administrators -- not me -- could be
       20     appointed.
       21               Q.        Dr. Wright, wouldn't your password
       22     still open that account?
       23               A.        No, they would not.
       24               Q.        Have you tried?
       25               A.        Nope.
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                                                                         Page 192
         1               Q.       Have you tried to collect e-mails
         2    from Satoshi's GMX account for this case?
         3               A.       No.    The GMX account was
         4    compromised years ago.
         5               Q.       Did you try to log in and get the
         6    documents from it?
         7               A.       The GMX account was compromised
         8    years ago.      The GMX account no longer exists.               The
         9    compromise happened more than five years before
       10     this case.
       11                Q.       "Compromised" meaning the password
       12     was changed?
       13                A.       No, meaning totally taken over.
       14     After it was closed down a new Satoshi e-mail
       15     account was started.
       16                Q.       So the Satoshi GMX account no
       17     longer exists; is that accurate?
       18                A.       No, there is a new Satoshi GMX
       19     account.
       20                Q.       The original e-mails no longer
       21     reside in your Satoshi GMX account; is that
       22     accurate?
       23                A.       Yes.
       24                Q.       Did you try to log into Satoshi's
       25     Vistomail account to collect documents for this
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                                                                         Page 193
         1    case?
         2              A.        No, I did not.
         3              Q.        Why not?
         4              A.        Because I have not logged into
         5    there for ages and Vistomail requires payment.
         6    Without payment the account goes into lockdown and
         7    basically you end up not being able to log in.
         8              Q.        Can you pay and log back in?
         9              A.        No.     Vistomail is not a standard
       10     open thing where you can communicate with anyone
       11     properly.      It is run by a bunch of anarchists who
       12     -- yes, well, they are anarchists.               On top of that
       13     the site was taken over in 2013.              A new company
       14     bought the site and re-enabled a new version, so
       15     the disabled accounts no longer exist.
       16               Q.        Have you tried logging into
       17     Satoshi's Anonymous Speech account to provide
       18     documents for this case?
       19               A.        Anonymous Speech and Vistomail are
       20     the same server.          If you have Satoshi@vistomail.
       21     anything and Satoshi@anonymousspeech. anything,
       22     they are the same account.
       23                         MR. FREEDMAN:        Can we take a two
       24     minute break.
       25               (Recess at 4.55 p.m. to 5.04 p.m.)
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                                                                         Page 194
         1                        MR. FREEDMAN:        I just got back.
         2    How much time have we been on the record for?
         3                        THE VIDEOGRAPHER:         Four hours and
         4    eight minutes.
         5    BY MR. FREEDMAN:
   H     6               Q.       Dr. Wright, I am going to put up a
         7    PDF of an e-mail for you.            Can you let me know if
         8    you see it.      It has been produced as Defense
         9    46098.     Dr. Wright, can you see that now?
       10              (Exhibit Defense 46098 referred to)
       11                A.       Yes, I see this now.
       12                Q.       Okay.     Do you recognise this as an
       13     e-mail from you to Mark Italia at the Australian
       14     Tax Office, with a cc to your wife?
       15                A.       As a director and Jamie Wilson as
       16     the CFO at the time.          That was something that was
       17     instructed to be sent.
       18                Q.       Okay, but it is something that you
       19     sent?
       20                A.       It is something I instructed to be
       21     sent.
       22                Q.       Did you look it over before you
       23     sent it?
       24                A.       I -- what do you call it --
       25     dictated it, so ----
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                                                                         Page 195
         1               Q.       Okay.     Did you manage the private
         2    keys to any Bitcoin in 2013?
         3               A.       Well, yes.
         4               Q.       Who were you managing the private
         5    keys for?
         6               A.       I had my own Bitcoin as well.              I
         7    mean, I still do now.          I have Bitcoin; I use it.
         8    I have never not used Bitcoin, so if you are
         9    asking about my Bitcoin -- not trust bit or
       10     anything like this -- I had Bitcoin and was
       11     occasionally buying and selling on Mt. Gox in
       12     small amounts.        I had stuff that I was
       13     experimenting with between the companies where we
       14     were sending transactions back and forwards,
       15     generally in the order of around 14 to 15 Bitcoin
       16     at any time, and sometimes maybe up to 30 or 40.
       17                Q.       Just 30 or 40, not 30-40,000?
       18                A.       30-40.     If I say 40,000 I mean
       19     that.    I'm a mathematician so I do know the
       20     difference between 40K and 40.
       21                Q.       So we can assume when you say a
       22     number you mean what you say?
       23                A.       Numbers, yes.
       24                Q.       Dr. Wright, I am going to share
       25     with you another e-mail.           It's a copy of an
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                                                                         Page 196
         1    e-mail, a printout of an e-mail bates labelled
         2    Defense 00027325.         It appears to be a meeting note
         3    from Dave Kleiman to Craig@panopticrypt, dated
         4    February 2nd 2013.         Do you see that on the screen?
         5          (Exhibit Defense 00027325 referred to)
         6               A.        I see that.
         7               Q.        Is this an e-mail Dave sent to you?
         8               A.        I will assume that it is, for the
         9    moment.     It looks familiar.
       10                Q.        I actually need you to tell me if
       11     you believe it is an e-mail.
       12                A.        I believe it is an e-mail.
       13                Q.        That you received from Dave
       14     Kleiman?
       15                A.        It looks familiar.        It looks like
       16     something he would say.           More than that, I cannot
       17     tell you.
       18                Q.        I'm going to put up another e-mail
       19     on the screen for you.          This Bates labelled DEFAUS
       20     00119167.        I apologise, we have looked at this
       21     already.        We can skip it.     Did you ever tell Ira
       22     -- strike that.        You entered into a contract for
       23     Dave to develop software for you through W&K,
       24     isn't that right?
       25                A.        Yes, I wanted Dave to extend the
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         1    software that I already had.             It is not right to
         2    say that I wanted him to develop by itself,
         3    I wanted him to extend the development of code
         4    that I already had obtained.
         5               Q.        And did he actually extend that
         6    software for you?
         7               A.        No, Dave did not do any work on any
         8    of that software.
         9               Q.        Did you tell Ira that Dave did work
       10     on that software?
       11                A.        I was led to believe at first, and
       12     I did believe because Dave had told me he was
       13     working.        Dave never returned the software and
       14     with information that I now have I believe Dave
       15     never did any work.
       16                Q.        Did you receive Dave's software two
       17     weeks before he died?
       18                A.        Dave did not send any software.
       19     There is no "Dave's software".             What I, as I said,
       20     believed, because of what Dave was telling me, was
       21     money that I was giving him to fund people that he
       22     was actually putting into Silk Road was not to buy
       23     coders, not to develop code, but to buy drugs.
       24                Q.        When did you find out that Dave had
       25     not been working on the software?
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                                                                         Page 198
         1               A.       Last year.
         2               Q.       Did you ever tell the Australian
         3    Tax Office that Dave sent you software -- strike
         4    that.     Did you ever tell the Australian Tax Office
         5    that you received Dave's software two weeks before
         6    he died?
         7               A.       No, I did not.
   H     8               Q.       I'm going to share another e-mail
         9    with you now.       Let me know if it's up there.             This
       10     is Bates Defense 00027396.            Let me know if you
       11     recognise this e-mail?
       12             (Exhibit Defense 00027396 referred to)
       13                A.       It is possible that it is one that
       14     I transcribed.       It looks like one -- negotiations
       15     with Assistant Commissioner Hardy.
       16                Q.       It is an e-mail from you to the
       17     Assistant Commissioner Michael Hardy at the
       18     Australian Tax Office that was cc'd to your wife
       19     and the CFO of your company; is that accurate?
       20                A.       Yes, my wife as a director though.
       21                         MR. RIVERO:       I'll assert whatever
       22     objections are appropriate, preserving those as to
       23     the communication.         Go ahead and answer,
       24     Dr. Wright.
       25     BY MR. FREEDMAN:
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                                                                         Page 199
         1              Q.        You bcc'd yourself on this
         2    communication; correct?
         3              A.        There is a bcc to my name, but I do
         4    not know what the actual e-mail address and from
         5    or my name happens to be, so I cannot make any
         6    comment on that because you can put Craig S.
         7    Wright and have it go to fake-mailaddress@fake.com
         8    and have it display from, so I am assuming.
         9              Q.        Do you have any reason to believe
       10     that this is a faked e-mail?
       11               A.        I have not read it all yet.
       12               Q.        Okay.     Why don't go ahead and read
       13     it.
       14               A.        It looks like the thing that we
       15     were sending off to Mr. Hardy before we had a
       16     meeting with him.          More than that I cannot say.

  H    17               Q.        Can you read for the record the
       18     paragraph that starts off with "the addresses are
       19     in my control"?        I am going to mark it for you so
       20     it is easier.
       21               A.        Yes.     "The addresses are in my
       22     control now as a matter of fate and other
       23     circumstances.       David Reese and David Kleiman have
       24     both be essential parts of this project.                 Both of
       25     these gentleman, who I had the good fortune to
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                                                                         Page 200
   H     1    call friends, passed away this year.               David Reese
         2    was a friend of my grandfather before he died of
         3    Parkinson's. David Kleiman was my best friend."
         4              Q.        Was this something that you
         5    dictated, Dr. Wright?
         6              A.        Yes, this sounds like something
         7    I would dictate.
         8              Q.        What did you mean by "fate"?
         9              A.        I mean exactly the meaning of the
       10     word.    Fate means circumstances beyond control, so
       11     the fact that my best friend died is fate,
       12     misfortune.      It would not be a random occurrence.
       13     When someone commits suicide it is still fate.
       14               Q.        What did you mean by "under the
       15     circumstances"?
       16               A.        If you take a combination of
       17     barbiturates, opiates and cocaine then either you
       18     are intentionally committing suicide or you are
       19     really stupid.       But with cocaine in one's system,
       20     with alcohol in one's system, barbiturates in
       21     one's system I cannot preclude just being stupid.
       22               Q.        Dr. Wright, did you have control
       23     over these addresses when you wrote this e-mail to
       24     the Australian Tax Office?
       25               A.        Control, yes.
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                                                                         Page 201
         1              Q.        Do you still have control over
         2    these addresses?
         3              A.        No.     Most of those have been used.
         4              Q.        By you or someone at -- Ritzela De
         5    Gracia?
         6              A.        Ritzela De Gracia did not take all
         7    these addresses.          As I said, we gave rights to the
         8    companies, through the trust arrangements, through
         9    the company arrangements, through the assignment
       10     of rights.      The rights assignment was all
       11     documented.      All of the transactions, the
       12     transfers and the movement of every bit of rights
       13     were documented and the movement of C01N has
       14     nothing at all, contrary to what a whole lot of
       15     lying scumbags will tell you, about private keys.
       16     That is what people who have no idea about Bitcoin
       17     and those who seek to tell governments that they
       18     cannot control Bitcoin, that it is an anarchistic
       19     experiment, tell you.
       20               Q.        Dr. Wright, as part of this e-mail
       21     you see you attached a graphic.              That graphic is
       22     pretty difficult to read so I went ahead and
       23     downloaded the native for us to look at.                 It's a
       24     little clearer, right?
       25               A.        Yes, it is a little clearer.
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                                                                         Page 202
   H     1              Q.        You told the ATO that these
         2    addresses are in your control now as a matter of
         3    fate and other circumstances.             You listed these
         4    addresses and you attached this image of all these
         5    other addresses; is that a fair characterisation
         6    of this e-mail?
         7              A.        Yes.    We were in negotiations,
         8    telling the ATO, "Look, we want to register
         9    everything under capital gains and other such
       10     things so that we will pay tax on all our
       11     Bitcoin".
       12               Q.        Dr. Wright, in this graphic to the
       13     ATO with addresses there is a list of addresses on
       14     the right-hand side.          On the left-hand side there
       15     is a list of labels; do you see that?
       16               A.        Yes, I do.
       17               Q.        Do you see there is one address
       18     that is kind of redacted out from the picture?
       19               A.        Yes, I do.
       20               Q.        Can you read the label of that
       21     address please?
       22               A.        CSW to Dave Kleiman - DV.
       23               Q.        You put the word "to" in there.
       24     Can you read it again for the record?
       25               A.        The dash is a "to", in my parlance.
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                                                                         Page 203
         1              Q.        Okay, but just read the -- you have
         2    gone so far as to read full colons to me on the
         3    record.     Can you just read ----
         4              A.        CSW - Dave K - DV.
         5              Q.        What does DV mean?
         6              A.        DV was just a reference in accounts
         7    for payments I made to Dave Kleiman.
         8              Q.        Why did you use the letters DV to
         9    reference payments to Dave Kleiman?
       10               A.        Because it was under an account
       11     field where it had DV.
       12               Q.        Why not DK?
       13               A.        Because it was Dave Kleiman on the
       14     other part and DV was to do with the project.                   It
       15     was nothing to with the name.             DV is not a name
       16     marker, Dave Kleiman is.
       17               Q.        What did the project DV stand for?
       18               A.        It was my payments to Dave Kleiman.
       19               Q.        For what?
       20               A.        Dave needed money quite often and
       21     he also needed to, basically, hospital bills,
       22     other such things.         I sent him money on occasion.
       23               Q.        Dr. Wright, it seems to me -- let
       24     me restate that.        Dr. Wright, there is a Bitcoin
       25     wallet address that you have both your name and
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                                                                         Page 204
         1    Dave Kleiman's name associated with; is that an
         2    accurate representation of this ----
         3              A.        Not at all in one bit.
         4              Q.        Okay.     Dr. Wright, can you tell me
         5    everything that has ever told orally ----
         6              A.        Can I tell you what, sorry?
         7              Q.        Can you tell me anything that Ira
         8    Kleiman has ever told you orally, via the phone,
         9    Skype, oral conversations?            Can you tell me
       10     anything Ira has ever told you?
       11                         MR. RIVERO:       Object to the form.
       12               A.        Yes, I can tell you anything that
       13     he has said.       Not everything.
       14     BY MR. FREEDMAN:
       15               Q.        Please go ahead and try to tell me
       16     everything he said.
       17                         MR. RIVERO:       Object to the form.
       18               A.        Ira Kleiman has told me he wants me
       19     to hold his shares in my name because if I
       20     transferred them and put them in other names that
       21     would, basically, mean he had to pay tax and we
       22     would not want him paying tax, he said.                 Ira
       23     Kleiman said, "No, don't give those shares to my
       24     father.     My father's too old and senile.              It is
       25     better that I manage him".            Then he corrected
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                                                                         Page 205
         1    himself -- I remember this one -- and said "manage
         2    it for him".       Ira Kleiman had told me, "Look,
         3    wouldn't it be better if we just put everything
         4    into Bitcoin accounts so that everyone can spend
         5    money without having to worry about the government
         6    finding what we own.          Bitcoin is anonymous, isn't
         7    it?"     He asked me, "Can I buy goods and services
         8    like even a house or a car, without telling the
         9    government, if I've got Bitcoin?              So, how do
       10     I make sure that I make sure my Bitcoin is never
       11     taxed?"     Ira said lots of comments along these
       12     lines.     He made sure that his father was locked
       13     out of any shares, he tried to gain access to
       14     shares.     He talked to me about an offer that I had
       15     to, basically, buy him out.            I had an offer that
       16     would have funded my companies, but they didn't
       17     want any problematic shareholders so they,
       18     basically, made me an offer saying look, "We'll
       19     buy this guy out under the condition that he is
       20     completely gone", to which I made Ira an offer for
       21     his Coin-Exch shares of $12 million paid over
       22     three years.       Ira said, basically, to the effect
       23     of, "Then I'm going to have to pay tax".                 Then
       24     when he got that, "I think I'm worth more, Dave
       25     would have wanted more".           I can keep going on
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                                                                         Page 206
         1    about these sorts of things.             I found them
         2    sickening.
         3              Q.        Please do.      I would like you to
         4    tell -- why don't we take one step back before you
         5    continue and just tell me how many times have you
         6    spoken to Ira on the phone, or via Skype or any
         7    other voice communication system?
         8              A.        I don't know.        Too many.
         9              Q.        Please go ahead and continue.             Tell
       10     me anything else you recall that he's told you?
       11               A.        That is basically the total of it.
       12     The majority of what he wanted was him -- "How do
       13     I get more money?         How do I get money without
       14     paying tax?      How do I buy things without everyone
       15     knowing?"      Fairly much the totality of most of my
       16     communications with him were those.

  H    17               Q.        Okay.     Thank you, Dr. Wright.          I am
       18     going to put on the screen for us some documents;
       19     do you see this. Dr. Wright?
       20               A.        I see that.
       21               Q.        It purports to be an Auscript
       22     transcript of an Australian Taxation Office record
       23     of interview between Des McMaster, Hoa Doa,
       24     yourself, John Chester and Andrew Sommer, dated
       25     18th February 2014 and bearing the Bates label
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                                                                         Page 207

   H     1    DEFAUS 00115520.
         2          (Exhibit DEFAUS 00115520 referred to)
         3                        MR. RIVERO:       Same position as
         4    previously noted.
         5    BY MR. FREEDMAN:
         6              Q.        Dr. Wright, are you familiar with
         7    this transcript?
         8              A.        I am familiar with this erroneous
         9    document that was basically put around Gizmodo and
       10     other sources, yes.
       11               Q.        Is it your position that an
       12     interview occurred at this date, this is just not
       13     an accurate transcript of that interview?
       14               A.        It is my statement that this was so
       15     badly done that Mr. Des McMaster was sent to Papua
       16     New Guinea as punishment.           They took him out of
       17     the country and shoved him into a rural area.                   The
       18     thing was actually a rural village in Papua New
       19     Guinea as his punishment.           The accuracy of this is
       20     less than if I get a dartboard and throw Scrabble
       21     letters at it.
       22               Q.        Let me break down my question.              Dr.
       23     Wright, did a meeting between these six
       24     individuals occur instantly on Tuesday 18th
       25     February 2014?
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                                                                         Page 208
         1              A.        No, there were seven individuals.
         2              Q.        Who was the seventh individual that
         3    is not listed?
         4              A.        There was another person from the
         5    Australian Tax Office.
         6              Q.        Was there a recording being done of
         7    that interview?
         8              A.        No.
   H     9              Q.        Dr. Wright, I am going to show you
       10     another transcript which purports to be an
       11     Auscript transcript of a meeting with the
       12     Australian Tax Office, between Andrew Miller, Des
       13     McMaster, Jennifer Trinh and yourself, John
       14     Chester and Andrew Sommer, dated 20th March 2014.
       15     Do you see that transcript?            It bears the Bates
       16     label Defense 00053142.
       17           (Exhibit Defense 00053142 referred to)
       18               A.        I see the document that said
       19     "transcript of proceedings", that was basically
       20     junked by the tax office because it was so badly
       21     recorded and -- sorry, transcribed.
       22               Q.        The date on it, Dr. Wright -- was
       23     there a meeting with the Australian Tax Office and
       24     those six individuals on 28th March 2014?
       25               A.        I would have to double check, but
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                                                                         Page 209
         1    it looks about the right date.             From my
         2    recollection that is the correct date.
         3              Q.        Was this meeting recorded?
         4              A.        Without authorisation and basically
         5    a little thing under the table.              So not properly,
         6    no.
         7              Q.        It was transcribed but it's your
         8    position that transcription is inaccurate; is that
         9    an accurate characterisation of your position?
       10               A.        It is not ----
       11                         MR. RIVERO:       Objection.
       12               A.        It is so inaccurate that I could
       13     not even call it inaccurate.             If I randomly picked
       14     Scrabble characters and put them on a thing it
       15     would be more accurate than this document.
   H   16               Q.        I will move to the next document.
       17     On the screen now you will see an Auscript
       18     transcript of proceedings that purports to be a
       19     transcript of an interview that took place between
       20     Greg O'Mahoney and yourself at the ATO's office on
       21     August 11th 2014.         Do you see this document?           It
       22     has the Bates label Defense 00068665.
       23           (Exhibit Defense 00068665 referred to)
       24                         MR. RIVERO:       Object to the form.
       25                         MR. FREEDMAN:        Mr. Rivero, you can
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                                                                         Page 210
         1    make it on the record but you do have a standing
         2    objection to any ATO transcript.
         3                        THE WITNESS:       Can you zoom it in,
         4    please?     It's really hard to read.
         5    BY MR. FREEDMAN:
         6              Q.        Is that better?
         7              A.        Yes, that's better.
         8              Q.        Have you reviewed this transcript
         9    before?
       10                         MR. RIVERO:       Same objection.
       11               A.        No, I have not because I have never
       12     had a single interview with a single person.
       13     There have never been any interviews between
       14     myself as a single person and one-on-one with the
       15     ATO, so there is nothing to review.
       16     BY MR. FREEDMAN:
       17               Q.        Is it your position, Dr. Wright,
       18     that this interview never happened?
       19               A.        No.    If it has happened there was
       20     no interview between myself and O'Mahoney
       21     individually.       There were group interviews, there
       22     is no individual interview, so if this is only a
       23     two person interview it did not happen.
       24               Q.        I think actually, Dr. Wright, that
       25     it says up here that the interview was for Greg
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                                                                         Page 211
         1    O'Mahoney and Andrew Sommers.
         2              A.        Which shows it is already erroneous
         3    if you have multiple people interviewing me and
         4    not in the beginning.          Like I said, this document
         5    is not worth used toilet paper.
         6              Q.        Dr. Wright, did the fact that
         7    Mr. Sommers attended this interview refresh your
         8    recollection that an interview did take place on
         9    11th August 2014, it was transcribed but the
       10     transcription is so bad that you don't think it
       11     should be relied on.
       12                         MR. RIVERO:       Object to the form.
       13               A.        No, I would say there is a meeting
       14     and then there is a whole lot of trash after on
       15     this thing that purports to be a meeting that has
       16     nothing to do with it.
       17     BY MR. FREEDMAN:
       18               Q.        Okay, but the meeting occurred on
       19     that date, on or about that date; is that
       20     accurate?
       21               A.        I am say a meeting occurred, not
       22     the one they are saying interviewer/interviewee.
       23               Q.        Was the meeting that occurred on --
       24     strike that.       Dr. Wright, do you recall meeting
       25     with Greg O'Mahoney and Andrew Sommer at the
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                                                                         Page 212
         1    Australian Tax Office's office?
         2              A.        I recall multiple people, not just
         3    Greg.    He had at least two other assistants so,
         4    no, this particular thing is not right at all.                   If
         5    they cannot even get the number of people correct
         6    then, no, I don't recognise a meeting that
         7    suddenly in parts gains people.
         8              Q.        Was the meeting you attended at
         9    with Mr. O'Mahoney and Andrew Sommer recorded?
       10               A.        Not to my knowledge.
       11               Q.        Was that meeting transcribed?
       12                         MR. RIVERO:       Object to the form.
       13
       1 3              A.        Again, I was only in meetings with
       14
       1 4    O'Mahoney, and at least three other tax office
       15     people, and my lawyer and others so this is not an
       16     accurate, in any way, transcription.
       17     BY MR. FREEDMAN:

   H   18               Q.        Dr. Wright, I am now going to
       19     switch to another Auscript transcript between the
       20     Australian Tax Office that purports to reflect an
       21     interview between Greg O'Mahoney yourself and
       22     Andrew Sommer at the Australian Tax Office tax
       23     office offices on August 18, 2014.               It bears the
       24     Bates label DEFAUS 560317.            Do you see that?
       25             (Exhibit Defense 560317 referred to)
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                                                                         Page 213
   H     1               A.       Yes, I see another terrible attempt
                                                              atte mpt
         2    at a transcription proceedings that does not
         3    reflect what actually happened.
         4               Q.       Do you recall a meeting with the
         5    Tax Office representative Greg O'Mahoney, yourself
                                                        yours elf
         6    and Andrew Sommer on or about August 18, 2014?
         7               A.       No, because the interviewer was not
         8    actually Greg O'Mahoney.           Greg O'Mahoney was
         9    present.
       10                Q.       Who was the interviewer?
       11                A.       I don't remember her name, off
                                                             of f the
                                                                  t he
       12     top of my head.        A woman.     She was an assistant
       13     commissioner.
       14                Q.       When the transcript goes through
       15     showing O'Mahoney, Wright, O'Mahoney, Wright,
       16     O'Mahoney, Wright, you are saying that is
       17     incorrect?
       18                A.       I am saying nothing in any of these
       19     things is even remotely worth the paper it is
       20     printed on.
       21                Q.       Is it your testimony, Dr. Wright,
       22     that somebody just fabricated this entire
       23     transcript from whole cloth?
       24                A.       I am saying that one of the tax
       25     people actually got sent to a different country as
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         1    punishment because of all these.
         2              Q.        I understand that it is your
         3    position that this transcript was extremely
         4    inaccurate and not good, but I am trying to ask
         5    you is -- there are more documents, but so far we
         6    have looked at one transcript 41 pages, another
         7    transcript that is 97 pages, another transcript
         8    that is 46 pages.         We are now on another 46 page
         9    transcript and I am trying to understand if it is
       10     your position that somebody sat and fabricated
       11     this entire back and forth between you and the tax
       12     office, or if it's just your position that these
       13     meetings did occur but the transcription is
       14     horrendous and it should not be used.                That is my
       15     question, so which is your position?
       16                         MR. RIVERO:       Objection to the form
       17     of the question.        I will note a specific objection
       18     to the term "transcription" in this context, but
       19     go ahead and answer.
       20               A.        Being that one of the people in the
       21     tax office and I had a personal disagreement that
       22     goes back many years and that he didn't arrange in
       23     all of this.       I would actually say that not only
       24     is terrible but it is intentionally terrible.
       25     BY MR. FREEDMAN:
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                                                                         Page 215
         1               Q.       Okay.     Dr. Wright, we are in the
         2    February 18th 2014 transcript.             I am going to
         3    bring you back to that, the one bearing the Bates
         4    label DEFAUS 00115520.          I am going to bring you to
         5    page 31 of that transcript.            Do you see here
         6    Mr. Dolevski at line 31.           Can you read the record
         7    from here to the end of the page?
         8               A.       That is a Ms.        Do you want me to
         9    say the names as I read?
       10                Q.       Sure.
       11                A.       Dolevski:      "No, unfortunately."
       12     McMaster:       "Now we are coming to the end of the
       13     recording here."        Sommer: "Yeah.        Do you want to
       14     change it and then I'll wrap up?"              McMaster:
       15     "Yeah, I'll wait till it stops first."                Sommer:
       16     "Okay."     McMaster: "It has got to go through the
       17     process and then we can wrap.             I know, I know."
       18     Sommer: "Even the CDs are bureaucratic here.
       19     Sorry."     McMaster: "Well, you've got to write
       20     them.     What can I say?"        Sommer: "Oh, that was
       21     recorded too."
       22                Q.       Dr. Wright, does this help refresh
       23     your recollection that these transcripts were
       24     actually recorded?
       25                         MR. RIVERO:       Objection.
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                                                                         Page 216
         1               A.        The recording did not work in any
         2    of these things, as far as I know.               As far as
         3    I know, no they were not.
         4    BY MR. FREEDMAN:
         5               Q.        Does it help refresh your
         6    recollection that this was not a recording under
         7    the table without your knowledge?
         8                         MR. RIVERO:      Object to the form.
         9               A.        As I already said, this is not
       10     accurate so what you are saying is an inaccurate
       11     thing that was not reflecting -- the real thing is
       12     supposed to reflect my memory that I am going to
       13     change and go, "Oh no, it is real".               Sorry, no,
       14     I won't.        I didn't actually say I would accept
       15     being recorded and, no, they weren't meant to be.
       16     The fact that they've tacked in on the end, "Hey
       17     we are recording", too bad.
       18     BY MR. FREEDMAN:
   H   19                Q.        I am going to bring you to the
       20     August 2011 transcript, Defense 68665.                I'd like
       21     to direct your attention to the first three
       22     sentences from Mr. O'Mahoney.             Can you read that,
                                                                     that
       23     please, for the record?
       24              (Exhibit Defense 68665 referred to)
       25                A.        Not unless you zoom in a little
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                                                                         Page 217
   H     1    bit.
         2              Q.        Absolutely.       How is that?
         3              A.        That is better.        Thank you.       So the
         4    first how many sentences?
         5              Q.        Three, please.
         6              A.        "Thank you.       I will start with the
                                                                      t he
         7    formalities.       I think the interview of Dr. Wright
                                                              Wrig ht
         8    is informal, notwithstanding that it's been
         9    recorded and it's set down for two afternoons -
       10     today 11 August and 18 August".
       11               Q.        Does that help refresh your
       12     recollection that your interviews between Greg
       13     O'Mahoney in the tax office on 11th August 2014
       14     and 18th August 2014 were recorded?
       15                         MR. RIVERO:       Object to the form.

   H   16               A.        No.    The documents that
       17     Mr. McMaster and other people there wanted to say,
                                                            say
       18     so that this would be admissible when they were
       19     doing it, don't reflect reality, which has already
                                                         alread
       20     gone through.       The tax office did not have any
       21     reality in these documents, so saying do
       22     I remember these being recorded now that I have
       23     seen someone falsely having mucked around with
       24     things I said were totally false, no.                They stay
       25     totality false, they are totally false.
                                               false                  They did
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  H      1    not reflect the meetings in any manner.                 Every
         2    second word in these damn things is false.                  I had
         3    arguments with this.          I threatened to bring suit
         4    against the tax office because of this and they
         5    withdrew them all because practically not a letter
         6    in these things reflected what actually happened.
         7    BY MR. FREEDMAN:
         8              Q.        Dr. Wright, I am going to bring you
   H
         9    to the -- I believe we have already covered the
       10     August 18th transcript bearing Bates label Defense
       11     DEFAUS 560317 so I am going to bring you to the
       12     transcript dated Monday 7th December 2015, which
       13     was a transcript of a meeting with DeMorgan.                    Do
       14     you recall this meeting with the tax office?
       15               (Exhibit DEFAUS 560317 referred to)
       16               A.        I had meetings with the tax office,
       17     yes.
       18               Q.        Do you recall meeting with them on
       19     or about 7 December 2015?
       20                         MR. RIVERO:       Objection.
       21               A.        What date in 2015?
       22     BY MR. FREEDMAN:
       23               Q.        7th December 2015.
       24               A.        No, I was not in the country.
       25               Q.        There is another half of that
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                                                                         Page 219
  H      1    meeting, Dr. Wright, also bearing the bates label
         2    Defense 57864, which is the second half of that
         3    meeting.        Do you recall meeting with the ATO on
         4    December 7, 2015?
         5               A.        No, I was not meeting the ATO on
         6    7th December 2015.
         7               Q.        Is it your position that these two
         8    transcripts are fabricated from whole cloth, or
         9    just mis-stated?
       10                          MR. RIVERO:      Objection.
       11                A.        What you are saying now is, "Oh
       12     these bits are right".           The fact that -- I think
       13     was in either New Zealand or the Philippines or
       14     Manila at that day.         So you want to say that bits
       15     are right now?        Do we cherry pick each line by
       16     line until we construct a sentence that you like
       17     out of the words?         Do we play it like Scrabble?
       18     BY MR. FREEDMAN:
       19                Q.        Dr. Wright, you just said that the
       20     ATO withdrew these transcripts.              What evidence do
       21     you have to support the fact that they've
       22     withdrawn the transcripts?
       23                          MR. RIVERO:      Object to the form.
       24                A.        I don't anymore.        I'm not a
       25     director of those companies.             If they hadn't they
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                                                                         Page 220
         1    would have used them.          The whole point here is
         2    none of these were accurate.             The transcripts were
         3    given to us so that we would sign off on them and
         4    we told them where to go because they're not
         5    accurate.
         6    BY MR. FREEDMAN:
  H      7               Q.        Actually, Doctor, I want to bring
         8    up one of those.        This is an e-mail bearing a
         9    Bates label Defense 00053141.             If you take a look
       10     you will see the bottom e-mail is from
       11     johnchesher@hotwire to Craig Wright and
       12     ramonawatts@hotwire.          He's forwarding on an e-mail
       13     from Andrew Miller at the tax office, advising
       14     John that they are attaching the interview of 28th
       15     March 2014 from Auscript and they are providing
       16     you with a copy for your records; do you see that?
       17                A.        Yes, and following that we
       18     complained that they were horribly inaccurate.
       19                Q.        So was this a real e-mail that John
       20     Chesher sent to you and Ms. Watts?
       21                A.        I don't know.       It is an e-mail that
       22     Andrew Miller had that was forwarded from John
       23     Chesher.        More than that I cannot say.
       24                Q.        But it's an e-mail you received
       25     from John Chesher; is that fair?
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                                                                         Page 221
   H     1               A.        No.   As I said, this is the CEO
         2    e-mail account so it is a jointly received e-mail.
         3    Yes, we did receive transcript documents and then
         4    we basically called up and said they are a bunch
         5    of shit.        Des McMaster, as I said, ended up being
         6    sent to Papua New Guinea, which to the US would be
         7    the equivalent of being sent to a jungle swamp in
         8    Puerto Rico.
         9               Q.        You are aware that the Australian
       10     Tax Office denied all of your claims for refunds
       11     and issued extensive documents with findings
       12     citing these transcripts, and so I am at a loss
       13     for what your evidence is that they withdrew the
       14     transcripts and I would like you to tell me if you
       15     have any other evidence that they withdrew them?
       16                A.        The value of what the ATO say out
       17     of court is about zero.           These are the same people
       18     who accused me of recklessly overclaiming and made
       19     up other things to try and bankrupt me so that I
       20     would not get into court.           Basically, you're
       21     saying they would not make things up.                Actually,
       22     I went to court and I won.            The whole thing was
       23     they were attempting to bankrupt me so they
       24     couldn't get into court and win.              So in this case
       25     what happened was I resigned as director, I moved
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                                                                         Page 222
         1    overseas and then after Mr. Ira started causing
         2    problems then the funding for the Australian
         3    companies was pulled because Ira, causing
         4    problems, basically made it impossible to run the
         5    Australian companies.          So without Andrew being
         6    funded, without -- that's Sommer -- the
         7    accountants in KPMG and other places being funded,
         8    the ATO decided just to walk in there and close
         9    everything, and we were not going to fight it.
       10     The simple answer here is the reason they are
       11     closed is about 99% your client and his false
       12     statements that he made to the tax office.
       13                         MR. RIVERO:       I don't know if there
       14     is a technical problem but I was really trying to
       15     get an objection in to that question beforehand.
       16     I am not sure if I am being heard at all.                 I did
       17     state an objection before, to the question, for a
       18     number of reasons.
       19                         THE COURT REPORTER:          When the
       20     witness is peaking we don't hear any objection
       21     from you.
       22                         MR. RIVERO:       Dr. Wright,
       23     I suspected there might be some issue like that
       24     because I was really having to raise my voice a
       25     lot.    Dr. Wright, you have to give me a moment
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                                                                         Page 223
         1    because it may be that the court reporter says --
         2    I know sometimes these microphones work one-to-one
         3    and once one engages you cannot hear the others so
         4    I need a moment to state my objection.                Thank you.
         5    BY MR. FREEDMAN:
         6              Q.        Did you have access to the
         7    craig.wright@hotwirepe.com account?
         8              A.        Multiple people had access to the
         9    craig.wright@hotwirepe.com account.
       10               Q.        Dr. Wright, I had asked if you had
       11     access to the account.
       12               A.        Not on April 23rd I didn't.
       13               Q.        You did not have access to that --
       14     strike that.       Dr. Wright, did Robert Urquhart have
       15     access to the Hotwire PE account?
       16               A.        Yes, he would have.
       17               Q.        Is it your position then that when
       18     this was sent, that Robert Urquhart was the one
       19     who forwarded this e-mail to Ms. Watts?
       20               A.        No, it is not my position.
       21               Q.        Did you forward this e-mail to Ms.
       22     Watts?
       23               A.        I did not forward any e-mail on the
       24     23rd.
       25               Q.        Dr. Wright, I am going to share
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                                                                         Page 224
         1    with you a document ----
         2                        MR. BRENNER:       Can you just make
         3    clear on the record what the last document was?
         4    I don't think there is a record of what you were
         5    looking at.
         6    MR. FREEDMAN:
   H     7              Q.        That was an e-mail bearing the
         8    Bates label Defense 53141.            I am now going to
         9    share with you an e-mail that has been produced in
       10     this litigation as Kleiman 278248.               It purports to
       11     be an e-mail from your Craig Wright Hotwire
       12     account, to Ira Kleiman on February 8, 2014.                  It
       13     includes beneath it an e-mail that is signed by
       14     Dave and using Dave's PGP key.             It is two pages.
       15     I have scrolled through them quickly for you, but
       16     let me know if you want to go through anything
       17     again.    Do you see that?
       18              (Exhibit Defense 53141 referred to)
       19               A.        I see that.
       20               Q.        Is this an e-mail you forwarded or
       21     directed someone to forward to Ira?
       22               A.        It looks like an e-mail I directed
       23     to be forwarded.
       24               Q.        Is this a true and correct copy of
       25     an e-mail you received from Dave Kleiman?
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                                                                         Page 225
         1               A.       Without analysing the e-mail
         2    I cannot say whether it has been changed at all.
         3    It has a PGP signature but I don't know whether it
         4    is correct, whether something has been changed.
         5    It is not possible just to look at a signature and
         6    say it is the same.
         7               Q.       If the signature validates would
         8    that make you to feel comfortable to say that this
         9    is in fact an e-mail that you received from Dave
       10     Kleiman?
       11                A.       It would make me much more
       12     comfortable, yes.
       13                Q.       Did you ever have the key to this
       14     PGP key from Dave Kleiman?
       15                A.       No, I did not.
       16                Q.       I am going to share another
       17     document with you, Dr. Wright.             This is produced
       18     to us by your lawyers as Defense 68505.                 I have
       19     included the native as well as the Bates label,
       20     but I will show you the Bates label down here.
       21     There is the Bates.         Is this an e-mail that you
       22     recognise as having been sent from you to you,
       23     that appears to be forwarding on ----
       24              (Exhibit Defense 68505 referred to)
       25                A.       I don't know what the actual
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                                                                         Page 226
         1    e-mails are, so I am not sure -- it is Craig
         2    Wright to Craig Wright but that could be any
         3    e-mail, so I can't comment on that.               Anyone can
         4    send an e-mail address to be anything, so the
         5    "from" name without the e-mail address means
         6    nothing and the "to" name without the e-mail
         7    address means nothing.
         8              Q.        So you don't recognise this e-mail
         9    then?
       10               A.        I cannot say whether this is an
       11     e-mail that was forwarded to myself or which
       12     particular e-mail that it might have been
       13     forwarded to.
  H    14               Q.        Okay.     Dr. Wright I am going to
       15     share with you another document; Defense 68503.
       16     Do you see this document?
       17              (Exhibit Defense 68503 referred to)
       18               A.        I see a document, yes.
       19               Q.        Do you recognise this document?
       20               A.        It looks familiar, but I would have
       21     to -- I cannot prove every line by looking at it.
       22               Q.        It also has a history of e-mails
       23     that appear to be between you and Dave, and they
       24     appear to be signed by PGP key.              Do you see that?
       25               A.        I do.
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                                                                         Page 227
         1              Q.        Do these appear to be real e-mails
         2    between you and Dave?          Sorry, did you answer that?
         3              A.        Was that a question?

 H       4              Q.        Do these appear to be real e-mails
         5    before between you and Dave?
         6              A.        You did not say "do these", you
         7    said "these appear".          Yes, they appear reel.
         8              Q.        Dr. Wright, is it your position
         9    that everything with the DEFAUS Bates stamp is
       10     fabricated?
       11               A.        I cannot say whether everything is,
       12     but you are talking about machines that are
       13     captured from my wife's e-mail and my e-mail when
       14     we were no longer even in the country, so you are
       15     talking about even our personal e-mails and our
       16     children's details on machines that, well, quite
       17     simply should never have ever had access to that
       18     material.      So if you have something there then you
       19     have effectively had machines that have been
       20     hacked, and I would not trust anything that has
       21     been hacked other than to show that there has been
       22     something hacked.
       23               Q.        Dr. Wright, did you ever tell Ira
       24     that he would be releasing you from claims if he
       25     accepted shares in Coin-Exch?
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                                                                         Page 228
         1              A.        No, I never made any such thing.
         2              Q.        Did you ever tell Ira that he would
         3    be waiving any claims against you if he accepted
         4    shares in Coin-Exch?
         5              A.        No, I did not say anything like
         6    that.
         7              Q.        Did you ever sell your shares in
         8    Coin-Exch?
         9              A.        I did not sell my shares in
       10     Coin-Exch, I still have them.             I have not said
       11     anything about what Ira would or would not do
       12     because Ira is very simply a shareholder, so when
       13     I was no longer a director I would not say
       14     anything.      Before, when I was a director, it is
       15     very simple; you don't tell shareholders about
       16     claims or anything like this.             You have a valuable
       17     asset; what you choose to do with it is up to you.
       18     It is not my place, as a director of a company, to
       19     tell you what you should do with them, whether you
       20     should hold them, sell them or do anything else.
       21     My place as a director is to give you the books
       22     and accounts as they are signed off by the audit
       23     committee, as the independent and external
       24     auditors have signed them off, and hand them to
       25     the shareholders.
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                                                                         Page 229
  H      1              Q.        Thank you.      I am handing you
         2    putting up on the screen what has been marked as
         3    Defense 46800.       Do you agree with me that it
         4    appears to be an e-mail from you to Ms. Watts and
         5    Mr, Matthews, forwarding on an e-mail that you
         6    received from Patrick Paige?
         7            (Exhibit Defense 46800 referred to)
         8              A.        It is from my name so I cannot say
         9    which e-mail account it is from.              It says my name,
                                                                       name
       10     but that does not mean the e-mail.
       11               Q.        Let's go down to the original
       12     e-mail from Patrick.          Here at the bottom of the
       13     first page of the e-mail on November 20, 2015 at
       14     3.50 Patrick wrote you:           "High Craig, how goes it?
                                                                      it
       15     I just wanted to touch base with you.                I got a
       16     call from a reporter who left a message about Dave
                                                            Dav
       17     and you".      Do you recall receiving this message
       18     from Patrick Paige?
       19               A.        Yes, I did.
       20               Q.        Did you respond back to Patrick
       21     Paige with this e-mail that is in the middle of
       22     the first page, from Craig Wright to Patrick Paige
                                                           Paig
       23     on November 19, 2015 at 1.06 p.m.?
       24               A.        Yes, I responded back because I was
       25     under the belief that reporters were calling up at
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                                                                         Page 230
  H      1    about the computer designs and other things we
         2    were doing that I had been talking about.                 I did
         3    not realise what the actual nosiness of these
         4    reporters was, in effect.
         5              Q.        That is an e-mail that sent?
         6              A.        It looks like it, yes.
         7              Q.        Then there is an e-mail from
         8    Patrick back to you.          Do you remember receiving
         9    that as at 5.26 a.m. on November 24, 2015?
       10               A.        Yes, I have read that I did receive
       11     that.    I don't believe it has been changed.                It
       12     looks very familiar.
       13                         MR. FREEDMAN:        I need another five
       14     minute break.
       15               (Recess at 5.56 p.m. to 6.07 p.m.)
       16     BY MR. FREEDMAN:
       17               Q.        Dr. Wright, you previously
       18     testified that you have not produced any documents
       19     and that your lawyers produced them; do you recall
       20     that?
       21               A.        My lawyers were the ones that took
       22     the boxes, took everything else, so yes.                 I have
       23     basically handed them access to all of the boxes
       24     that I had from Australia and allowed them to take
       25     pretty much everything.
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                                                                         Page 231
         1              Q.        Have you given any documents
         2    directly to AlixPartners?
         3              A.        For this case?
         4              Q.        Yes.
         5              A.        No, I have given documents to
         6    AlixPartners for a different case here in Britain.
         7              Q.        Is it fair to say that any
         8    documents that you -- strike that.               Is it accurate
         9    to say that any documents that have been provided
       10     in this litigation have first gone through your
       11     counsel before they went anywhere else?
       12               A.        I don't know.
       13               Q.        Have you provided documents to
       14     anyone other than your counsel, as it relates to
       15     this case?
       16               A.        I have given documents to ----
       17               Q.        That was a bad question.            Let me
       18     clean that up for you.          Dr. Wright, have you given
       19     documents, to be produced in this litigation to
       20     Mr. Kleiman, to anyone other than your lawyer?
       21               A.        Well, let's see --- I'm not sure
       22     what you mean be that.
       23               Q.        Do you recognise that you have to
       24     have -- you were required by law to turn over
       25     documents in this litigation; do you understand
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                                                                         Page 232
         1    that?
         2               A.        Which every document I have been
         3    able to find I have turned over.
         4               Q.        Who have you turned them over to?
         5               A.        I turned them over to my US
         6    counsel, but I also have another case on a
         7    different matter running in the UK, so my UK
         8    counsel have access to other documents.                 I am not
         9    sure how the process works between UK counsel and
       10     US counsel.        I don't know if it goes from UK to
       11     US, I don't know if it goes from UK to
       12     AlixPartners to -- I have no idea.               I just give
       13     documents to lawyers and stuff happens.
       14                Q.        Have you provided documents to
       15     anyone other than your UK lawyers and your US
       16     lawyers for the purposes of this case?
       17                A.        As I said, I gave counsel these
       18     documents.        I have given access, under
       19     instruction, to AlixPartners and accountants that
       20     my lawyers are using.          I don't know what then
       21     happens.        For instance, there were web-based
       22     accounts to do with Zero.           I signed up the
       23     accounting forensic experts to Zero.               They have an
       24     account.        I don't know how that now works.
       25     I don't know if it goes directly -- I don't know.
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                                                                         Page 233
         1    It is people that my lawyers said to get access to
         2    things and I gave them access.             More than that I
         3    have no idea.
         4               Q.        You have given direct access to
         5    your systems to AlixPartners?
         6               A.        I have given direct access to some
         7    systems.        I don't know who the person is -- I got
         8    an e-mail address from my counsel and, as I said,
         9    I have given access, magic happens.
       10                Q.        Did you provide your lawyers with
       11     hard copy documents?
       12                A.        We had boxes of documentation that
       13     came over from the closure of the companies
       14     Australia.        There are hard copies in there.            They
       15     came around to my house, they took copies, the UK
       16     counsel took copies.          I do not actually know what
       17     they took.
       18                Q.        How many boxes were there?
       19                          MR. RIVERO:      Can I just say on this
       20     that with regard to, for example, hard copy
       21     documents of Mr. Wright, so referring to your
       22     question, I can tell you that in that instance Ms.
       23     McGovern and I initially reviewed a set ----
       24                          MR. FREEDMAN:       I appreciate it, but
       25     I don't want you to testify.             I would like to hear
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                                                                         Page 234
         1    the answer from Dr. Wright.            We have a limited
         2    amount of time.        I am happy to confer with you
         3    after this deposition is over.
         4                        MR. RIVERO:       I don't want       him to
         5    give misleading testimony about the production of
         6    documents that are guided by counsel.                I object to
         7    the line of questioning.           Ask your next question.
         8    BY MR. FREEDMAN:
         9              Q.        How many boxes of hard copy
       10     documents were there?
       11               A.        I don't know.        A lot.
       12               Q.        Ten?
       13               A.        More.
       14                         MR. RIVERO:       Object to the form.
       15     MR. FREEDMAN:
       16               Q.        20?
       17                         MR. RIVERO:       Objection.
       18               A.        I don't know.
       19     BY MR. FREEDMAN:
       20               Q.        Where were these hard documents
       21     stored prior to being collected by your attorneys?
       22               A.        They were in sealed banker boxes
       23     that came over from Australia.             The sealed banker
       24     boxes were in a storage room in our house.
       25               Q.        Who sent them to you from
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                                                                         Page 235
         1    Australia?
         2               A.       I don't know.        Think it was either
         3    Ali Lodey or someone acting under direction from
         4    either Alan Granger or Stefan Matthews.
         5               Q.       When did those boxes arrive?
         6               A.       End of 2016, beginning of 2017.
         7               Q.       So have you moved these between
         8    10-20 boxes with you as you've moved around?
         9               A.       They basically came into storage in
       10     -- we've moved once with those boxes, but I don't
       11     know.     It is more than 20 boxes, that is all
       12     I know.     Ramona was the final director, so they
       13     come for her, so they are not my boxes, they have
       14     just been in the house I share with my wife.
       15                Q.       Were the boxes labelled?
       16                A.       I don't know.        I never had anything
       17     to do with them.
       18                Q.       Were the documents in folders?
       19                A.       I don't know.        I have believe some
       20     were.     I watched as my counsel were working
       21     through boxes, but I didn't interact with them
       22     much.
       23                Q.       Where are those boxes now?
       24                A.       The boxes have been thrown away,
       25     I believe, but the contents are with lawyers.
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                                                                         Page 236
         1              Q.        Have you provided your lawyers or
         2    AlixPartners with any devices containing
         3    electronically stored information?
         4              A.        Yes.
         5              Q.        Which devices did you provide
         6    access to?
         7              A.        We had at least 20 laptops that
         8    were sent over from Australia, staff laptops that
         9    came over.      We did not have any of mine because
       10     I destroyed my accounts in 2016.              What else was
       11     there?    There were old hard drives, there were
       12     CDs, papers, USB sticks, all sorts of things.
       13     Just tons of material.
       14               Q.        When did they arrive?
       15               A.        I don't remember.
       16               Q.        Who sent them to you?
       17               A.        Who sent what to me, sorry?
       18               Q.        Who sent the media devices to you?
       19               A.        I don't know.        I wasn't the
       20     director at the end.          I didn't pay attention, they
       21     were just stored in my house.
       22               Q.        How did you determine whether to
       23     put a Defense Australia Bates stamp or just a
       24     Defense Bates stamp on documents?
       25                         MR. RIVERO:       Objection.      Answer if
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         1    you can, Dr. Wright.
         2              A.        I have no idea.        I can only say
         3    discussions I have had with my lawyers in the last
         4    few months.      Before that I have no idea
         5    whatsoever.      I talked about some of this and I've
         6    picked up and gleaned by talking to my lawyers,
         7    but I did not put any defense labels on at all.
         8    I have not been involved in producing evidence to
         9    this court, other than to hand things to my
       10     lawyers and forensic people to do their job.
       11     I have not touched, analysed, looked at, searched,
       12     or anything, any device, any paper, anything.
       13                         MR. RIVERO:       Don't go over your
       14     conversations with counsel.
       15     BY MR. FREEDMAN:
       16               Q.        How can you tell the difference
       17     between an Australian device and a non-Australian
       18     device?
       19               A.        I am not sure what you are asking.
       20               Q.        You have said that these documents
       21     were in Australia or these were on machines that
       22     reside in Australia, so I'm trying to understand
       23     how you know which documents came from Australia
       24     and which documents were never in Australia,
       25     outside of your supervision.
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         1                        MR. RIVERO:       Objection.
         2    Mr. Freedman, I believe you know that at your
         3    request we were asked to distinguish between
         4    documents ----
         5                        MR. FREEDMAN:        Please don't testify
         6    for your client or coach your client.                I am asking
         7    questions.      We have repeatedly tried to meet and
         8    confer with you on this and you have repeatedly
         9    told us to discuss this with your client at
       10     deposition.      I am now trying to do that and I
       11     would appreciate if you let me ask the questions
       12     and get answers.          If you have an objection,
       13     object.     If you want to instruct not to answer,
       14     instruct not to answer and we will bring it to the
       15     court.     Unless it is one of the two things I ask
       16     you to please stay quiet while I ask my questions.
       17     Dr. Wright -- Mr. Rivero, please.              Do you have an
       18     objection to make or do you have an instruction to
       19     give?
       20                         MR. RIVERO:       I have an objection to
       21     make and I reserve my instruction.               Let's see what
       22     happens.     You requested that we distinguish
       23     between documents that we obtained in UK and in
       24     ----
       25                         MR. FREEDMAN:        This is not an
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         1    appropriate objection and if you don't stop I'm
         2    going to ask the court to intervene.
         3                        MR. RIVERO:       You have to let me
         4    finish.
         5                        MR. FREEDMAN:        It is inappropriate.
         6                        MR. RIVERO:       You are speaking over
         7    me.   You asked us to distinguish and identify what
         8    we ----
         9                        MR. FREEDMAN:        I would ask that we
       10     allow the court to weigh in on whether or not this
       11     is an appropriate objection before you continue
       12     because I believe that this has the unintended
       13     effect of guiding the witness in his answers and
       14     it at a minimum should be held outside the
       15     witness's presence.
       16                         MR. RIVERO:       Ask your next
       17     question, please.         This is really improper.           Go
       18     ahead.
       19     BY MR. FREEDMAN:
       20               Q.        Dr. Wright, how are you aware which
       21     devices resided in Australia and which devices did
       22     not reside in Australia?
       23                         MR. RIVERO:       Same objection.
       24               A.        Do I respond?
       25                         MR. RIVERO:       Yes, respond.
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                                                                         Page 240
         1              A.        My lawyers told me.
         2                        MR. RIVERO:       Don't respond with
         3    what your lawyers told you.
         4    BY MR. FREEDMAN:
         5              Q.        How would your lawyers know whether
         6    or not a device was in Australia or whether a
         7    device was from the United Kingdom?
         8                        MR. RIVERO:       Objection.      I instruct
         9    you not to answer.         I don't know if Judge
       10     Reinhardt is available.           I would like to have that
       11     heard.
       12                         JUDGE REINHARDT:         I am still here.
       13     Is there an issue for me to rule on?
       14                         MR. RIVERO:       Mr. Freedman wants to
       15     go ahead and try to establish some basis ----
       16                         MR. FREEDMAN:        Your Honour, what is
       17     going on is that the witness has said multiple
       18     times that documents that come from Australia are
       19     potentially subject to forgeries or hacks.                  I had
       20     asked the witness how he was able to tell whether
       21     the device was in Australia or United Kingdom, and
       22     he said his lawyers told him.             I would like to ask
       23     how his lawyers knew that, if he is aware, and
       24     Mr. Rivero instructed him not to answer the
       25     question.
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         1                        JUDGE REINHARDT:         Well, Mr. Rivero,
         2    I have been listening to the whole deposition.
         3    Mr. Rivero, if you want to be heard I will hear
         4    you.
         5                        MR. RIVERO:       The Bates labelling is
         6    our Bates labelling, of course.              The DEFAUS Bates
         7    label resulted specifically from a plaintiff
         8    request that we make sure to identify documents
         9    that we were asked, as part of these conferences
       10     and decisions, to obtain from sources in Australia
       11     like counsel etc.         That is how it came about.            So
       12     to ask Dr. Wright anything about how we did that
       13     is to evade the privilege right.
       14                         JUDGE REINHARDT:         The ruling is
       15     this; Dr. Wright, if you know the answers to these
       16     questions of your own personal knowledge, not
       17     based upon information that was conveyed to you by
       18     your lawyers, you should answer the question.                   If
       19     you only know the answer to the question because
       20     your lawyers told you something in confidence in
       21     your attorney-client relationship, then you don't
       22     have to answer the question.             If you don't know
       23     the answer to the question simply say you don't
       24     know the answer to the question.              With that
       25     instruction I will allow -- Mr. Freedman, ask your
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         1    question and Dr. Wright you can respond
         2    accordingly.
         3                        THE WITNESS: Thank you, sir.
         4    BY MR. FREEDMAN:
         5              Q.        Dr. Wright, how do you know whether
         6    a document came from an Australian device?
         7              A.        Discussions with my lawyers.
         8              Q.        How do you know that documents that
         9    came from an Australian device are untrustworthy?
       10               A.        Discussions with my lawyers.
       11               Q.        How do you know that there is a
       12     higher potential for documents that were in
       13     Australia -- strike that.           How do you know that
       14     documents that were in Australia were susceptible
       15     to being manipulated?
       16               A.        I was not in Australia, so
       17     therefore any machines that are being altered,
       18     accessing in my e-mail, my wife's e-mail, running
       19     a thing -- Ramona copy -- that was sending all
       20     e-mails to and from her into other addresses,
       21     could not be valid.         If someone is accessing our
       22     personal e-mails and doing that without
       23     authorisation and it is going into machines that
       24     we had no idea were receiving and altering our
       25     e-mails, then I would that they cannot be trust.
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                                                                         Page 243
         1              Q.        If the documents that came from
         2    Australia came from your Australian counsel would
         3    they then be trustworthy?
         4              A.        No, because we were not in
         5    Australia at all at the end.             If a machine has
         6    been captured in 2016, purporting to be Craig
         7    Wright's machine, when Craig Wright had not been
         8    in Australia and had no computers with him in
         9    Australia, then there is a real problem.                 Someone
       10     running a computer and e-mail as me, in Australia,
       11     ,was not authorised at any point.
       12               Q.        But if you e-mailed an e-mail to
       13     your lawyer while you were still in Australia and
       14     then your lawyers collected that e-mail last year
       15     from that lawyer, do you have any reason to
       16     suspect that that document would be manipulated?
       17               A.        Yes, I do.
       18               Q.        Why?
       19               A.        These came from discussions with my
       20     lawyer.
       21               Q.        So is it an accurate statement that
       22     the only way you know that a document you sent to
       23     your lawyers in Australia while you were in
       24     Australia and was collected from those lawyers in
       25     2019 would be susceptible to manipulation is
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         1    through discussions with your lawyers?                You have
         2    no other knowledge of that; is that an accurate
         3    statement?
         4              A.        Through discussions with my lawyers
         5    and the forensic people that they are using,
         6    I have come to determine information concerning
         7    the machines in Australia.
         8              Q.        Which machines in Australia are you
         9    referring to?
       10               A.        I don't have that information in
       11     front of me.       My lawyers have it.
       12               Q.        I need to know which machines you
       13     claim have been manipulated, so I can identify
       14     documents that you cannot say are manipulated.                   We
       15     need to have a common understanding of which
       16     documents you think might be susceptible to
       17     manipulation, so please tell me do you know any of
       18     the Australian devices that have been manipulated?
       19               A.        I know some of the identifiers
       20     associated with Australian devices, yes.
       21               Q.        Please give them to me.
       22               A.        The HTC phone was actually a
       23     company phone that was run by a number of people
       24     in the system engineering department.                It was
       25     designed to have apps that we were developing run
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         1    on it.    I did not realise that after I had given
         2    it back to the company, after doing some
         3    demonstrations, that I had not wiped it, which
         4    would allow people to keep using my e-mail and
         5    have access to other such things.              On top of that,
         6    there are IP addresses associated with Big Pond
         7    and other accounts in Brisbane.              The Brisbane IP
         8    addresses are not mine.           Some of those are
         9    associated with Jamie Wilson and other people.
       10     Jamie Wilson was working with a person that I
       11     fired and also Jamie Wilson has fabricated a
       12     number of documents, such as a power of attorney
       13     over the patent that I created.              He has
       14     fraudulently created assignment documents to file
       15     the patent in America and has actually used my
       16     signature, if we call it that, to file those
       17     documents.
       18                         Investigation of the documentation
       19     from the lawyers has turned up that some of the
       20     signatures that are on some of my documents --
       21     'my' -- turn out to be signed by someone else's
       22     hand.    Some of that hand in some of the early ones
       23     also happens -- which I have not gone over with my
       24     lawyers in full detail yet and I will not here --
       25     to match Mr. Wilson.          Mr. Wilson seeks to keep IP
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                                                                         Page 246
         1    that is not his.
         2                        Other people in my company sought
         3    to sell some of the intellectual property that I
         4    was working on.        We have documented exchanges
         5    between some of the people who were let go and
         6    companies, including a French bank, for the sale
         7    of intellectual property.           Jamie Wilson had
         8    potentially a deal for $100 million.               If that deal
         9    had gone through and he had managed to get access
       10     to the intellectual property, some of the staff
       11     members, including some of the development and
       12     coding staff, would have been cut in on the deal.
       13     The IP addresses of each of those machines, of
       14     course, is suspect.
       15                         Anything where it is a Ramona copy
       16     account for things rather than an exchange Ramona
       17     account -- you see, if you are an exchange
       18     administrator it is very simple to have a
       19     completely copied e-mail account.              You can
       20     actually copy the mailbox and have everything
       21     sent.    Unfortunately, when you run a company you
       22     have to trust people who work for you.                Ramona's
       23     account, where it was Ramona copy, was running
       24     simultaneously to an account, Ramona Watts.                  All
       25     of the e-mails in and out of Ramona copy were sent
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                                                                         Page 247
         1    with the same e-mail address and everything would
         2    be received.       All of those things I know are
         3    indicators.
         4              Q.        Dr. Wright, I am going to share
         5    with you a document that has been produced in this
                                                            thi s
         6    litigation, Defense 1674223.             Do you see that
         7    document?
         8            (Exhibit Defense 1674223 referred to)
         9              A.        Can you zoom in a little bit,
       10     please?
       11               Q.        I can.     How is that?
       12               A.        That is much better.
       13               Q.        Do you recognise this as an e-mail
       14     you sent to Calvin Ayre, Stefan Matthews, Andrew
       15     Sommer and other individuals in mid-2015?
       16               A.        It looks very familiar to it, yes.
       17               Q.        Take a look at it and let me know
       18     if it is an exact copy of the e-mail you sent.
       19               A.        I cannot tell you whether it is an
       20     exact copy but I can see whether it is familiar.
       21     Yes, that looks familiar.
       22               Q.        I am now going to show you DEFAUS
       23     112094.     Do you see this is a draft of a
       24     discretionary trust deed?
       25             (Exhibit Defense 112094 referred to)
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         1              A.        I see that is what it says.
         2              Q.        Do you see here it lists W&K Info
         3    Defense Research as trustee?
         4              A.        I see that is what it says.
         5              Q.        Do you see this annotation
         6    "movement of Bitcoin following ATO asset reversal
         7    see CSW issues (2010)"?
         8              A.        Yes, I see that is what it says.
         9              Q.        That same annotation is on the
       10     Tulip Trust 2 document you handed up to the court;
       11     do you recall that?
       12               A.        No.    I don't recall everything that
       13     is in the trust documents, no.
       14               Q.        Is this a draft, an earlier draft
       15     of Tulip Trust 2?
       16               A.        No, this is not a trust document at
       17     all.
       18               Q.        It is entitled Discretionary Trust
       19     Deed.
       20               A.        Can you go through the rest and
       21     have a look?       (Document scrolled through)            Stop
       22     for a moment.       Yes, can you go back up.
       23               Q.        Yes.    Where would you like me to
       24     go?
       25               A.        The first page again.          Yes, this is
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         1    a fabrication.
         2              Q.        This is a forgery?
         3              A.        There are multiple documents that
         4    have been joined.         If you look at the end you will
         5    see "page 1 of 2" at the end of the document.
         6              Q.        They all say 1 of 2.
         7              A.        Then that is not correct.            These
         8    things are -- sorry.          No, this is not correct.
         9              Q.        Dr. Wright, in this trust document,
       10     which looks remarkably similar to Tulip Trust 2,
       11     you have the first appointer being Dave Kleiman of
       12     W&K Info Defense Research.
       13               A.        No, this is not a trust document.
       14     This is more likely something taking the trust
       15     document and seeking to alter it.
       16               Q.        Dr. Wright, I am showing you what
       17     has been produced as Defense 28003.               It appears to
       18     be an e-mail from you to yourself.               You put an
       19     annotation to yourself, "your eyes only - to
       20     discuss".      Below, you have forwarded on e-mails
       21     between you and Dave Kleiman.             Do you recognise
       22     this?
       23              (Exhibit Defense 28003 referred to)
       24               A.        I recognise discussions at that
       25     time.    As I said, certain things get burnt into my
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         1    mind.    IFIP-WG11.9 is the 2013 conference to do
         2    with digital forensics that was to be held in
         3    Orlando, Florida.         I was putting a paper in for
         4    that conference.        The paper I didn't end up
         5    finalising.      I had made a promise to David Kleiman
         6    that I would put a paper in because I would be
         7    attending and visiting in the January/February
         8    period in Florida if I had presented that paper.
         9    The tax deductible thing about that is why I had
       10     done it, so I sent back communications with Dave.
       11     The fact that I had digital forensic
       12     qualifications meant that it would have been tax
       13     deductible, so it is a good way of having a quick
       14     holiday, meeting up with a friend and being able
       15     to claim the tax on it, which is what academics
       16     do.
       17                         Unfortunately though, the
       18     Australian Tax Office had not settled their
       19     information properly and what had occurred is that
       20     all of that fell through, so the IFIP material
       21     does not match what you are calling for.                 We need
       22     to discuss -- the "trust" misspelt and whatever
       23     else is not the e-mail.           The e-mail I have burnt
       24     in my mind because I still feel guilty about it,
       25     is a communication between myself and Dave Kleiman
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         1    where I was promising to attend and go to this
         2    conference so we would be able to catch up and
         3    meet again, so this is not the original e-mail.
         4    The original e-mail was about the conference so
         5    this "we need to discuss the trust" is not, "a
         6    good tax deductible way" is.             This is an edited
         7    document.
         8              Q.        Thank you, Dr. Wright, for
         9    answering my question at the very end.                What about
       10     this, Dr. Wright; is this an accurate document,
       11     Defense 13808?       Is this an accurate reflection of
       12     e-mails between you and Dave Kleiman?
       13              (Exhibit Defense 13808 referred to)
       14               A.        It could be.       I have to read the
       15     little print on the other bit.             It is quite
       16     possible that I had a rant.            That looks like one
       17     of my rants.       I don't remember all of my rants,
       18     but that was a rant so it is quite possible that
       19     that was.
       20               Q.        Okay.     What about this document,
       21     Dr. Wright, which you produced as Defense 22208,
       22     do you recognise this as a communication from you
       23     to Dave Kleiman?
       24               (Exhibit Defense 22208 referred to)
       25               A.        This is once again edited to add
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         1    extra bits about Bitcoin.           The original e-mail was
         2    correct.        "Call for papers for ICT" etc. was a
         3    conference I was putting in and I likely did call
         4    Mr. McArdle a wanker.          Again, some of this is
         5    correct but this has actually been edited.
         6               Q.        Do you know who edited it?
         7               A.        I have my suspicions.
         8                         MR. FREEDMAN: I am going to grab a
         9    tissue, so let's take that three to five minute
       10     recess.
       11                (Recess at 6.36 p.m. to 6.46 p.m.)
       12     BY MR. FREEDMAN:
       13                Q.        Dr. Wright, before we went off the
       14     record you told me you had your suspicions about
       15     who might have edited the documents.               Can you tell
       16     me the names of who you suspect edited the
       17     document?
       18                A.        We had a number of people working
       19     in IT and whatever else.           It is quite possible
       20     that they were formed into a group.               It could have
       21     been one or more of them.           It could have been
       22     someone starting, leaving and whatever else. The
       23     fact of the matter is that I know Phillip
       24     Monteselio was in communications with a French
       25     bank to sell things, I know Jamie Wilson had
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         1    actively doctored documents to do with patents so
         2    that he could lie and say everything was
         3    transferred into a company that he illegally
         4    transferred shares in, and I know that a couple of
         5    other people in the IT team had access to all of
         6    this and could have given more access.                I also
         7    know definitively that Uyen Nguyen had signed and
         8    allocated documents and did not realise at the
         9    time but had basically raised external capital and
       10     loans personally in America, using documents
       11     purporting to be signed by me as if the company
       12     was doing this, which is not actually possible
       13     because with a public company group, an intern in
       14     the USA cannot just get a signature from another
       15     director and say that she is a director or
       16     anything of like this, or raise capital against
       17     shares or sell shares just privately or anything.
       18     The person throughout the whole time that I have
       19     noticed has done a whole lot of things that are
       20     not legitimate would be Uyen, but there are a
       21     couple of other people that I've mentioned as well
       22     and it is likely that they helped.
       23               Q.        Dr. Wright, do you recall telling
       24     the court that you tasked Dave Kleiman to hire a
       25     bonded courier to deliver necessary key slices to
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         1    you so you could access your trust?
         2              A.        That's not exactly what I said.
         3    I gave you an analogy.          I tried to say that
         4    I've set up an arrangement which I was having a
         5    problem getting you to understand, and the
         6    definition was it is like a bonded courier.                  Where
         7    I am saying this I tried to explain that multiple
         8    people could hold multiple files, none of which
         9    had anything to do with the property.                Where you
       10     are going wrong is in the assumption that what we
       11     call a trust in Australia or Britain is a trust
       12     over there.      That would be an arrangement, and not
       13     for property.       I hired, effectively, Dave under an
       14     arrangement that we would call a trust, and under
       15     that arrangement Dave held other people's property
       16     to be delivered.        Part of why he did that was the
       17     fact that I was paying some of his bills, like
       18     many other people that you will probably find out.
       19     Many of his friends helped him quite a lot.
       20               Q.        This key slice was supposed to come
       21     back to you in January 2020; is that accurate?
       22               A.        It was supposed to be returned in
       23     2020, yes.
       24               Q.        Was it returned to you?
       25               A.        The key slices from Dave, no.             We
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         1    have had other information.            We don't know -- we
         2    cannot say, without all of the key slices, whether
         3    we have key slices.          The problem with random 256
         4    bit numbers is until you have the complete set you
         5    don't know whether you have the complete set.                   We
         6    have received information.            Do we have those
         7    numbers?        I don't know unless we get all of them.
         8    We have received access to accounts and other
         9    things that were locked.           Do we have access to the
       10     private keys?        No.    Do I actually need private
       11     keys?    No.
       12                Q.        Can you access the Bitcoin without
       13     the private keys?
       14                A.        Yes.
       15                Q.        How?    Through court order?
       16                A.        Yes, a court order can allocate
       17     these, so the judge in this case could actually
       18     allocate these Bitcoin, knowing the addresses now.
       19     The way that Bitcoin works is not ----
       20                Q.        I did not ask you how Bitcoin
       21     works.     I just asked if you could get them through
       22     a court order.        Dr. Wright, you told the court
       23     that it was impossible for you to get a list of
       24     your public addresses without the key slice; do
       25     you recall that?
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         1                        MR. RIVERO:       Mr. Freedman, you
         2    asked a question and you are not allowing him to
         3    finish that answer.         It was your question so
         4    I think he made to be able to finish his answer.
         5                        MR. FREEDMAN:        He is not answering
         6    my question, he is going on a speech that is
         7    unrelated to my question.           I asked a yes or no
         8    question.
         9                        MR. RIVERO:       I am going to let it
       10     go, but I don't agree.          You asked a question.           The
       11     unanswered question is on you.             Ask the next
       12     question, please.
       13     BY MR. FREEDMAN:
       14               Q.        Dr. Wright, you told the court that
       15     it was impossible for you to provide us with a
       16     list of your Bitcoin public addresses until the
       17     bonded couriers key slice returned; do you recall
       18     that?
       19               A.        That is not what I actually said.
       20     You are misquoting and misparaphrasing again.
       21               Q.        So it was possible for you to
       22     provide us with a list of the public addresses
       23     before the bonded courier return?
       24               A.        Mr. Freedman, you very well know
       25     that that is nothing to do with the answer I gave
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                                                                         Page 257
         1    you before and it does not follow so, no, what you
         2    are saying is unrelated.
         3                        MR. RIVERO:       Object to the last
         4    question.
         5    BY MR. FREEDMAN:
         6              Q.        Sitting here today are you able to
         7    obtain a list of the public addresses that are the
         8    subject of this case?
         9              A.        I have already given a list of
       10     public keys which from the public keys you can
       11     calculate the addresses.           Those have been given to
       12     the court.
       13               Q.        When did it become possible for you
       14     to provide that list of public keys?
       15               A.        Beginning of this year.
       16               Q.        What changed that made it possible
       17     for you to provide that list?
       18               A.        The trust has enabled me to get
       19     access to files again, I was not able to do that
       20     before 2020.       As I have said, I am not a trustee.
       21     As someone who is not a trustee I have no control.
       22     Whether you like the fact that until this point --
       23     where I said in January 2020 I would be able to
       24     get access, I would be able to give you those
       25     files from whatever methodology, then it does not
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                                                                         Page 258
         1    matter whether you think that because I set up
         2    something where it is a non-revocable trust where
         3    the settler has no rights, where the settler
         4    cannot revoke anything, where I am not a trustee
         5    and where I cannot become a trustee under these
         6    conditions, and I cannot even access based on
         7    certain conditions until a point in time, until
         8    that point in time happens I am not able to do
         9    things.     The point in time has happened, so now
       10     I am able to request from people, who have access
       11     to those files, those files.
       12               Q.        I am going to share with you what
       13     your lawyers filed with the court, document entry
       14     376.    It is called "Craig Wright's notice of
       15     compliance with the court's January 10, 2020
       16     order".     Do you see that?
       17         (Exhibit "document entry 376" referred to)
       18               A.        Can you zoom in a little bit,
       19     please?
       20               Q.        Sure.     Is that better?
       21               A.        It is.     Thank you.
       22               Q.        Do you see it says:          "Specifically,
       23     Dr. Wright notifies the court that a third party
       24     has provided the necessary information and key
       25     slice to unlock the encrypted file"?
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                                                                         Page 259
         1              A.        Yes.    As I told my lawyers multiple
         2    times and I have said in this case multiple times,
         3    there is not 'an' encrypted file, there are
         4    multiple encrypted files; some of which I cannot
         5    get access to at the moment, some of which I can.
         6              Q.        So it should have said, "and key
         7    slice to unlock an encrypted file"?
         8              A.        No, it should not.         Being that I've
         9    been given a file that is not decrypted and access
       10     to others files and not access to everything,
       11     I cannot go into any details what has happened in
       12     the background.        I don't have that information.
       13               Q.        So the key slice reference here is
       14     not the key slice you were discussing in court; is
       15     that accurate?
       16                         MR. RIVERO:       Object to the form.
       17     BY MR. FREEDMAN:
       18               Q.        Let me rephrase that.          Is the key
       19     slice that is referred to here the same key slice
       20     you were referring in your testimony before the
       21     court?
       22               A.        I said there are multiple key
       23     slices and I said there are multiple encrypted
       24     files.    I have said that under my testimony.
       25     I don't have a list of which particular key slices
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                                                                         Page 260
         1    go with which particular files, which particular
         2    people accessed which particular things.                 I do not
         3    have a list of which accounts I can and cannot get
         4    access to at any particular time.              I can get
         5    access to some accounts and I have given complete
         6    access now to the accounts that I have access to.
         7    As of January I have been able to access accounts
         8    associated with Wright and a number of the
         9    Australian entities.          We have access to accounts
       10     that have been given to lawyers from January --
       11     sorry, as of this January, to many of the
       12     Australian entities and Australian trusts, some of
       13     the overseas entities.          That dates from the period
       14     of 2012 or so, right up until 2015 or '16.
       15                         We have access now to the Wright
       16     International Investment accounts from the period
       17     of 2009 on.      As soon as I was told that those
       18     could be accessed, the access was granted and
       19     given to the forensic people that the lawyers
       20     mentioned, that my counsel have sort of hired.
       21     I have no idea what they have done with them or
       22     what has happened after that.
       23               Q.        Dr. Wright, you said "accounts"
       24     here multiple times.          What do you mean by you have
       25     access to the accounts?
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                                                                         Page 261
         1              A.        I mean the accounts, as in
         2    accounting software, general ledgers, balances,
         3    that sort of stuff.
         4              Q.        You have no access to the actual
         5    Bitcoin -- strike that.           Dr. Wright, where does
         6    the 800,000 and change Bitcoin you mined between
         7    2009 and 2010 -- where is that currently?                 With
         8    what company?
         9                        MR. RIVERO:       Object to the form.
       10               A.        That is owned, as it always has
       11     been right from the beginning, by Wright
       12     International Investments.            That was mined, under
       13     a warrant condition, by Information Defense in
       14     Australia.      That was registered and started in
       15     January 2009.       On the creation of Wright
       16     International Investments that was done as a
       17     transfer agreement.         The original trust that owned
       18     those companies was Craig Wright R&D.                The Craig
       19     Wright R&D trust entity was basically rolled into
       20     a new trust entity that was created to own the
       21     companies.      That was created because I started
       22     relationship with Ms. Watts.             My former trust, of
       23     course, precluded that etc.            So the Bitcoin, as I
       24     said, have been in Wright International
       25     Investments the entire time.
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                                                                         Page 262
H-R      1              Q.        Dr. Wright, do you have a trust
Conf
         2    document from July 7, 2017 that is a trust
         3    agreement for the Tulip Trust?
         4              A.        I have been given a copy of that
         5    document, yes.
         6              Q.        Did you sign that document?
         7              A.        Yes, I signed the end of that
         8    document after negotiations with Baker & McKenzie,
         9    who are my lawyers and whatever else here in the
       10     UK.   That was then given to Dennis and Ramona.
       11               Q.        Did you read the trust document
       12     before you signed it?
       13               A.        I went through multiple copies
       14     I don't remember if I read the final one or not.
       15               Q.        Dr. Wright, I am going to share
       16     with you the document that your lawyers have
       17     produced to us as Defense HC1518378.               I'll show
       18     you the first page here, which is -- do you
       19     recognise this as that document?
       20           (Exhibit Defense HC1518378 referred to)
       21               A.        I do.
       22               Q.        Can I refer to this as Tulip Trust
       23     3, just because I know we have Tulip Trust 1 and
       24     Tulip Trust 2?
       25               A.        It is not actually a trust
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                                                                         Page 263
         1    different -- everyone keeps saying "new trusts".
         2    There is Craig Wright R&D, that was rolled into
         3    Tulip ----
         4               Q.       I just asked if I could refer to it
         5    as Tulip Trust 3.         I did not ask anything else.
         6    Can I refer to it as Tulip Trust 3?
         7               A.       I'd prefer not to, no.           This leads
         8    to a wrong idea so I am not going to refer to it
         9    as trust 3.      It is not trust 3.
       10                Q.       Give me a shorthand I can refer to
       11     it as?
       12                A.       The trust document.
       13                         MR. RIVERO:       Before I forget,
       14     I just want to state the designation of this
       15     entire deposition as confidential.               Please
       16     proceed.
       17                         MR. FREEDMAN:        We dispute that, but
       18     it will remain confidential during the times we
       19     have times to designate as confidential.
       20                         MR. RIVERO:       I did not understand
       21     your response.
       22                         MR. FREEDMAN:        There is a
       23     protective order that governs how long this can
       24     stay confidential and you can abide by the terms
       25     of the order.
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                                                                         Page 264
         1                        MR. RIVERO:       That is correct.
         2    BY MR. FREEDMAN:
H-R      3              Q.        Dr. Wright, I'm showing you page 15
Conf
         4    of the trust.       Is that your signature?
         5              A.        Yes, it is.
         6              Q.        I would like to draw to your
         7    attention to schedule A.           Does schedule A show
         8    ----
         9              A.        Could you zoom in, please?
       10               Q.        Absolutely.       How is that?
       11               A.        One more time, please.
       12               Q.        Schedule A shows the description,
       13     the legal description of the trust property that
       14     is contained within this 2017 trust document; do
       15     you see that?
       16               A.        Yes.
       17               Q.        And Wright International
       18     Investments is owned by the trust, is that
       19     accurate?
       20               A.        The shares in Wright International
       21     Investments are owned by the trust, yes.
       22               Q.        Okay.     The shares in Tulip Trading
       23     -- let me ask; Wright International Investments
       24     owns around 821,000 Bitcoin; is that accurate?
       25               A.        I don't know.
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                                                                         Page 265
         1              Q.        Didn't you provide me a list of the
         2    public addresses that are held by Wright
         3    International Investments?
         4              A.        Yes, I did.
         5              Q.        Is that list an accurate
         6    representation of the Bitcoin that is held by
         7    Wright International Investments?
         8              A.        That is a list of public keys
         9    associated with Bitcoin mined in the period by
       10     Wright International Investments, through
       11     Information Defense in Australia, by myself.
       12               Q.        Did you spend any of the Bitcoin
       13     you mined through Wright International Investments
       14     by yourself?
       15               A.        No.
       16               Q.        So all the Bitcoin on that list
       17     belonged to you; is that accurate?
       18               A.        No.    I ----
       19               Q.        Let me rephrase that.          All the
       20     Bitcoin on that list belonged to Wright
       21     International Investments; is that accurate?
       22               A.        That is correct.
       23               Q.        You have not spent any of the
       24     Bitcoin on that list; is that accurate?
       25               A.        There may have been one or two that
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                                                                         Page 266
         1    were spent in a couple of transfers to Hal Finney
         2    or Mike Hearn.        I have not checked.
         3               Q.       But certainly none after you
         4    established the trust in 2011, correct?
         5               A.       No, none have been spent.
         6               Q.       Then Tulip Trading also belongs to
         7    Tulip Trust 3, correct?
         8               A.       The shares of Tulip Trading are
         9    owned by not trust 3 but under this trust.
       10                Q.       And how many Bitcoin does Tulip
       11     Trading own?
       12                A.       Exactly, I am not sure.
       13                Q.       Approximately.
       14                A.       110,000.
       15                Q.       Do you have records that reflect
       16     which Bitcoin those are?
       17                A.       I don't.      The company does.
       18                Q.       Okay.     Dr. Wright, it says down
       19     here on F:
       20
       21
       22
       23
       24
       25
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                                                                         Page 267
         1              Q.        Did it ever hold more than zero?
         2              A.        No.
         3              Q.        Dr. Wright, do you see G here,
         4    which says:      "All trusts and assets ever owned by
         5    Craig Wright until the formation of this trust"?
         6              A.        Yes.     My solicitors told me to make
         7    sure that we added an overarching clause that
         8    would capture anything that may exist otherwise.
         9              Q.        So you put everything you own into
       10     this trust in 2017; is that accurate?
       11               A.        Yes, I rolled up anything else that
       12     I might own literally into this trust.
       13               Q.        Then, Dr. Wright, you were ordered
       14     by the court in 2019 to produce all copies of the
       15     trust documents that related to the Bitcoin that
       16     you were holding.          In response you provided what
       17     you call Tulip Trust 1 and Tulip Trust 2.                 Do you
       18     recall that happening?
       19               A.        No, I was ordered to provide any
       20     documents in my control.           The second part is I am
       21     not holding any Bitcoin.           It was also to do with
       22     Bitcoin I mined, so in giving you this I have
       23     actually exceeded what I need to do and in giving
       24     you the Bitcoin mined by a company I have exceeded
       25     what I am required to do.           You have asked,
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                                                                         Page 268
         1    basically, for any trust documents associated with
         2    a set of conditions and I have given you more.
         3              Q.        Why did you not disclose this 2017
         4    trust document in response to the court's order?
         5              A.        If you will look at this document
         6    it says I am not allowed to have this document
         7    before a certain period in December 2019.                 Under
         8    Seychelles law it is a criminal act for me to have
         9    sought to even provide that or ask or enquire
       10     about it.      You are thus asking me to commit a
       11     criminal offence, which is also an offence within
       12     Europe because one of the people in this is a
       13     minor.    As distributing the trustees and other
       14     members is a criminal offence, I am not going to
       15     do more than I am allowed to do.              If I don't have
       16     control of a document I cannot give it over.                  The
       17     correct thing is anything I control I will hand
       18     over.    As soon as I got control, even though I am
       19     pushing the law on this -- we have had people
       20     saying that it is potentially a breach and we had
       21     a trustee meeting to be able to give this over
       22     because it is potentially a criminal breach if all
       23     of the members did not agree.
       24               Q.        Dr. Wright, did you remember this
       25     trust document existed when you disclosed Tulip
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                                                                         Page 269
         1    Trust 1 and 2 to the court?
         2                        MR. RIVERO:       Object to the form.
         3              A.        There is no Tulip Trust 1 and 2,
         4    the way you keep saying it.            I keep saying this is
         5    the same thing.        There was the Tulip Trust, there
         6    is an arrangement with Dave.             Everyone keeps
         7    calling them 1, 2, 3, 4, 5.            There is not.        There
         8    is a company -- sorry, a trust owning shares in
         9    companies that was formulated in 2011, updated in
       10     2012, updated again in 2014, and then updated
       11     again at this point.          The beneficiaries have
       12     changed materially the same, the settlement is the
       13     same, the trustees started the same and the
       14     purpose and other conditions are the same.                  The
       15     document has gotten better over time and, as
       16     I said, if I don't have control I cannot actually
       17     answer that.       You are asking me to answer you
       18     something that is beyond my knowledge.
       19     BY MR. FREEDMAN:
       20               Q.        Dr. Wright, I am asking were you
       21     aware -- strike that.          At the time you provided
       22     the court with the versions of this trust document
       23     as it existed in 2012 and then updated once in
       24     2014, did you remember that you had updated it
       25     again in 2017?
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                                                                         Page 270
         1                        MR. RIVERO:       Object to the form.
         2              A.        We had communications with
         3    solicitors and I signed off a document and, no,
         4    I have not actually read every bit of this trust.
         5    I had not been in part of the final one and
         6    I resigned as trustee before it.              As part of my
         7    resignation I signed it over blind, trusting my
         8    wife.
         9    BY MR. FREEDMAN:
       10               Q.        So you signed over all the assets
       11     you have ever owned, every trust for your benefit,
       12     into this document -- on this document in June
       13     2017 and --
       14               A.        No.
       15               Q.        -- you just forgot about it?
       16               A.        That is not correct and you are
       17     once again misquoting what I said, and I say
       18     intentionally.
       19                         MR. RIVERO:       I want to state an
       20     objection.      Thank you.
       21     BY MR. FREEDMAN:
       22               Q.        Dr. Wright, why did you not even
       23     tell the court that there was a 2017 trust --
       24     strike that.       Why did you not even tell the court
       25     that there was a trust update in 2017 that you
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                                                                         Page 271
         1    could not provide?
         2                        MR. RIVERO:       Object to the form.
         3              A.        I did tell the court.
         4              Q.        You did tell the court that there
         5    was a 2017 trust document you could not provide?
         6                        MR. RIVERO:       Objection to the form
         7    of the question.
         8              A.        As I said, I was not the trustee.
         9    You refuse to believe this, but that is
       10     irrelevant.      If I am not the trustee, all I can
       11     tell you is that there is a trust that was
       12     registered, and you have the registration details.
       13     Registration details means a document needs to be
       14     filed and your incompetence in not being able to
       15     figure out that a registration requires a formally
       16     filed document that is updated on that date is
       17     your incompetence.
       18     BY MR. FREEDMAN:
       19               Q.        Dr. Wright, you did not answer the
       20     question.
       21               A.        Yes, I did.
       22               Q.        When did you tell the court that
       23     there was a trust document you had updated in 2017
       24     that you could not provide to it?
       25                         MR. RIVERO:       Objection to the form
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                                                                         Page 272
         1    of the question.          Answer, Doctor.
         2              A.        Again, I told the court that there
         3    was a registration done on a particular date.                   You
         4    were informed, the court was informed.                Your
         5    inability to work out that the registration of a
         6    trust requires an updated trust deed is your
         7    ignorance.
         8                        MR. FREEDMAN:        Let's take a three
         9    minute break.       I might be done.
       10               (Recess at 7.12 p.m. to 7.15 p.m.)
       11     BY MR. FREEDMAN:
       12               Q.        Dr. Wright, have lawyers that act
       13     for your companies ever quit because you have
       14     altered documents?
       15               A.        No.     There were no lawyers quitting
       16     because I altered documents, ever.
       17               Q.        Did lawyers ever quit representing
       18     companies you were affiliated with because there
       19     were serious questions about the integrity of
       20     documents provided by Dr. Craig Wright both to
       21     that lawyer's office and to the Australian
       22     Taxation Office?
       23               A.        No.     There were issues with the
       24     lawyer involved being a -- having 40-50% of its
       25     income from the Australian Tax Office and a
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                                                                         Page 273
         1    managing partner putting pressure on another
         2    partner.
         3               Q.       Dr. Wright, have you ever altered
         4    documents and represented them as authentic to a
         5    court?
         6               A.       No, I have not.
         7               Q.       Have you ever altered documents and
         8    represented them as authentic to the Australian
         9    Tax Office?
       10                A.       No, I have not.
       11                Q.       Has the Australian Tax Office ever
       12     accused you of forging documents?
       13                         MR. RIVERO:       Objection.
       14                A.       I don't know.        I have never been in
       15     front of a court or anything like that because of
       16     such an allegation.
       17     BY MR. FREEDMAN:
       18                Q.       Has Andrew Sommer of Clayton Utz --
       19     strike that.       Did Andrew Sommer of Clayton Utz
       20     quick working for DeMorgan because he found it
       21     credible that you had forged documents and
       22     submitted them to the Australian Tax Office?
       23                A.       No.
       24                         MR. RIVERO:       Object to the form.
       25     BY MR. FREEDMAN:
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                                                                         Page 274
         1              Q.        Dr. Wright, did there come a time
         2    when, pursuant to a deed of loan, 650,000 Bitcoin
         3    were transferred to Design By Human to be held in
         4    trust for you?
         5              A.        You mean the document that is not
         6    signed by my signature.           No.
         7              Q.        I just asked you a question.             I did
         8    not talk about the document.
         9              A.        No.
       10               Q.        Dr. Wright, did the 650,000 Bitcoin
       11     come from a Seychelles trust?
       12               A.        No.
       13               Q.        You wrote on a document "all
       14     Bitcoin wallets to be held for Dave Kleiman and
       15     Craig Wright".       Do you recall doing that?
       16               A.        No, I did not.
       17                         MR. RIVERO:         It is seven hours, if
       18     I can ask the court reporter.              Sorry, six hours.
       19                         THE VIDEOGRAPHER:         We are actually
       20     at five hours, 59 minutes and 50 seconds.
       21                         MR. RIVERO:         Sorry, Mr. Freedman.
       22     Go ahead and ask your question.
       23     MR. FREEDMAN:
       24               Q.        Do you recall a handwritten
       25     annotation on a document, with your own
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                                                                         Page 275
         1    handwriting, that said in sum or substance that
         2    all Bitcoin wallets were be to held until a joint
         3    company was set up between CSW and Dave K, and
         4    what did you mean by that?
         5              A.        Two questions.        One, it was not my
         6    handwriting.       Two, I did not mean anything because
         7    it is not my handwriting.
         8                        MR. FREEDMAN:        Are you going to let
         9    me keep going, Mr. Rivero?
       10                         MR. RIVERO:       No, I don't think so.
       11     I do have a very brief redirect.              I know it is
       12     getting late there.         Famous last words, but I
       13     intend to only ask two questions.
       14               REDIRECT EXAMINATION BY MR. RIVERO
       15               Q.        Dr. Wright, did you produce, as
       16     reflected in the documents -- the notice shown to
       17     you by Mr. Freedman, did you produce key slices in
       18     approximately January of this year?
       19               A.        I produced everything I received to
       20     my lawyers and what gets put into court is up to
       21     them.    I don't actually know what has been given
       22     into court.      As I have received files, file
       23     slices, accounts, other things, I have immediately
       24     given it over to my lawyers.             I don't know what
       25     has happened post giving it to my lawyers, sorry.
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                                                                         Page 276
         1              Q.        I mis-spoke.       A list of public
         2    addresses; you produced that -- that was produced
         3    on your behalf in January; are you aware of that?
         4              A.        In January I gave a list of
         5    addresses that I was given.            Subsequent to that I
         6    gave access to the accounts of Wright
         7    International Investments, documenting all the
         8    purchases and whatever else of the company.
         9    I don't know what has been done with any of that
       10     so far.
       11               Q.        Did you produce that as soon as you
       12     had that in your custody and control?
       13               A.        Not within seconds, but if you talk
       14     about "as soon as" being a little more than
       15     momentary, like I can get a cup of coffee and walk
       16     upstairs, then yes.
       17                         MR. RIVERO:       No further questions.
       18     Thank you sir and thank you to the court reporter
       19     and the videographer.          Me. Freedman, I think that
       20     is it.
       21                         MR. FREEDMAN:        The amount of time,
       22     I will just reserve on the record our right to
       23     seek leave for more time due to what we perceive
       24     to have been purposeful filibustering by
       25     Dr. Wright and non-responsive answers, but we will
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                                                                         Page 277
         1    take a look at the transcript and make a
         2    determination on that.
         3                        MR. RIVERO:       I don't want to
         4    prolong this but I think that is an unwarranted
         5    comment.     I think Dr. Wright has answered every
         6    single question with minimal objection, minimal
         7    instruction.       I think there are perhaps three
         8    times that we objected on relevance, and those
         9    were ruled on, and perhaps three assertions of
       10     privilege, so we disagree.            That concludes the
       11     deposition.      Thank you to everyone who has helped.
       12                (Deposition concluded at 7.21 p.m.)
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                                      324

                                                                         Page 278
         1                       CERTIFICATE OF WITNESS
         2
         3    I, Craig Wright, am the witness in the foregoing
         4    deposition.      I have read the foregoing and, having
         5    made such changes and corrections as I desired, I
         6    certify that the transcript is a true and accurate
         7    record of my responses to the questions put to me
         8    on 18 March, 2020.
         9
       10
       11
       12
       13      Signed: ...........
       14
       15      Name:      ..........
       16
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       25
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                                                                         Page 279
         1                   CERTIFICATE OF COURT REPORTER

         2

         3    I, Amy Coley, an Accredited Reporter, hereby

         4    certify that Craig Wright was duly sworn, that I

         5    took the Stenographic notes of the foregoing

         6    deposition and that the transcript thereof is a

         7    true and accurate record transcribed to the best

         8    of my skill and ability.           I further certify that I

         9    am neither counsel for, related to, nor employed

       10     by any of the parties to the action in which the

       11     deposition was taken, and that I am not a relative

       12     or employee of any attorney or counsel employed by

       13     the parties hereto, nor financially or otherwise

       14     interested in the outcome of the action.

       15

       16

       20

       21     Signed:.............

       22     AMY COLEY

       23

       24

       25
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                                                                         Page 280
         1                               E R R A T A
         2
         3                       Deposition of Craig Wright
         4     (Please show all corrections on this page, not in
         5                           the transcript.)
         6     Page/Line No.                             Reason for change
         7
         8
         9
       10
       11
       12
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       14
       15
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       17
       18
       19      Signed:.............
       20
       21      Name:    ...........
       22
       23      Date:    .............
       24
       25
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                $                  DFFRXQWV                 
       DELGH                                         
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       $EVHQW                        DFWLQJ         
       DEVROXWH                                 
       DEVROXWHO\                                  DGHTXDWH 
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                                    DFWLRQ        
       DFDGHPLF                        DFWLYHO\         
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       DFDGHPLFV                             DFWXDO      DGPLQLVWUDWRU
                                               
       DFFHSW                                    DGPLQLVWUDWRUV
       DFFHSWDEOH                                          
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       DFFHSWHG                                     
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       DFFHVV         DFFRXQWDQWV                  DGG        
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       DIILOLDWHG                                     
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       DIILUP                  $0/                       
       DIILUPDWLRQV                DPRXQW          $QGUpV      
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       DIILUPHG     DLG                        DQQRWDWLRQ     
                     $ODQ                        
       DIWHUQRRQ       DOFRKRO                                
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       DIWHUQRRQV     DOLYH                   DQRQ\PRXV            
       DJHQW       $OL[3DUWQHUV                           DQVZHUHG 
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       DJHQWV                                        
       DJHV           DOOHJDWLRQ                     
       DJR                                     
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       DJUHH      DOOLJDWRU                        DQVZHULQJ
              DOORFDWH      DQDHVWKHWLF             
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       DJUHHG         DOORFDWHG      DQDO\VH              DQVZHUV 
       DJUHHPHQW        DOORFDWLRQ     DQDO\VHG            
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       DJUHHPHQWV                   $QGUHVRQ           DSRORJLVH 
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                     DUJXPHQW      DVNLQJ                  DWWDFKPHQWV
       DSSHDUDQFHV      DUJXPHQWV                             
       DSSHDUHG       $ULYHUR#ULYHU           DVVLJQPHQWV         DWWHPSW 
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       DSSHDUV        DUUDQJH                DVVLVWDQW     DWWHPSWHG 
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                DUUDQJHPHQW                        DWWHQGHG 
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                DUUDQJHPHQWV                         DWWHQWLRQ 
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               DUUHVWHG                                
       DSSOLFDWLRQV                      DVSHFWV                    
              DUULYH                             DWWHVW 
                            DVVHUW                  
       DSSOLHV        $VLD                                  DWWRUQH\ 
                      $6,&       DVVHUWHG       DVVXPH            
       DSSO\                  DVVHUWLQJ                  
       DSSRLQW        DVNHG     DVVHUWLRQV               
       DSSRLQWHG               DVVHUWV                   DWWRUQH\V 
                           DVVHW         DVVXPLQJ          
                                                           
       DSSRLQWHU                DVVHWV     DVVXPSWLRQ          DWWRUQH\FOLHQW
       DSSUHFLDWH                                         
                                   DVVXPSWLRQV     DWWULEXWHG 
       DSSURSULDWH                            $72           
                                                  $8'  
                           DVVLJQ                 
       DSSURYHG                                DXGLR 
       DSSUR[LPDWHO\                              DXGLW 
                                         DXGLWHG 
                           DVVLJQHG                DXGLWRUV 
                                           
                                             $XJXVW 
                                              
       DSSV                      $72 V            
       $SULO                              DWWDFKHG         
                                                 
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                                            DWWDFKLQJ        
       $UFKHU                 DVVLJQPHQW     DWWDFKPHQW             
       DUHD                                      
                                                      
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       $XVFULSW                      EDOO            
                                        %DQJNRN       
             DXWKHQWLF            %                   EDVLV  
       $XVWUDOLD                 %   EDQN           
                       %$$              
                        EDFN    EDQNHU       EDWHV  
                                            
                        EDQNLQJ            
                                          
                                              
             DXWKHQWLFDOO\                     
                                             
                                EDQNUXSW       
                                           
                                EDQNV          
              DXWKRULVDWLRQ             EDQQHG         
                                EDUELWXUDWHV         
                                            
                DXWKRULVH         EDVH           EFF 
                          EDVHG     EFF G 
             DXWKRULVHG                      
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                                      EHDULQJ 
       $XVWUDOLDQ    DXWKRULVHV            EDVHOLQH        
               DXWKRULVLQJ            EDVLF            
            DXWKRULW\             EDVLFDOO\       
               DXWRQRPRXV                      EHDUV 
                              EDFNJURXQG                   
           DYDLODEOH                           EHGWLPH 
                         EDFNORJ                 EHJDQ 
             DYHUDJH        EDG              
              DZDUH                   EHJLQQLQJ 
                                             
                       EDGO\                 
                                           
                       EDJV                EHKDOI 
                                          
                      EDKW                   
              $\UH        %DNHU                  
                                      EHOLHI 
                                   EHOLHYH  
                                   
                                       
                                               
             $\UH V          EDODQFH             
              DP       EDODQFHV               
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                 EHQHILFLDO                EORFNFKDLQ 
                 EHQHILFLDULHV                          
                                          
                EHQHILFLDU\                       EORRG\ 
                                         %ORRP 
                                                %OYG 
                EHQHILW                      %0F: 
                EHVW                      ERDUG 
                                            
                                   %REE\ 
                                         %2,(6 
               EHWWHU                    ERQG 
                                         ERQGHG 
                                        
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                                               ERRN 
                                 %LWFRLQV        ERRNNHHSHU
                  EH\RQG                              
                                              ERRNV 
                                      %LWFRLQWDON     ERW 
                                              ERWWRP 
                                                   
               ELJ              %LWFRLQWDONRUJ         
                                               ERXJKW 
                 ELOOV                               
                                      %LWFRLQFRPIR    %RXOHYDUG 
                ELUWK                            ERXQGDULHV 
                %LVFD\QH                %LWFRLQRUJ     ER[ 
       EHOLHYHG       ELW                      ER[HV 
                                               
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       EHOLHYHV                    ELWV          
       EHOLHYLQJ                                       
       %HOL]H                     %LWPHVVDJH            
                                                
       EHORQJHG       %LWFRLQ                        EUHDFK 
                                            
       EHORQJLQJ                           EUHDN  
                                             
                             %LWPHVVDJHV            
                                               
       EHORQJV                       EODQN             
                              EOLQG              
                                  EORFN           %UHQQHU 
       EHQHDWK                                      
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       EULHI         EX\LQJ                      FHUWLILFDWH          &KHVKHU 
       EULHIO\             FDU                         
                                       FDUG                         
       EULQJ               &         FDUH      FHUWLILFDWHV    &KHVWHU 
                 &              FDUHIXO        FHUWLI\           
                  &DIH                                FKLHI  
                &DLQ      FDVH     &)2          
                                                 FKLOGUHQ 
              &DO                   FKDLQ           FKLOGUHQ V 
              FDOFXODWH                   FKRLFH 
                                               FKRRVH 
                     FDOO          FKDOOHQJH       &KULVWLDQ 
       %ULVEDQH                       FKDOOHQJHV      FLUFXPVWDQFHV
       %ULWDLQ                       FKDQFH           
                                    FKDQJH             
       EURNH                                  FLWLQJ 
       EURNHU                                  FODLP 
       EURNHUV                                           
       EURWKHU        FDOOHG             FKDQJHG            
       %7&                                              FODLPV  
                                              
       EXLOG                                      
       EXLOGLQJ              FDVK                     
                             FDVWLQJ                 FODULILHG 
       EXQFK         FDOOLQJ      FDWFK                         FODULI\ 
                             FDXVLQJ      FKDQJHV             
       EXUGHQ               FF                     
                   FDOOV                                 FODULW\ 
       EXUHDXFUDWLF                              FKDQJLQJ        FODVV 
                     &DOYLQ            FKDUDFWHULVDWLRQ     FODXVH  
       EXUQW             FF G                     &OD\WRQ 
                           &'            FKDUDFWHUV             
       EXVLQHVV           &'V                          FOHDQ  
                              FKDUJH              
              FDQFHOOHG                                  FOHDU  
              FDSDFLW\      FHOO          FKDUJHG           
              FDSLWDO       FHQW          FKHFN              
                                                
       EXVLQHVVHV                &(2                         FOHDUHU 
              FDSLWDOLVDWLRQ    FHUWDLQ                    
                                                        FOHDUO\ 
                     FDSLWDOL]HG           FKHFNHG              
       EX\           FDSWXUH                        FOLHQW  
                                                           
                FDSWXUHG     FHUWDLQO\        FKHFNLQJ           
                                       FKHUU\            
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                     FRPPLW                   
                            FRPPLWV                  
       FORVH             FRPPLWWHG             
                                          
       FORVHG                   FRPPLWWHH                    
                 &ROH\                              
                           FRPPLWWLQJ                    
       FORVHU        FROOHFW                            
       FORVXUH              FRPPRQ                    
       FORWK          FROOHFWHG                         
                        FRPPRQO\                
       &ORXG                  FRPPXQLFDWH                   
                                             
                 FROOHFWLQJ                             
               FROOHFWLRQ      FRPPXQLFDWHG                  
                                         
                                                     FRPSDQ\ V 
       FRDFK          FRORQV                                
       FRFDLQH       FRPELQDWLRQ         FRPPXQLFDWLQJ              
                                           FRPSHWLQJ 
       FRGH                                       FRPSODLQHG
               FRPH      FRPPXQLFDWLRQ                   
                                  FRPSDQ\         FRPSOHWH 
                                               
                                       
                                              
       FRGHUV                                
       FRGLQJ                   FRPPXQLFDWLRQV             FRPSOHWHG 
                                                        
       FRIIHH        FRPHV                          
       &RLQ                                  FRPSOHWHO\ 
                FRPIRUWDEOH                            
                                          
                                         FRPSOHWHQHVV
       &RLQ([FK                                   
               FRPLQJ                               FRPSOHWLQJ 
             FRPPHQW         FRPSDQLHV                FRPSOLDQFH
                                      
                                     FRPSOLFDWHV
                                          
                                           FRPSUHKHQVLRQ
              FRPPHQWV                        
                                             FRPSURPLVH
               FRPPLVVLRQHU                      
                                     FRPSURPLVHG
                                                
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              FRQILUPHG                 FRSLHG           
                                       FRSLHV             
       FRPSXWHU      FRQILUPV                        
                               FRQWUDFWV                 
                     FRQIOLFWV              FRS\        
       FRPSXWHUV           FRQIXVLQJ     FRQWUDFWXDO                
                              FRQWUDU\                 
       FRQ        FRQMXQFWLRQ                                  
                                    FRQWURO                   
       FRQFHUQLQJ      FRQQHFW                              
                      FRQQHFWHG                              
       FRQFOXGHG           FRQQHFWLRQ                       
                                                 
       FRQFOXGHV                                          
       FRQGLWLRQ     FRQVHQW                               FRUUHFWHG 
                                     &RUH          
       FRQGLWLRQV                                   FRUUHFWLRQ 
                 FRQVHUYDWLRQV                     FRUUHFWLRQV 
                                                         
       FRQGXFW       FRQVLGHU                                 FRUUHFWO\ 
                                             FRUQHU            
       FRQGXFWHG      FRQVWDQWO\            FRUSRUDWH         
                 FRQVWLWXWH                       FRUUHVSRQG
                  FRQVWUXFW                       
       FRQIHU         FRQVWUXFWHG                          FRUUHVSRQGHQFH
                                    FRQWUROOHG                
       FRQIHUHQFH     FRQVXOWLQJ                              FRVW 
               FRQWDFW                FRUSRUDWLRQ     FRXQVHO 
                                            FRUSRUDWLRQV            
       FRQIHUHQFHV         FRQWDFWHG                               
                      FRQWDLQHG              FRUUHFW            
       FRQILGHQFH          FRQWDLQLQJ     FRQWUROOLQJ              
                     FRQWDLQV                              
       FRQILGHQWLDO        FRQWHQG         FRQWUROV                 
                  FRQWHQW       FRQYHUVDWLRQ                  
              FRQWHQWV                           
                                                       
               FRQWH[W        FRQYHUVDWLRQV                  
       FRQILGHQWLDOLW\                                  FRXQVHO V 
                                           FRXQWULHV 
                    FRQWLQXH                          FRXQWU\ 
       FRQILUP                               
               FRQWLQXHG                            
             FRQWUDFW                          FRXSOH 
       FRQILUPDWLRQ               FRQYH\HG                 
                                  FRQYLQFH                  
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       FRXULHU                                
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       FRXULHUV                FUHDWLRQ               
       FRXUVH                                         
                        FUHGLEOH               
                             FULPLQDO                     
       FRXUW                    GDWHG          
                       FULPLQDOV             
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                        FZULJK#SRV             
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       FRYHUHG                 GDWH             
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       FRZRUNHUV                                
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                 GHHG                            GHVWUR\HG 
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       GHDO                   GHQ\           
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              GHIDPDWLRQ                GHSHQGV          
                                   GHSRVLWLRQ     GHYHORS 
             '()$86                              
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       GHDOLQJ                                     
                                                  
       GHDOLQJV                                        GHYHORSHUV 
       GHDOV     GHIHDW         'HIHQVH V            GHYHORSLQJ
       GHDWK      GHIHQGDQW        GHILQH                  
                        GHILQLWHO\    GHSRVLWLRQV       
       GHEW          'HIHQGDQWV                          GHYHORSPHQW
       GHFDGHV     GHIHQVH                  'HV         
       'HFHPEHU               GHILQLWLRQ               
                       GHILQLWLYHO\                        
                                     GHVFULEHG     GHYLFH 
                     GHIUDXGLQJ    GHVFULELQJ       
       GHFLGH                  GHOLYHU       GHVFULSWLRQ           
       GHFLGHG                              GHYLFHV 
                                        'HVLJQ          
       GHFLVLRQV            GHOLYHUHG      GHVLJQDWH      
                               GHVLJQDWLRQ          
       GHFODUDWLRQ                                            
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                                   GHVLJQLQJ      GLFWDWH 
       GHFU\SWHG              GHPRQVWUDWHG       GHVLJQV       GLFWDWHG 
       GHFV                       GHVLUDEOH       
       GHGXFWLEOH                          GHVLUHG       GLFWLRQDU\ 
                        GHPRQVWUDWLRQV     GHVWUR\       GLHG  
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                          GLVFXVVLRQ               
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       GLIIHUHG                             GRFXPHQWHG
       GLIIHUHQFH                                
                                              
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       GLIIHUHQW                              
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       GLIIHUHQWLDO               GLVSOD\              
       GLIIHUHQWLDWHG       GLUHFWRU V    GLVSOD\HG             
                         GLVDEOHG      GLVSXWH                 
       GLIILFXOW                     GLVSXWHV               
                GLVDJUHH      GLVVROXWLRQ                 
                      GLVDJUHHPHQW                            
       GLIILFXOWLHV                  GLVWLQFWLRQ           
       GLJ              GLVDSSHDUHG         GLVWLQJXLVK              
       GLJLWDO                             
       GLUHFW        GLVFORVH       GLVWULEXWHG           
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       GLUHFWHG       GLVFUHWLRQ      'RD                
                      GLVFUHWLRQDU\       'RFWRU                    
       GLUHFWLRQ                              
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       GLUHFWO\               GRFWRUHG             
                         GRFXPHQW                 
                                           
                                             
                 GLVFXVVHG                      
       GLUHFWRU                                    
                                          
                                       
                  GLVFXVVHV                        
                 GLVFXVVLQJ                            
                                      
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                                 HDUOLHU 
                                            
                                  
                                     
                                           HDUO\  
       GRGJ\                               
       GRLQJ                                
                                           
                                    HDUQHG 
                                  HDVLHU 
                                        
                                 HDV\ 
                                  HFRQRPLF 
                                        (&1  
                             GUDIW      (GLVRQ 
                                      HGLWHG 
                                         
       'ROHYVNL                                    HGLWLRQV 
                                GUDIWHG        (GZLQ 
       GROODU                    GUDIWV      HIIHFW 
       GROODUV                                     
                                  GUDJ              
       GRPDLQ                   GUDZ           HIIHFWLYHO\ 
                           GULYHV           
       GRPLFLOHG                                  
       GRQDWHG                   GURS              
       GRRU                        'URSER[         HIIHFWXDWH 
       GRXEOH                 GUXJ           HLJKW 
       GRXEW                                 
                              GUXJV         HLWKHU  
                                               
       GRXEWIXO                GXH          
       GRZQORDG                                     
       GRZQORDGHG                        GXO\              
                             GXPE           HOHFWURQLFDOO\
       'U                  GXSHG            
                      '9       HOOLSVHV 
                                    HOVH V  
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                          '9'           (PDLO 
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                             ' (PLOLR V             
                                     HPSOR\HG 
                                                  
                                     (             
                          (      HPSOR\HH 
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                        HYDVLYH                   
       HPSOR\HHV                                           H[SDQGLQJ 
                       HYHQWV                          H[SHFW  
       HPSOR\HH V                   HYHQWXDOO\     H[FOXGH      H[SHQGLWXUH
                          HYLGHQFH       H[HFXWH            
       HPSOR\HU       HQWLWOHG             H[HFXWHG      H[SHULHQFH 
       HPSOR\PHQW                                        H[SHULPHQW
       HPSOR\V       HQWLW\              H[HFXWRU           
       HQDEOH                              H[KLELW     H[SHULPHQWHG
       HQDEOHG                                       
       HQDFW         HQWULHV                       H[SHULPHQWLQJ
       HQFU\SWHG     HQWU\                                
                                              H[SHUWV 
       HQGHG          HTXLSPHQW           H[DFW                H[SODLQ  
                                                
                  HTXLYDOHQW                                
                                             
                HUURQHRXV                             H[SODLQV 
                                                 H[SODQDWLRQ
       HQGV                   H[DFWO\                   
       HQIRUFHPHQW                                           H[SRVH 
               HUURU                              H[WHQG 
                                                   
       HQJDJH          HUURUV                        H[WHQVLYH 
       HQJDJHG                 H[DJJHUDWHG                     
       HQJDJHV                                          H[WHQW 
       HQJLQHHU                      H[DPLQDWLRQ                    
       HQJLQHHULQJ         HVSHFLDOO\                      H[WHUQDO 
                     (VT     H[DPLQHU                  
       (QJOLVK                     H[DPSOH                       
       HQKDQFH         HVVHQWLDO                              
                      HVWDEOLVK      H[FHHGHG                  
       HQTXLUH                                             H[WUD  
       HQTXLU\        HVWDEOLVKHG    ([FHO          H[KLELWV         H[WUHPHO\ 
       HQVXUH         HVWDEOLVKLQJ    H[FKDQJH       H[LVW         
                                       H[ZLIH 
       HQWHU        HVWDWH                         H\HV 
                                 H[LVWHG         
       HQWHUHG                                    HPDLO  
                                             
       HQWLUH                        H[LVWHQFH           
                                   H[LVWLQJ           
               HVWLPDWH                   H[LVWV        
               HVWLPDWLRQ                             
       HQWLWLHV       (XURSH                                     
                HYDGH         H[FKDQJHV      H[LW         
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                          IDWH      ILOHV 
                                            
                                                 
                            IDWKHU               
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                        IDFWV        IDWKHU V           
                              IDXOW              
                         IDFWXDO        )HEUXDU\            
                 HPDLOHG                             ILOLEXVWHU 
              HPDLOV      IDLU                    ILOLEXVWHULQJ
                                       
                                       ILOLQJ  
                                           
                                       ILOLQJV 
                      )DLUO\                    
                         IDNH                    ILOWHULQJ 
                                               ILQDO  
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                           IDNHPDLODGGU   IHOO           ILQDOLVLQJ 
                                 )HUULHU         ILQDOO\ 
                    IDOVH            ILQDQFLDOO\
                                                
                                                     ILQG  
                        )        IDOVHO\                        
                 )           IDPLOLDU      ILHOG              
               IDEULFDWH               ILJKW               
                  IDEULFDWHG         ILJXUH         ILQGLQJ 
                       ILOH            
                                      
                                      ILQGLQJV 
                                         ILQH  
              IDEULFDWLQJ                  ILQLVK  
             IDEULFDWLRQ                            
              )DFHERRN     IDPLOLDULVH                           
                               ILOHG         
                           IDPLO\                       
             IDFLOLWLHV                      
              IDFW                    ILQLVKHG 
                                          
                     )DPRXV                ILQLVKLQJ 
                         IDU                  )LQQH\ 
                                               
                                     ILUHG  
                                                      
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       ILUP           IROORZV                                
                       IROORZXS                        
       ILUVW         IRUFH                      
                  IRUHJRLQJ                             
                                 IRXQGHG         
                   IRUHQVLF                      
                                           
                                                  
                                  IRXQGHU       
                                                
                  IRUHQVLFDOO\                       
                                                      
                IRUHQVLFV     IRUPDOLWLHV    IRXU      
                                IRUPDOLW\               
                IRUJH          IRUPDOO\                
                           IRUPDWLRQ      IUDXG       
                      IRUJHG         IRUPDWV                   
       ILYH                   IRUPHG          IUDXGXOHQW           
                                                      
                   IRUJHULHV     IRUPHU         IUDXGXOHQWO\         
                IRUJHU\                             
                                                         
                 IRUJHW        IRUPXODWH       IUHH            
       IODJ            IRUJLQJ       IRUPXODWHG     )UHHGPDQ        
       IODJV     IRUJRW        IRUWK              
                 IRUP         IRUWXQH               
                         IRUXP             
                                                   
       IOHG                                       
       )OHHW                   IRUXPV                   
       )/(;1(5                  IRUZDUG                 
       )ORDW                                    
       )ORULGD                                      
                           IRUZDUGHG              
       IOXII\                                     
       IO\LQJ                                     
       IRFXVHG                                      
       IRFXVLQJ                                    
       IROGHUV                                        
       IROORZ                   IRUZDUGLQJ                    
                                         
       IROORZHG                                       
       IROORZLQJ               IRUZDUGV                
                                            
                                            
                          IRXQG                
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               IXOO\           *0;        
                 IXQFWLRQ                          
                IXQG        *LWKXE        JR       
                        JLYH                 
                                       
                                          
              IXQGHG                           
                                           
                                              
                                   
              IXQGLQJ                        
                                          
                                         
                                          
                                        
                                                
                IXQGV         JLYHQ                
                                                
               IXQQ\                              
                IXUWKHU                         
                                        
                                              
       )UHHGPDQ V                                    
                                                    
       IUHHO\             *                           
                      *                             
       )UHQFK         JDLQ                         
                                                
       IUHTXHQWO\      JDLQHG                         
       )ULGD\          JDLQV                    
       IULHQG     JDPEOLQJ                         
                   JDPLQJ                           
                     JDWKHUHG                        
       IULHQGV        *DYLQ                                 
                JHQHUDO                     JRDO      
       IURQW          JHQHUDOO\    JLYLQJ       JRHV       
                                         
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                                                
                JHQWOHPDQ                       JRLQJ      
                           *L]PRGR                   
       IXOO       JHWWLQJ                            
                       JOHDQHG                
                      JOREDO                     
                 *,&65                      
                    JOREDOO\                  
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                JURXQG       KDQGLQJ        KHDULQJ           
                                                             
       JROG           JURXQGV        KDQGV                   
       JRRG      JURXS          KDQGZULWLQJ        KHDULQJV        
                                                   
                     KDQGZULWWHQ        +HDUQ            
                                                          
                          KDSSHQ       KHDY\            
                                        KHOG         
                           KDSSHQHG                 
       JRRGV                                      
       JRWWHQ                                         
                     JURXSV                        +LJK6HFXUHG V
       JRYHUQPHQW          JXDUDQWRU                             
                                              KLUH 
                    JXHVV                          KLUHG 
       JRYHUQPHQWV         JXHVVLQJ                       
                                                KLULQJ 
       JRYHUQV       JXLGHG                         
       *R[           JXLGLQJ       KDSSHQLQJ          KHOS       KLVWRULFDO 
       JUDE           JXLOW\                           KLVWRU\ 
       *UDFLD         *XLQHD        KDSSHQV                    
                                             +RD  
                 JXOOLEOH                         +ROERUQ  
               JX\               KHOSHG        KROG 
              JX\V                             
                                    KDSS\                          
                       +                   KHUHWR           
                  KDELW                        +H\              
                             KDUG                      
       JUDQGIDWKHU         KDFNHG               KLG              
                                         KLGH      KROGLQJ 
       *UDQJHU        KDFNV                      +LJK             
       JUDQWHG       +DO      +DUG\     KLJKHU          
       JUDSKLF       KDOI                  +LJK6HFXUHG         +ROGLQJV 
                         +&                    
       JUDYH                                            
                   +DOWRQ       KHDG                      
       JUHDW      KDQG                                     
                          KHDGHUV                   
       JUHHG\                    KHDU                
                                                   
       *UHJ          +DQG&DVK                             KROGV  
                                                    
              KDQGHG        KHDUG                 KROLGD\ 
                                      +RPHODQG 
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                                        LQGLFDWRUV     LQLWLDOO\ 
                      LPSURSHU       LQGLYLGXDO          LQN 
       KRQHVWO\                              LQVLGH 
       +RQRXU              LPSURSHUO\               LQVLGHU 
             LGHDV      LQDELOLW\      LQGLYLGXDOO\        LQVWDOO 
                        LQDFFXUDFLHV                LQVWDQFH 
                LGHQWLILHG                    LQGLYLGXDOV            
                             LQDFFXUDWH                
             LGHQWLILHUV                            LQVWDQWO\ 
       KRQRXUHG                                        LQVWUXFW 
       KRSH          LGHQWLILHV                                   
       KRSHIXO        LGHQWLI\        LQDGHTXDWH      LQGLYLVLEOH            
       KRUUHQGRXV                    LQDSSURSULDWH                         
                                          LQGXVWU\           
       KRUULEOH               LQFDSDEOH                       
       KRUULEO\                 LQFDSDFLW\          LQILQLWHO\      
                                           LQIR          
       KRVSLWDO     LGHQWLI\LQJ    LQFOXGH                   
                    ,),3                               
       +RWZLUH     ,),3:*                          LQVWUXFWHG 
                                                
             LJQRUDQFH                                     
               LJQRUDQW      LQFOXGHG       LQIRUP            
                    LJQRUH                 LQIRUPDO         
       KRXUV      LOOHJDO                  LQIRUPDWLRQ           
              LOOHJDOO\                     LQVWUXFWLQJ 
       KRXVH       LPDJH          LQFOXGHV                
              LPPHGLDWHO\         LQFOXGLQJ               LQVWUXFWLRQ
                                                   
              ,PSHDFKPHQW                             
                                              
       +7&     LPSOHPHQWHG                              LQVWUXFWLRQV
                                              
             LPSO\LQJ        LQFRPH                 LQWHJULW\ 
                              LQFRPSHWHQFH                 LQWHOOHFWXDO 
              LPSRUW                              
                    LPSRUWDQFH          LQFRUSRUDWHG                  
       +XPDQ                                                
       KXVEDQG       LPSRUWDQW       LQFRUUHFW                      
                                       LQIRUPHG           
                          LPSRUWDQWO\                                   
               ,                         LQFRUUHFWO\                  
       ,&(;          LPSRVVLEOH     LQFUHDVH                 
       ,&7                                                   
       LGHD                    LQGHSHQGHQW         LQKHULWHG         
               LPSUHFLVH                    LQLWLDO           
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                        LQYRLFLQJ               
                         LQYRNHG                  
                          LQYROYH                 
                                             
       LQWHQG                     LQYROYHG                     
                                                  
       LQWHQGHG                                    
              LQWHUYLHZHU                          -DQXDU\)HEUX
       LQWHQWLRQDOO\                                        
               LQWHUYLHZHULQW                      -HQQLIHU 
                                                       MRE  
       LQWHUDFW      LQWHUYLHZLQJ                              
       LQWHUDFWLRQ                                   MREV 
                      LQWHUYLHZV                         -RH  
       LQWHUDFWLRQV                                    
       LQWHUFHSWLRQ                                           -RKQ  
                     LQWURGXFH                            
       LQWHUHVW       LQYHQWLRQ                               
                                         ,UD V         
                LQYHVW           LQYROYHPHQW                     MRKQFKHVKHU#
       LQWHUHVWHG     ,QYHVWLJDWLRQ               LUUHOHYDQW       
                                    LQYROYLQJ               MRLQHG 
       LQWHUHVWLQJ         LQYHVWLQJ      ,3      ,56        MRLQW 
                                                          MRLQWO\ 
       LQWHUIDFH      LQYHVWPHQW                ,VODPLF        -RQHV 
       LQWHUIHULQJ                         LVVXH     MXGJH  
       LQWHUMHFW                                             
                     ,QYHVWPHQWV          L3KRQH                    
       LQWHUQ                    ,32         LVVXHG         
       LQWHUQDWLRQDO                                            
                           ,UD                        
                              LVVXHV           
                                                 
                  LQYHVWRUV                 ,WDOLD           
                                          
                                       LWHPV         
                LQYLWHG                                MXGJPHQW 
       LQWHUSUHW                                    -           MXGJPHQWV
       LQWHUUXSW    LQYRLFH            -DPLH         
                                              -XOLR  
       LQWHUUXSWHG                                    -XO\  
                                                  MXPS 
       LQWHUUXSWLQJ                       -DQXDU\        -XQH 
       LQWHUVWDWH     LQYRLFHV                       MXQJOH 
       LQWHUYHQH                               MXQN 
       LQWHUYLHZ                                  MXQNHG 
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               .         .OHLPDQ                      
       .                          
       NHHS                               
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                                       NQRZQ  
                                     
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                                 .30* 
                                
                               .UDNHQ 
       NHHSV                           
                                .OHLPDQ V                  /
         
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                                    ODEHOOHG 
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                            
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                                   ODSWRS 
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                          NQRZLQJ       ODXQGHULQJ
                                             
                              NQRZOHGJH      ODZ  
       NLFNHG                             
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                                           
       .LQJGRP                                 
                                    
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                                                                                                  Page 21

                      OHDS             OLPLW          OLVWHQLQJ           
       ODZVXLWV    OHDYH           OLPLWHG                        /RGH\ 
       ODZ\HU                             OLVWV              
              OHDYLQJ                    OLWHUDOO\        ORGJHG 
                 OHG                                     ORJ 
                                      OLWLJDWLRQ          
               OHGJHUV                                
                  OHIW       /LQGD                       
                                OLQH                 ORJJHG 
       ODZ\HUV                                        
                  OHIWKDQG                              ORJJLQJ 
               OHJDO                             /RQGRQ  
                                               
                                             ORQJ  
                                                 
               OHJDOO\                              
                OHJLWLPDWH                            
               OHQJWK\                             ORQJHU 
                /HRQ                                         
               OHWWHU                                       
                        OLQHV          OLWWHUHG            
                  OHWWHUV         OLQN            OLWWOH       
                            OLQNHG                      
               OHWWLQJ           OLQNLQJ                      
               OHW V       OLQNV                       ORQJHUZLQGHG
                          OLTXLGDWHG                        
                                                        ORRN  
                            OLTXLGDWLRQ                    
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                            OLVW     OLYLQJ            
                                            //&              
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                 OLEHUW\                            
                                                       
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                                           ORDG               
                   OLFHQFH               ORDQ            
               OLFHQFHV                            
               OLFHQVHG        OLVWHG                     
       ODZ\HU V      OLFHQVHV                  ORDQV           
       OD\             OLH                                   
       OHDG           OLIH                 ORFDO               
       OHDGLQJ                           ORFDWLRQ        ORRNHG 
       OHDGV                                    ORFNGRZQ            
       OHDNHG         OLJKW           OLVWHQHG       ORFNHG             
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                       PDQDJHG      PDWFK          
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       ORRNLQJ                                 
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                PDFKLQH                     
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               PDJLF        0DULQD                 PHGLXP 
                     0DJQD      PDUN                   
       ORVV          PDLOER[         0F$UGOH       PHHW 
       ORW      PDLQWDLQ             0F*RYHUQ             
                 PDLQWDLQHG                              PHHWLQJ 
                             0F*UDWK1LFRO         
                 PDLQWHQDQFH                              
                           PDUNHG        0F.HQ]LH        
               PDMRULW\                          
                            PDUNHU             
               PDNLQJ        PDUNHW             
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       ORWV                            0F0DVWHU        
       /RXLV               PDVTXHUDGH                
              PDOOHDEOH                         
                      PDQ      PDVVLYHO\            
       ORZHU                  PDVWHU             
       O\LQJ         PDQDJH            PHDQ          
       /\QQ                                  PHHWLQJV 
                         0DVWHUV                 
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             PLJUDWH                       
               PLJUDWHG                       
                                        
                                        PRPHQWDU\            
       PHPEHU       0LNH                                  
                                   PLQRU         0RQGD\          
       PHPEHUV      0LOLWDU\       PLQXV              
                          PLQXWH        PRQHWLVHG        
                 0LOOHU                PRQH\         PXVLF 
       PHPEHUVKLS                                
                    PLOOLRQ                                  1
       PHPEHU V                PLQXWHV                1  
                                              1DNDPRWR 
       PHPRUL]H                              QDPH  
       PHPRU\                   0,5                      
                             PLVDSSUHKHQG                    
       PHQWDOO\      PLOOLRQV                              
       PHQWLRQ    PLQG        PLVIRUWXQH                         
                                        PRQLHV          
               PLQGV          PLVKHDUG        0RQWHVHOLR          
       PHQWLRQHG          PLQH      PLVOHDGLQJ                   
                         PLVSDUDSKUDVL    PRQWKV         
                                                    
                        PLVTXRWLQJ          PRUQLQJ      
                                                        QDPHV 
       PHQWRU                PLVUHDG        PRXWK            
       PHUJLQJ                  PLVUHSUHVHQWDW   PRYH         
       PHULWV                                         QDPLQJ 
       PHVVDJH       PLQHG          PLVVHG                    
                      PLVVSHOW              1$6$ 
                         PLVVSRNH                   QDWLYH 
       PHVVDJHV            PLVVWDWHG     PRYHG            
                              0,7                   Q&KDLQ 
       0HVWUH                  0-)                   
                                                 
       PHWKRGRORJ\                                  
                                             PRYHPHQW             
       0LDPL      PLQLPDO        PRELOH                   
       0LFKDHO                                                
                    PLQLPXP        PRPHQW          PRYLQJ     Q&KDLQ V 
       PLFURSKRQHV                                   Q&U\SW 
                     PLQLQJ                         
       PLGGOH                       0W             
       PLGVW                            07            
       PLGZD\                        PXFNHG         
       PLG                    PXOWLSOH       
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                             RDWK        
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                      QRWHV                  
                      QRWLFH                   
       QHFHVVDU\                                     
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                          QRWLILHV                  
                         QRWLQJ                   
                      QRWZLWKVWDQGLQJ              
                                                     
                  QHYHUWKHOHVV      1RYHPEHU                      
                                                 
                QHZ                           
                                           
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                            16$                    REMHFWLRQV 
       QHHGHG                   QXPEHU                    
                                             REMHFWLYH 
                                        REMHFWV 
       QHHGV                                   REOLJDWLRQV 
                                               REWDLQ 
       QHJDWLYH                                        
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       QHJRWLDWLQJ                             REWDLQHG 
       QHJRWLDWLRQ    1JX\HQ                          
       QHJRWLDWLRQV                                      RFFDVLRQ 
                QRQ$XVWUDOLDQ           REMHFWHG       RFFDVLRQDOO\
                                                      
       QHLWKHU        QRQUHVSRQVLYH                           RFFXU 
                                          REMHFWLQJ          
       QHW            QRQUHYRFDEOH              REMHFWLRQ         
       QHWZRUN                                   RFFXUUHG 
       QHYHU      1RSH                            
              QRUPDO         QXPEHUV                    
               QRVLQHVV                        
                 QRWH                                     
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                        2DN\                   
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       2FWREHU                           2UODQGR          
                                  RXWFRPH           
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       RIIHQFH                              RXWVLGH        R FORFN 
                          RSHUDWLRQV                
       RIIHU                          RXWVWDQGLQJ         2 0DKRQH\
                          RSLDWHV                         
       RIIHUHG                              RYHUDOO            
       RIILFH         ROG           RSSRUWXQLW\     RYHUDUFKLQJ           
                      RSSRVHG                          
                 2OLYHU      RUDO           RYHUFODLPLQJ           
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                       RUGHU          RYHUFRPH 
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                                             3 
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                         RUGHUHG       RYHUDVVXPH            
                                                     3DH]  
               RQH V      RUGHUV     RZHG       SDJH  
                                                    
                RQHRQRQH                        RZQHG           
                             RUJDQLVDWLRQ                  
                RQHWKLUG                            
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               RQJRLQJ                                 
                              RUJDQLVDWLRQV                  
               RQOLQH                               SDJHV 
                              RULJLQ                    
       RIILFHU         2QWLHU      RULJLQDO               
       RIILFHV                                 3DJH/LQH 
               RSHQ                RZQHU           SDLG 
       2IILFH V                       RZQHUVKLS          
       RIILFLDOV                                     
       2K                                               
               RSHQHG                             
                                                     
       RND\      RSHQO\                 RZQLQJ            
                 RSHUDWHG                                
                RSHUDWHV      RULJLQDOO\                     
               RSHUDWLQJ                    RZQV          3DLJH 
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            SDUWLFLSDWHG                           
             SDUWLFXODU                              
                         SDXVH                    
       3DLQ                                       
       3DQDPD              SD\               
                                         
                                         
                                        
       3DQDPDQLDQ         SDUWLHV                            
                                               
       3DQRSWLFU\SW                             SHUVRQDO  
                                              
                        SD\LQJ                 
       SDSHU                                    
              SDUWQHU                        
               SDUWQHUVKLS                   
       SDSHUV         SDUWV                          SHUVRQDOO\ 
                        SD\PHQW                  
       3DSXD     SDUW\                              
                                                    
       SDUDJUDSK                                 SHUVRQQHO 
                                        SHUVSHFWLYH
                      SD\PHQWV               
               SDVV                    3*3 
              SDVVHG                                
                    SDVVZRUG      SD\V                        
       SDUDSKUDVH                       3')                        
                     SDVWRU         3(            SHRSOH V        
       SDUN          SDWHQW      SHDNLQJ                      
       3DUNLQVRQ V                 3HGHUVRQ        SHUFHLYH       
                            SHQ           SHUFHQWDJH    3KLOLSSLQHV
       SDUODQFH            SHQGLQJ        SHUFHQWDJHV         
       SDUW                                           3KLOOLS 
                            SHRSOH      3HUIHFW       SKRQH  
             SDWHQWLQJ                  SHULRG          
             SDWHQWV                            
                                           
                                             
                                         
                              SHULRGV        
                                 SHUPLW          
              3DWULFN              SHUVRQ        
                                    
                                            SKRQHV 
                                           SKRWR 
                                           SKRWRJUDSKV
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                                SRVHG                     
       SLFN                      SRVLWLRQ       SRZHU       
                                                  
       SLFNHG                                        SUHYLRXVO\ 
                                    SUDFWLFDOO\      
       SLFWXUH                         SUHFLVH         
                                                     
       SLOHG                        SUHFOXGH         
       SLSHOLQH                                     SULFH 
       SODFH                        SUHFOXGHG     SULQFLSDO 
                                  SUHGLFDWH        
                          SRVLWLYH               SULQFLSDOV 
                                                     SULQW 
       SODFHG                  SRVVHVVLRQ                     
                                      SUHIHU        SULQWHG 
       SODFHV                                           SULQWRXW 
                                SRVVLELOLW\        SUHIHUHQWLDO       
       SODFLQJ                                SUHMXGLFH         
       SODLQO\         SOXV           SRVVLEOH      SUHMXGLFLDO      
                       SRLQW                             
       SODLQV                           SUHOLPLQDU\         SULRU  
       SODLQWLII                                             
                                   SUHSDUH          
                                 SUHSDULQJ        
                                 SUHVHQFH      SULYDWH  
                                        SUHVHQW        
       SODLQWLIIV                                
                                               
       SODQ                                         
                           SRVVLEO\      SUHVHQWDWLRQ          
       SODQQHG                                             
                               SRVW     SUHVHQWHG       
       SODQWV                                      SULYDWHO\ 
       SODWIRUP        SRLQWV                           SULYLOHJH 
                                     SUHVHUYHG         
                 SROLFH                  SUHVHUYLQJ            
                               SRVWV                        
       SOD\                     3RVWLW      SUHVVHG          
       SOHDVH      3RQFH           SRWHQWLDO     SUHVVXUH       SULYLOHJHG 
              3RQG                   SUHVXSSRVH            
                3RQ]L                                     
              SRS                    SUHWHQGLQJ          SUREDEO\ 
                  SRUQ            SRWHQWLDOO\               
               SRUQRJUDSK\                SUHWW\          
                                                      SUREOHP 
                SRUWLRQ                SUHYLRXV          
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                     SURGXFWV        SURSRUWLRQDO        SXQLVKPHQW             
       SUREOHPDWLF        SURIIDXVWXV                                       
                                SURWHFWHG                        
       SUREOHPV    SURILOH                   SXUFKDVH          
                   SURILWDEOH     SURWHFWLQJ                    
       SURFHHG       SURJUDP                                 
                SURJUHVV       SURWHFWLRQ                  
       SURFHHGLQJV               SURWHFWLYH    SXUFKDVHG          
               SURMHFW      SURYH                   
                      SURYLGH                  
       SURFHVV                                         
                                              
                SURMHFWV                              
                                                        
               SURORQJ                 SXUFKDVHV        
       SURFHVVHV     SURPLVH                         SXWWLQJ  
       SURFHVVLQJ                             SXUFKDVLQJ        
       SURGXFH       SURPLVHG                                  
                                  SXUSRUW          
                            SURYLGHG       SXUSRUWHGO\        
              SURPLVLQJ                            
       SURGXFHG      SURSHU              SXUSRUWLQJ     SP  
             SURSHUO\                            
                               SXUSRUWV          
                                                   
                             SURYLGLQJ                  
              SURSHUW\       SURYLQJ                     
                        SURYLVLRQ                
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                                 SXUSRVHIXO          TXDOLILFDWLRQV
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       SURGXFW                               SXVKLQJ        
                               3XHUWR         SXW        
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                             SXOOHG                    
                     SURSRQHQW                                 
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                   UDQGRP                     
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                                 UHDOO\        
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             TXLFN      UHDG                
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                                  UHFDOO          
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                                                   
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                 5                         UHFRJQLVH 
               UDLVH                     
                                       
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              5DPRQD                             
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             UDPRQDZDWWV                           
                                               UHFHLSW           
       TXHVWLRQHU    5DPRQD V  UHDOLVH                             
       TXHVWLRQLQJ    UDQ              UHFHLSWV          
                                    UHFHLYH           
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                                                UHOHYDQFH 
                                     UHJLVWUDWLRQ      
                        UHIHUULQJ                 
                                                 UHOHYDQW 
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       UHFROOHFW                                               
       UHFROOHFWLRQ             UHIOHFW       UHJLVWU\    UHOLDQFH 
                                       UHOLHG 
                 UHFRYHUHG                          UHO\ 
                UHG               UHJXODU          
                                         UHJXODUO\       
       UHFRPPHQGHG                 UHIOHFWHG      UHJXODWLRQ      UHO\LQJ 
                                                   UHJXODWLRQV    UHPDLQ 
       UHFRUG       UHGDFWHG      UHIOHFWLQJ     5HLQKDUGW          
              UHGLUHFW                                
                             UHIOHFWLRQ              UHPDLQLQJ
              UHHO           UHIOHFWV                    
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                   UHIHU                      UHPDUNDEO\
                                            
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                             UHIXQGV                         
                 UHIHUHQFH    UHIXVH         UHLWHUDWH        
                             UHJDUG                    
               UHIHUUHG                 UHODWH        
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       UHFRUGHG               UHJLVWUDU                      
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                                    UHODWLRQVKLS      
                                        UHPRYH 
                                                 UHPXQHUDWLRQ
       UHFRUGLQJ                          UHODWLYH          
                              UHOHDVHG       UHQHJRWLDWLQJ
                                                      
       UHFRUGV                           UHOHDVLQJ     UHRUJDQLVHG 
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       UHSHDW     UHTXLUHPHQWV        UHVSRQGV                
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                  UHTXLUHV        UHVSRQVH               5,9(5$ 
       UHSHDWHGO\                            5LYHUR 
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       UHSKUDVH        UHVHDUFK                    
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                                UHVW              
       UHSRUWHU                                   
                  UHVHUYH        UHVWDWH                 
                        UHVWUXFWXUH                  
                                                
                       UHVXOWHG               
                    5HVHUYH V     UHWXUQ                       
       UHSRUWHUV     UHVLGH                      ULJKWV    
                              UHWXUQHG                   
       UHSRUWV                                       
       UHSRVLWRU\          UHVLGHG                            
                     UHVLGHQW                             
       UHSUHVHQW        UHVLGHV       UHYHDOHG               
                  UHVLJQDWLRQ     UHYHUVDO              
       UHSUHVHQWDWLRQ                UHYLHZ                 
                                          
                                     UHYLHZHG              
       UHSUHVHQWDWLYH      UHVLJQHG                        
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       UHSUHVHQWHG                               
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                                   UHYRNH                 
       UHSUHVHQWLQJ        UHVLJQLQJ       UHDVN                       
                UHVROXWLRQ     UHHQDEOHG          ULJKWKDQG    
       UHSUHVHQWV     UHVSHFW                                    
       UHSXWDWLRQ                UHVFDQQLQJ         ULVN      
       UHTXHVW        UHVSRQG                                       
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                             ULFH                     
       UHTXHVWHG                5LFR                     
       UHTXHVWV                  ULJKW               
       UHTXLUHG       UHVSRQGHG                         
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              52&+(           6                   
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                          VDLO                       
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                  UR\DO          6DPVXQJ                   6'  
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              UXOHV           6DWRVKL                   VHDQFHV 
              UXOLQJ                             VHDUFK 
                                     VHDUFKHG 
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                 UXQ       6DWRVKL V                 
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                                              
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                    6DWRVKL#DQRQ      6&$      VHFUHW 
                 UXQQLQJ                                    VHFWRUV 
                     6DWRVKL#YLVWR     6&$'$           VHFXULW\ 
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                    6DWXUGD\        VFDQ             
                                         VFDUULQJ       VHH  
                        6DXGL                         
                    VDYHG           VFKHGXOH        
                  UXQV      VDZ                          
                 UXUDO              6&+,//(5           
                 5XVVLDQ                 VFLHQWLVW          
               5 '          VD\LQJ                     
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       5LYHUR V                                
       5RDG                           VFUHHQ       
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       5REHUW                                   
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                                                   
                             VHQWHQFHV                        
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                             VHSDUDWH         VKDUH        
               VHOOLQJ                            
             VHQG     VHSDUDWHO\                 
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                     VHULHV                      
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              VHQGLQJ                                       
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                                 VKDUHKROGHU         
                       VHUYLFHV                    
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               VHQVH                                
                 VHQW       VHW                
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                                           VKRUWKDQG
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                                        VKRYHG 
                                              VKRZ 
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       VHHLQJ                                               
                                    VKDUHKROGLQJ           
       VHHN                                       
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       VHHNLQJ                VHWWOHG        VKDUHKROGLQJV       VKRZLQJ 
                      VHWWOHPHQW                             
       VHHNV                                VKDUHV     VKRZQ 
       VHHQ                VHWWOHU            VKRZV 
                       VHWXS                    
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       VHOO     VHQWHQFH       VHYHQWK                VLGH  
                     6H\FKHOOHV                   
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       6LHPHQV       6LON      VNLS          VROG         
       VLJQ              6N\SH                     
                                                    
                           6ODFN      VROH          
               VLPLODU                                   
                      VOLFH                        
                VLPSOH                 VROHO\          
                                         VROLFLWRU     VRUW  
       VLJQDWRU\                      VROLFLWRUV       
                                                         
       VLJQDWXUH      VLPSOLILHG     VOLFHV                   
                                                 
               VLPSOLI\LQJ                    VROXWLRQ       VRUWV 
                                                      
            VLPSO\      VPDOO          VROYLQJ        VRXJKW 
                                      VRPHERG\         
                                             VRXQG 
                                                 VRXQGV 
                           VPDUW                           
                         VQDSVKRW     6RPPHU         VRXUFH 
       VLJQDWXUHV                   VRIWZDUH                
                VLPXOWDQHRXVO\                     VRXUFHG 
       VLJQHG                                      
                  6LQJDSRUHDQ                        
                                                   
                VLQJOH                   
                                       6RXUFH)RUJH
                                          
                                    VRXUFHV 
                                              
             VLU                    6RXWK 
                VLW                       
                                                  
               VLWH           6RPPHUV       
                                 VRQ           6287+(51 
                               VRRQ         VSHDN  
                                           VSHDNLQJ 
              VLWWLQJ                             
                              VRUU\      VSHDNV 
                                               VSHFLILF 
                     VLWXDWLRQ                            
       VLJQLILFDQW                                         
                  VL[                 VSHFLILFDOO\ 
       VLJQLQJ                                     
                 VL[WK                           
       VLJQV         VNLOO                                 VSHHFK 
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                         VWHSV           VWULS              
                                VWHSE\VWHS        VWURQJ        
       VSHOO                                 VWUXFN            
       VSHQG                  6WHUOLQJ    VWXII            
                                            
                          6WHYHQ      VWXSLG        
                                         VXEMHFW         
       VSHQGLQJ       VWDUWLQJ       VWLFNV                          
                                VWRFN          VXEPLVVLRQ         
       VSHQGV                VWRRG       VXEPLW             
       VSHQW          VWDUWV         VWRS           VXEPLWWHG         
                                            
                                     VXEVHTXHQW     VXUJHU\ 
              VWDW          VWRSSHG                VXVFHSWLEOH
       VSKHUH          VWDWH                                 
       VSRNH                                VXEVHTXHQWO\          
       VSRNHQ                VWRSV                        VXVSHFW 
                               VWRUDJH       VXEVHW             
       VSRXVH                                      VXEVLGLDU\            
       VSUHDGVKHHW     VWDWHG         VWRUH                        VXVSHFWHG 
       VWDII                               VXEVWDQFH      VXVSLFLRQV 
                          VWRUHG                     
                                         VXEVWDQWLYH         VXVWDLQ 
                VWDWHPHQW      VWRU\                           
                                VWUDLJKW       VXGGHQO\          
       VWDJH               VWUDWHJ\    VXH      VZDPS 
                                  VXLFLGH        VZLWFK 
                       VWUHDP                  
                              VWUHHW                VZRUH 
       VWDNH          VWDWHPHQWV          VWULNH     VXLW         
       VWDPS                            6XLWH         
                67$7(6                  VXP        VZRUQ 
                     VWDWLQJ                              V\VWHP  
       VWDQG                            6XQGD\            
               VWDWXWRU\             VXSHUYLVLRQ            
       VWDQGDUG     VWD\                                      
                               VXSSOLHG        
       VWDQGLQJ      VWHDO                  VXSSO\            
                      6WHIDQ                  VXSSRUW         
       VWDUW                     VXSSRVHG         
                                           V\VWHPV 
                                    VXSSRVHGO\
                                                         7
                 6WHQRJUDSKLF                 VXUH        7 
       VWDUWHG                                          WDEOH  
                 VWHS                                
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       WDFNHG        WDVN                               WKHRU\ 
                                  WHFKQRORJ\              
       WDJ     WDVNHG                  WHOOLQJ       WKHUHRI 
              WDVNV                           7KH\PRV 
                  WDXJKW                             WKLQJ  
       WDNH      WD[                              
                      7HO                          
                        WHOHSKRQH                      
                                   WHQ             
                     WHOHSKRQLF                     
                        WHOO     WHQGHUHG        
                           WHQV             
                                 WHUP           
                          WHUPLQRORJ\           
                                            
                              WHUPV           
                                 WHUULEOH         
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                                 WHVWHG       WKLQJV  
                               WHVWLILHG       
                                             
                                 WHVWLI\         
                                             
       WDNHQ                          WHVWLPRQ\        
                                            
                                        
                                             
                                            
                                              
       WDNHV                                         
       WDON                                   
                                WHVWLQJ         
                                  7HWKHU            
                    7D[DWLRQ                7KDL             
       WDONHG                               7KDLODQG       
             WD[HG                 WKDQN         
                 WD[HV                           
                                               
       WDONLQJ       WHDFK                        
                                             
                 WHDP                               
                                                 
                 WHDPV                                 
              WHFKQLFDO                                
                                       7KDQNV           
                WHFKQLFDOO\              WKHIW         
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                                   WRS          
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                             WLVVXH                        
                WKURZ        WRGD\                     
       WKLQN      WKURZQ                            WUDQVFULSW 
                  WLOO                                    
                WLPH                 WRWDO         
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                        WRNHQV                       
                            WROG       WRWDOO\           
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                                 WUDFHG             
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                                                  
                                WUDGLQJ            
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                                           WUDQVFULSWV 
                                           
                                                 
       WKLQNLQJ                                       
                                              
       WKLUG                                 
                                             
                                        WUDQVIHU 
       WKLUGV                             7UDGLQJ V          
       7KRPDV                          WUDQVDFW         
       WKRXJKW                         WUDQVDFWHG              
                                                  WUDQVIHUUHG 
                                   WUDQVDFWLRQ         
               WLPHOLQH                          
               WLPHV                  WUDQVDFWLRQV        
       WKUHDG                                     WUDQVIHUV 
       WKUHDWHQHG             7RP                        
       WKUHH              WRQH                              
                     WRQV          WUDQVFULEHG            
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       WUDVK                                   
       WULDO                                  
                              WU\LQJ                       
       WULFN                           W\SH             
       WULHG                      W\SLFDO           
                             W\SR            
                                                         
                                  8             
                            8              
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       7ULQK                      8.      XQLQWHQGHG
       WUXH                             
                                                   8QLWHG  
                           7XHVGD\                  
                             XOWLPDWH      XQLYHUVLW\ 
                     7XOLS     8OWUD           
                                 XQDOWHUHG     XQORFN 
                                                      
       WUXVW                           XQDQVZHUHG          XQUHODWHG 
              WUXVWHH                            
                             XQFOHDU          
                                XQFRQVFLRXV          
                                           XQVLJQHG 
                              XQGHUO\LQJ     XQWUXVWZRUWK\
                                   XQGHUQHDWK       
                                    XQGHUVWDQG     XQZDUUDQWHG
              WUXVWHHV                         
                                                XSGDWH 
               WUXVWLQJ                        
                           WXUQ                     XSGDWHG 
             WUXVWV                        
                      WXUQHG                  
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                       WXUQV                   
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               WUXVWZRUWK\        WZHHW              
                                                   XSPRVW 
                WUXWK        WZR               XSVWDLUV 
              WUXWKIXO                 XQGHUVWDQGLQJ       8UTXKDUW 
                                               
                WUXWKIXOO\                      86$ 
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                         ZDQW                  ZLIH  
               YHULI\                       
                                             
                 YHULI\LQJ                         
                YHUVLRQ                        
                                            
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       XVHU          YHUVLRQV                      
       XVHV          YLGHR                          
       XWWHUO\         YLGHRJUDSKHU                        
       87;2                                    
       8W]                             ZLIH V 
       8\HQ           9,'(27$3('                         
                                             ZLOOLQJ 
                     YLOODJH                    :LOVRQ 
       8]EHNLVWDQ     YLOODLQV                       
                           YLVLWLQJ                           
               9           9LVWRPDLO            ZD\V             
       Y                               ZHE            
       YDOLG         YRLFH                ZHEVLWH       ZLQ 
       YDOLGDWH                                  ZLSHG 
                YROXQWDU\           ZHEEDVHG           ZLVK 
                YRWH                        ZLWKGUDZ 
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       YDOXDEOH                               ZHHN           
                        :                       ZHHNV         ZLWKGUHZ 
       YDOXDWLRQ      ZDLW        ZDQWHG                         
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       YHULILHG      ZDQNHU             ZLGH           :RRGZDUG 
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                    ZUDS                     
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             ]RRP               WK            
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                                              
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Case 9:18-cv-80176-BB Document 600-8 Entered on FLSD Docket 06/26/2020 Page 323 of
                                      324
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                                       324
                     VIDEOTAPED DEPOSITION OF CRAIG WRIGHT
                                    ERRATA
                           CASE NO. 9:18-cv-80176-BB/BR
                               DATE: March 18, 2020


     Page/Line #             Original                     Correction       Reason for Change
      129:7–9      I think it was W&KIR,         I think it was WMKIR, for Transcription Error
                   for money through             money through Liberty
                   Liberty Reserve.              Reserve.
       227:7       Yes, they appear reel.        Yes, they appear real.    Spelling Correction

    229:24–230:2   reporters were calling up     reporters were calling up     Transcription Error
                   at about the computer         about the computer
                   designs                       designs

      258:1–4      I set up something where      I set up something where      Spelling Error
                   it is a non-revocable trust   it is a non-revocable trust
                   where the settler has no      where the settlor has no
                   rights, where the settler     rights, where the settlor
                   cannot revoke anything        cannot revoke anything




                                                   1
